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                                                                        APPEAL,STAYED,TYPE−D
                                 U.S. District Court
                      District of Columbia (Washington, DC)
                CIVIL DOCKET FOR CASE #: 1:21−cv−00100−EGS
                                  Internal Use Only

HUISHA−HUISHA et al v. GAYNOR et al                         Date Filed: 01/12/2021
Assigned to: Judge Emmet G. Sullivan                        Jury Demand: None
 Case: 1:20−cv−02245−EGS−GMH                                Nature of Suit: 360 P.I.: Other
Case in other court: 21−05200                               Jurisdiction: U.S. Government Defendant
Cause: 05:0701 Judicial Review of Agency Decision
Plaintiff
NANCY GIMENA HUISHA−HUISHA                    represented by Tamara Goodlette
and her minor child                                          REFUGEE AND IMMIGRANT CENTER
                                                             FOR EDUCATION & LEGAL
                                                             SERVICES
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                                                            Cody H. Wofsy
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Case 1:21-cv-00100-EGS Document 181 Filed 12/08/22 Page 2 of 120


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                                           Melissa E. Crow
                                           CENTER FOR GENDER AND
                                           REFUGEE STUDIES


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Case 1:21-cv-00100-EGS Document 181 Filed 12/08/22 Page 3 of 120


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      Case 1:21-cv-00100-EGS Document 181 Filed 12/08/22 Page 4 of 120




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Plaintiff
I.M.C.H.                             represented by Tamara Goodlette
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                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                 Arthur B. Spitzer
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Celso Perez
                                                 (See above for address)
                                                 TERMINATED: 04/05/2021

                                                 Cody H. Wofsy
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Daniel Antonio Galindo
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Jamie L. Crook
                                                 (See above for address)
                                                 TERMINATED: 01/24/2022

                                                 Karla Vargas
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                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Lee Gelernt
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Melissa E. Crow
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                                                 ATTORNEY TO BE NOTICED

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      Case 1:21-cv-00100-EGS Document 181 Filed 12/08/22 Page 5 of 120




                                                 Ming Cheung
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Morgan Russell
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                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Omar C. Jadwat
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Scott Michelman
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Stephen Bonggyun Kang
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

Plaintiff
VALERIA MACANCELA BERMEJO            represented by Tamara Goodlette
and her minor daughter                              (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                 Arthur B. Spitzer
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Celso Perez
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                                                 TERMINATED: 04/05/2021

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                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Daniel Antonio Galindo
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                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Jamie L. Crook
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                                                 TERMINATED: 01/24/2022

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      Case 1:21-cv-00100-EGS Document 181 Filed 12/08/22 Page 6 of 120




                                                 Karla Vargas
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                                                 Lee Gelernt
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                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Melissa E. Crow
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Ming Cheung
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Morgan Russell
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Omar C. Jadwat
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Scott Michelman
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Stephen Bonggyun Kang
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

Plaintiff
B.A.M.M.                             represented by Tamara Goodlette
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                 Arthur B. Spitzer
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Celso Perez
                                                 (See above for address)
                                                 TERMINATED: 04/05/2021

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Case 1:21-cv-00100-EGS Document 181 Filed 12/08/22 Page 7 of 120




                                           Cody H. Wofsy
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                                           Daniel Antonio Galindo
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                                           PRO HAC VICE
                                           ATTORNEY TO BE NOTICED

                                           Jamie L. Crook
                                           (See above for address)
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                                           Karla Vargas
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                                           PRO HAC VICE
                                           ATTORNEY TO BE NOTICED

                                           Lee Gelernt
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                                           PRO HAC VICE
                                           ATTORNEY TO BE NOTICED

                                           Melissa E. Crow
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED

                                           Ming Cheung
                                           (See above for address)
                                           PRO HAC VICE
                                           ATTORNEY TO BE NOTICED

                                           Morgan Russell
                                           (See above for address)
                                           PRO HAC VICE
                                           ATTORNEY TO BE NOTICED

                                           Omar C. Jadwat
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                                           Scott Michelman
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                                           Stephen Bonggyun Kang
                                           (See above for address)
                                           PRO HAC VICE
                                           ATTORNEY TO BE NOTICED


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      Case 1:21-cv-00100-EGS Document 181 Filed 12/08/22 Page 8 of 120



Plaintiff
JOSAINE PEREIRA−DE SOUZA             represented by Tamara Goodlette
and her minor children                              (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                 Arthur B. Spitzer
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                                                 Celso Perez
                                                 (See above for address)
                                                 TERMINATED: 04/05/2021

                                                 Cody H. Wofsy
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Daniel Antonio Galindo
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Jamie L. Crook
                                                 (See above for address)
                                                 TERMINATED: 01/24/2022

                                                 Karla Vargas
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Lee Gelernt
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Melissa E. Crow
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Ming Cheung
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Morgan Russell
                                                 (See above for address)
                                                 PRO HAC VICE
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      Case 1:21-cv-00100-EGS Document 181 Filed 12/08/22 Page 9 of 120




                                                 Omar C. Jadwat
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Scott Michelman
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Stephen Bonggyun Kang
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

Plaintiff
H.N.D.S.                             represented by Tamara Goodlette
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                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                 Arthur B. Spitzer
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Celso Perez
                                                 (See above for address)
                                                 TERMINATED: 04/05/2021

                                                 Cody H. Wofsy
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Daniel Antonio Galindo
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                                                 PRO HAC VICE
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                                                 Jamie L. Crook
                                                 (See above for address)
                                                 TERMINATED: 01/24/2022

                                                 Karla Vargas
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                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Lee Gelernt
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     Case 1:21-cv-00100-EGS Document 181 Filed 12/08/22 Page 10 of 120




                                                 Melissa E. Crow
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Ming Cheung
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                                                 Morgan Russell
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                                                 Omar C. Jadwat
                                                 (See above for address)
                                                 PRO HAC VICE
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                                                 Scott Michelman
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Stephen Bonggyun Kang
                                                 (See above for address)
                                                 PRO HAC VICE
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Plaintiff
E.R.P.D.S.                           represented by Tamara Goodlette
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                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                 Arthur B. Spitzer
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                                                 ATTORNEY TO BE NOTICED

                                                 Celso Perez
                                                 (See above for address)
                                                 TERMINATED: 04/05/2021

                                                 Cody H. Wofsy
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                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Daniel Antonio Galindo
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                                                 PRO HAC VICE
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     Case 1:21-cv-00100-EGS Document 181 Filed 12/08/22 Page 11 of 120




                                                 Jamie L. Crook
                                                 (See above for address)
                                                 TERMINATED: 01/24/2022

                                                 Karla Vargas
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                                                 PRO HAC VICE
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                                                 Lee Gelernt
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                                                 ATTORNEY TO BE NOTICED

                                                 Melissa E. Crow
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                                                 ATTORNEY TO BE NOTICED

                                                 Ming Cheung
                                                 (See above for address)
                                                 PRO HAC VICE
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                                                 Morgan Russell
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Omar C. Jadwat
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Scott Michelman
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Stephen Bonggyun Kang
                                                 (See above for address)
                                                 PRO HAC VICE
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Plaintiff
M.E.S.D.S.                           represented by Tamara Goodlette
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                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                 Arthur B. Spitzer
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                                                                              11
Case 1:21-cv-00100-EGS Document 181 Filed 12/08/22 Page 12 of 120




                                           Celso Perez
                                           (See above for address)
                                           TERMINATED: 04/05/2021

                                           Cody H. Wofsy
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                                           Daniel Antonio Galindo
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                                           Jamie L. Crook
                                           (See above for address)
                                           TERMINATED: 01/24/2022

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                                           Melissa E. Crow
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                                           Ming Cheung
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                                           Morgan Russell
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     Case 1:21-cv-00100-EGS Document 181 Filed 12/08/22 Page 13 of 120


                                                 Stephen Bonggyun Kang
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                                                 PRO HAC VICE
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Plaintiff
H.T.D.S.D.S.                         represented by Tamara Goodlette
on behalf of themselves and others                  (See above for address)
similarly situated                                  LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                 Arthur B. Spitzer
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                                                 Celso Perez
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                                                 TERMINATED: 04/05/2021

                                                 Cody H. Wofsy
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                                                 Jamie L. Crook
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                                                 TERMINATED: 01/24/2022

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                                                 Ming Cheung
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                                                                              13
     Case 1:21-cv-00100-EGS Document 181 Filed 12/08/22 Page 14 of 120


                                                 Morgan Russell
                                                 (See above for address)
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                                                 Scott Michelman
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                                                 ATTORNEY TO BE NOTICED

                                                 Stephen Bonggyun Kang
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

Plaintiff
ALL PLAINTIFFS                       represented by Tamara Goodlette
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                 Arthur B. Spitzer
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Celso Perez
                                                 (See above for address)
                                                 TERMINATED: 04/05/2021

                                                 Cody H. Wofsy
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Daniel Antonio Galindo
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Jamie L. Crook
                                                 (See above for address)
                                                 TERMINATED: 01/24/2022

                                                 Karla Vargas
                                                 (See above for address)
                                                 PRO HAC VICE
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                                                                              14
     Case 1:21-cv-00100-EGS Document 181 Filed 12/08/22 Page 15 of 120


                                                 Lee Gelernt
                                                 (See above for address)
                                                 PRO HAC VICE
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                                                 Melissa E. Crow
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                                                 ATTORNEY TO BE NOTICED

                                                 Ming Cheung
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                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Morgan Russell
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Omar C. Jadwat
                                                 (See above for address)
                                                 PRO HAC VICE
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                                                 Scott Michelman
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Stephen Bonggyun Kang
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

Plaintiff
MARTHA LILIANA                       represented by Tamara Goodlette
TADAY−ACOSTA                                        (See above for address)
and her minor children                              LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                 Celso Perez
                                                 (See above for address)
                                                 TERMINATED: 04/05/2021

                                                 Cody H. Wofsy
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Daniel Antonio Galindo
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                                              15
     Case 1:21-cv-00100-EGS Document 181 Filed 12/08/22 Page 16 of 120




                                                 Jamie L. Crook
                                                 (See above for address)
                                                 TERMINATED: 01/24/2022

                                                 Karla Vargas
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Lee Gelernt
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Melissa E. Crow
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Ming Cheung
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Morgan Russell
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Omar C. Jadwat
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Stephen Bonggyun Kang
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

Plaintiff
D.J.Z.                               represented by Tamara Goodlette
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                 Celso Perez
                                                 (See above for address)
                                                 TERMINATED: 04/05/2021

                                                 Cody H. Wofsy
                                                 (See above for address)
                                                 PRO HAC VICE

                                                                              16
     Case 1:21-cv-00100-EGS Document 181 Filed 12/08/22 Page 17 of 120


                                                 ATTORNEY TO BE NOTICED

                                                 Daniel Antonio Galindo
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Jamie L. Crook
                                                 (See above for address)
                                                 TERMINATED: 01/24/2022

                                                 Karla Vargas
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Lee Gelernt
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Melissa E. Crow
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Ming Cheung
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Morgan Russell
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Omar C. Jadwat
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Stephen Bonggyun Kang
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

Plaintiff
J.A.Z.                               represented by Tamara Goodlette
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                 Celso Perez

                                                                              17
     Case 1:21-cv-00100-EGS Document 181 Filed 12/08/22 Page 18 of 120


                                                (See above for address)
                                                TERMINATED: 04/05/2021

                                                Cody H. Wofsy
                                                (See above for address)
                                                PRO HAC VICE
                                                ATTORNEY TO BE NOTICED

                                                Daniel Antonio Galindo
                                                (See above for address)
                                                PRO HAC VICE
                                                ATTORNEY TO BE NOTICED

                                                Jamie L. Crook
                                                (See above for address)
                                                TERMINATED: 01/24/2022

                                                Karla Vargas
                                                (See above for address)
                                                PRO HAC VICE
                                                ATTORNEY TO BE NOTICED

                                                Lee Gelernt
                                                (See above for address)
                                                PRO HAC VICE
                                                ATTORNEY TO BE NOTICED

                                                Melissa E. Crow
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

                                                Ming Cheung
                                                (See above for address)
                                                PRO HAC VICE
                                                ATTORNEY TO BE NOTICED

                                                Morgan Russell
                                                (See above for address)
                                                PRO HAC VICE
                                                ATTORNEY TO BE NOTICED

                                                Omar C. Jadwat
                                                (See above for address)
                                                PRO HAC VICE
                                                ATTORNEY TO BE NOTICED

                                                Stephen Bonggyun Kang
                                                (See above for address)
                                                PRO HAC VICE
                                                ATTORNEY TO BE NOTICED

Plaintiff


                                                                          18
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JULIEN THOMAS                      represented by Tamara Goodlette
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

                                               Celso Perez
                                               (See above for address)
                                               TERMINATED: 04/05/2021

                                               Cody H. Wofsy
                                               (See above for address)
                                               PRO HAC VICE
                                               ATTORNEY TO BE NOTICED

                                               Daniel Antonio Galindo
                                               (See above for address)
                                               PRO HAC VICE
                                               ATTORNEY TO BE NOTICED

                                               Jamie L. Crook
                                               (See above for address)
                                               TERMINATED: 01/24/2022

                                               Karla Vargas
                                               (See above for address)
                                               PRO HAC VICE
                                               ATTORNEY TO BE NOTICED

                                               Lee Gelernt
                                               (See above for address)
                                               PRO HAC VICE
                                               ATTORNEY TO BE NOTICED

                                               Melissa E. Crow
                                               (See above for address)
                                               ATTORNEY TO BE NOTICED

                                               Ming Cheung
                                               (See above for address)
                                               PRO HAC VICE
                                               ATTORNEY TO BE NOTICED

                                               Morgan Russell
                                               (See above for address)
                                               PRO HAC VICE
                                               ATTORNEY TO BE NOTICED

                                               Omar C. Jadwat
                                               (See above for address)
                                               PRO HAC VICE
                                               ATTORNEY TO BE NOTICED



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                                                 Stephen Bonggyun Kang
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

Plaintiff
FIDETTE BOUTE                        represented by Tamara Goodlette
and their minor children                            (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                 Celso Perez
                                                 (See above for address)
                                                 TERMINATED: 04/05/2021

                                                 Cody H. Wofsy
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Daniel Antonio Galindo
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Jamie L. Crook
                                                 (See above for address)
                                                 TERMINATED: 01/24/2022

                                                 Karla Vargas
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Lee Gelernt
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Melissa E. Crow
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Ming Cheung
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Morgan Russell
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                                              20
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                                                 Omar C. Jadwat
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Stephen Bonggyun Kang
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

Plaintiff
D.J.T.−B.                            represented by Tamara Goodlette
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                 Celso Perez
                                                 (See above for address)
                                                 TERMINATED: 04/05/2021

                                                 Cody H. Wofsy
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Daniel Antonio Galindo
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Jamie L. Crook
                                                 (See above for address)
                                                 TERMINATED: 01/24/2022

                                                 Karla Vargas
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Lee Gelernt
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Melissa E. Crow
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Ming Cheung
                                                 (See above for address)
                                                 PRO HAC VICE

                                                                              21
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                                                 ATTORNEY TO BE NOTICED

                                                 Morgan Russell
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Omar C. Jadwat
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Stephen Bonggyun Kang
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

Plaintiff
T.J.T.−B.                            represented by Tamara Goodlette
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                 Celso Perez
                                                 (See above for address)
                                                 TERMINATED: 04/05/2021

                                                 Cody H. Wofsy
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Daniel Antonio Galindo
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Jamie L. Crook
                                                 (See above for address)
                                                 TERMINATED: 01/24/2022

                                                 Karla Vargas
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Lee Gelernt
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Melissa E. Crow

                                                                              22
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                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Ming Cheung
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Morgan Russell
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Omar C. Jadwat
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Stephen Bonggyun Kang
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

Plaintiff
ROMILUS VALCOURT                     represented by Tamara Goodlette
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                 Celso Perez
                                                 (See above for address)
                                                 TERMINATED: 04/05/2021

                                                 Cody H. Wofsy
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Daniel Antonio Galindo
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Jamie L. Crook
                                                 (See above for address)
                                                 TERMINATED: 01/24/2022

                                                 Karla Vargas
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED


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                                                 Lee Gelernt
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Melissa E. Crow
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Ming Cheung
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Morgan Russell
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Omar C. Jadwat
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Stephen Bonggyun Kang
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

Plaintiff
BEDAPHECA ALCANTE                    represented by Tamara Goodlette
and their minor child                               (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                 Celso Perez
                                                 (See above for address)
                                                 TERMINATED: 04/05/2021

                                                 Cody H. Wofsy
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Daniel Antonio Galindo
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Jamie L. Crook
                                                 (See above for address)
                                                 TERMINATED: 01/24/2022

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                                                 Karla Vargas
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Lee Gelernt
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Melissa E. Crow
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Ming Cheung
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Morgan Russell
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Omar C. Jadwat
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Stephen Bonggyun Kang
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

Plaintiff
B.V.−A.                              represented by Tamara Goodlette
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                 Celso Perez
                                                 (See above for address)
                                                 TERMINATED: 04/05/2021

                                                 Cody H. Wofsy
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Daniel Antonio Galindo
                                                 (See above for address)

                                                                              25
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                                                    PRO HAC VICE
                                                    ATTORNEY TO BE NOTICED

                                                    Jamie L. Crook
                                                    (See above for address)
                                                    TERMINATED: 01/24/2022

                                                    Karla Vargas
                                                    (See above for address)
                                                    PRO HAC VICE
                                                    ATTORNEY TO BE NOTICED

                                                    Lee Gelernt
                                                    (See above for address)
                                                    PRO HAC VICE
                                                    ATTORNEY TO BE NOTICED

                                                    Melissa E. Crow
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

                                                    Ming Cheung
                                                    (See above for address)
                                                    PRO HAC VICE
                                                    ATTORNEY TO BE NOTICED

                                                    Morgan Russell
                                                    (See above for address)
                                                    PRO HAC VICE
                                                    ATTORNEY TO BE NOTICED

                                                    Omar C. Jadwat
                                                    (See above for address)
                                                    PRO HAC VICE
                                                    ATTORNEY TO BE NOTICED

                                                    Stephen Bonggyun Kang
                                                    (See above for address)
                                                    PRO HAC VICE
                                                    ATTORNEY TO BE NOTICED


V.
2255
STATE OF MONTANA                       represented by Kathleen Smithgall
                                                      MONTANA ATTORNEY GENERAL'S
                                                      OFFICE
                                                      215 N. Sanders Street
                                                      Helena, MT 59601
                                                      406−539−2269
                                                      Email: kathleen.smithgall@mt.gov


                                                                                         26
    Case 1:21-cv-00100-EGS Document 181 Filed 12/08/22 Page 27 of 120


                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

Defendant
PETER T. GAYNOR                         represented by Sean Michael Tepe
ACTING SECRETARY OF HOMELAND                           U.S. DEPARTMENT OF JUSTICE
SECURITY, in his official capacity                     555 Fourth Street, NW
TERMINATED: 01/28/2021                                 Washington, DC 20530
                                                       (202) 252−2533
                                                       Fax: (202) 252−2599
                                                       Email: sean.tepe@usdoj.gov
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

Defendant
MARK A. MORGAN                          represented by Sean Michael Tepe
SENIOR OFFICIAL PERFORMING                             (See above for address)
THE DUTIES OF THE                                      LEAD ATTORNEY
COMMISSIONER OF U.S. CUSTOMS                           ATTORNEY TO BE NOTICED
AND BORDER PROTECTION (CBP), in
his official capacity
TERMINATED: 01/28/2021

Defendant
WILLIAM A. FERRARA                      represented by Sean Michael Tepe
EXECUTIVE ASSISTANT                                    (See above for address)
COMMISSIONER, CBP OFFICE OF                            LEAD ATTORNEY
FIELD OPERATIONS, in his official                      ATTORNEY TO BE NOTICED
capacity
TERMINATED: 02/14/2022

Defendant
RODNEY S. SCOTT                         represented by Sean Michael Tepe
CHIEF OF U.S. BORDER PATROL, in                        (See above for address)
his official capacity                                  LEAD ATTORNEY
TERMINATED: 02/14/2022                                 ATTORNEY TO BE NOTICED

Defendant
JONATHAN FAHEY                          represented by Sean Michael Tepe
SENIOR OFFICIAL PERFORMING                             (See above for address)
THE DUTIES OF THE DIRECTOR OF                          LEAD ATTORNEY
U.S. IMMIGRATION AND CUSTOMS                           ATTORNEY TO BE NOTICED
ENFORCEMENT, in his official capacity
TERMINATED: 01/28/2021

Defendant
ALEX M. AZAR, II                        represented by Sean Michael Tepe
SECRETARY OF HEALTH AND                                (See above for address)
HUMAN SERVICES, in his official                        LEAD ATTORNEY


                                                                                    27
     Case 1:21-cv-00100-EGS Document 181 Filed 12/08/22 Page 28 of 120


capacity                                               ATTORNEY TO BE NOTICED
TERMINATED: 01/28/2021

Defendant
ROBERT R. REDFIELD                         represented by Sean Michael Tepe
DR.,DIRECTOR OF THE CENTERS                               (See above for address)
FOR DISEASE CONTROL AND                                   LEAD ATTORNEY
PREVENTION, in his official capacity                      ATTORNEY TO BE NOTICED
TERMINATED: 01/28/2021

Defendant
DAVID PEKOSKE                              represented by Sean Michael Tepe
ACTING SECRETARY OF HOMELAND                              (See above for address)
SECURITY, in his official capacity                        LEAD ATTORNEY
TERMINATED: 02/10/2021                                    ATTORNEY TO BE NOTICED

Defendant
TROY MILLER                                represented by Sean Michael Tepe
SENIOR OFFICIAL PERFORMING                                (See above for address)
THE DUTIES OF THE                                         LEAD ATTORNEY
COMMISSIONER OF U.S. CUSTOMS                              ATTORNEY TO BE NOTICED
AND BORDER PROTECTION (CBP), in
his official capacity
TERMINATED: 02/14/2022

Defendant
TAE D. JOHNSON                             represented by Sean Michael Tepe
Senior Official Performing the Duties of                  (See above for address)
the Director of U.S. Immigration and                      LEAD ATTORNEY
Customs Enforcement, in his official                      ATTORNEY TO BE NOTICED
capacity
                                                       Jean Lin
                                                       U.S. DEPARTMENT OF JUSTICE
                                                       Civil Division, Federal Programs Branch
                                                       1100 L Street, NW
                                                       Room 11532
                                                       Washington, DC 20005
                                                       (202) 514−3716
                                                       Fax: (202) 616−8470
                                                       Email: jean.lin@usdoj.gov
                                                       ATTORNEY TO BE NOTICED

                                                       John Robinson
                                                       U.S. DEPARTMENT OF JUSTICE
                                                       1100 L Street NW
                                                       Washington, DC 20005
                                                       202−616−8489
                                                       Email: john.j.robinson@usdoj.gov
                                                       ATTORNEY TO BE NOTICED



                                                                                                 28
     Case 1:21-cv-00100-EGS Document 181 Filed 12/08/22 Page 29 of 120


                                                       Jonathan D. Kossak
                                                       U.S. DEPARTMENT OF JUSTICE
                                                       Federal Programs Branch
                                                       1100 L Street, NW
                                                       Washington, DC 20005
                                                       (202) 305−0612
                                                       Fax: (202) 616−8460
                                                       Email: jonathan.kossak@usdoj.gov
                                                       ATTORNEY TO BE NOTICED

Defendant
NORRIS COCHRAN                             represented by Sean Michael Tepe
Acting Secretary of Health and Human                      (See above for address)
Services, in his official capacity                        LEAD ATTORNEY
TERMINATED: 02/14/2022                                    ATTORNEY TO BE NOTICED

Defendant
ROCHELLE P. WALENSKY                       represented by Sean Michael Tepe
Dr., Director of the Centers for Disease                  (See above for address)
Control and Prevention, in her official                   LEAD ATTORNEY
capacity                                                  ATTORNEY TO BE NOTICED

                                                       Jean Lin
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       John Robinson
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Jonathan D. Kossak
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

Defendant
ALEJANDRO N. MAYORKAS                      represented by Sean Michael Tepe
SECRETARY OF HOMELAND                                     (See above for address)
SECURITY, in his official capacity                        LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                       Jean Lin
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       John Robinson
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Jonathan D. Kossak
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                                                          29
    Case 1:21-cv-00100-EGS Document 181 Filed 12/08/22 Page 30 of 120



Defendant
XAVIER BECERRA                         represented by Sean Michael Tepe
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                   Jean Lin
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED

                                                   John Robinson
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED

                                                   Jonathan D. Kossak
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED

Defendant
CHRIS MAGNUS                           represented by Sean Michael Tepe
Commissioner, CBP Office of Field                     (See above for address)
Operations                                            LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                   Jean Lin
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED

                                                   John Robinson
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED

                                                   Jonathan D. Kossak
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED

Defendant
PETE FLORES                            represented by Sean Michael Tepe
Executive Assistant Commisioner, CBP                  (See above for address)
Office of Field Operations                            LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                   Jean Lin
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED

                                                   John Robinson
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED



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                                                   Jonathan D. Kossak
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED

Defendant
RAUL L. ORTIZ                         represented by Sean Michael Tepe
Chief of U.S. Border Patrol, in his                  (See above for address)
official capacity                                    LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                   Jean Lin
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED

                                                   John Robinson
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED

                                                   Jonathan D. Kossak
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED

Movant
STATE OF MONTANA                      represented by Kathleen Smithgall
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

Movant
STATE OF MISSOURI                     represented by Melissa A. Holyoak
                                                     OFFICE OF THE UTAH ATTORNEY
                                                     GENERAL
                                                     160 East 300 South
                                                     Suite 5th Floor
                                                     Salt Lake City, UT 84114
                                                     801−366−0260
                                                     Email: melissaholyoak@agutah.gov
                                                     ATTORNEY TO BE NOTICED

Amicus
T. ALEXANDER ALEINIKOFF               represented by Noah A. Levine
                                                     WILMER CUTLER PICKERING HALE
                                                     & DORR LLP
                                                     7 World Trade Center
                                                     250 Greenwhich Street
                                                     New York, NY 10007
                                                     (212) 230−8800
                                                     Fax: (212) 230−8888
                                                     Email: noah.levine@wilmerhale.com
                                                     LEAD ATTORNEY


                                                                                         31
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                                               PRO HAC VICE
                                               ATTORNEY TO BE NOTICED

                                               Daniel S. Volchok
                                               WILMER CUTLER PICKERING HALE
                                               & DORR LLP
                                               1875 Pennsylvania Avenue NW
                                               Washington, DC 20006
                                               (202) 663−6103
                                               Fax: (202) 663−6363
                                               Email: daniel.volchok@wilmerhale.com
                                               ATTORNEY TO BE NOTICED

                                               Paul R.Q. Wolfson
                                               WILMER CUTLER PICKERING HALE
                                               & DORR LLP
                                               1875 Pennsylvania Ave., NW
                                               Suite 400E
                                               Washington, DC 20006
                                               (202) 663−6000
                                               Fax: (202) 663−6363
                                               Email: paul.wolfson@wilmerhale.com
                                               TERMINATED: 08/16/2021

Amicus
DEBORAH ANKER                      represented by Noah A. Levine
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  PRO HAC VICE
                                                  ATTORNEY TO BE NOTICED

                                               Daniel S. Volchok
                                               (See above for address)
                                               ATTORNEY TO BE NOTICED

                                               Paul R.Q. Wolfson
                                               (See above for address)
                                               TERMINATED: 08/16/2021

Amicus
JAMES C. HATHTAWAY                 represented by Noah A. Levine
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  PRO HAC VICE
                                                  ATTORNEY TO BE NOTICED

                                               Daniel S. Volchok
                                               (See above for address)
                                               ATTORNEY TO BE NOTICED

                                               Paul R.Q. Wolfson


                                                                                      32
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                                                  (See above for address)
                                                  TERMINATED: 08/16/2021

Amicus
GERALD L. NEUMAN                   represented by Noah A. Levine
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  PRO HAC VICE
                                                  ATTORNEY TO BE NOTICED

                                                  Daniel S. Volchok
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Paul R.Q. Wolfson
                                                  (See above for address)
                                                  TERMINATED: 08/16/2021

Amicus
INTERNATIONAL REFUGEE              represented by Kathryn S. Austin
ASSISTANCE PROJECT                                INTERNATIONAL REFUGEE
                                                  ASSISTANCE PROJECT
                                                  One Battery Park Plaza
                                                  4th Floor
                                                  New York, NY 10004
                                                  516−296−0688
                                                  Email: kaustin@refugeerights.org
                                                  TERMINATED: 09/23/2022
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

                                                  Geroline A Castillo
                                                  INTERNATIONAL REFUGEE
                                                  ASSISTANCE PROJECT
                                                  One Battery Park Plaza
                                                  4th Floor
                                                  New York, NY 10004
                                                  516−824−4256
                                                  Email: gcastillo@refugeerights.org
                                                  ATTORNEY TO BE NOTICED

Amicus
HISTORIANS                         represented by Raymond P. Tolentino
                                                  KAPLAN HECKER & FINK LLP
                                                  1050 K Street NW
                                                  Suite 1040
                                                  Washington, DC 20001
                                                  202−669−0097
                                                  Email: rtolentino@kaplanhecker.com
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

                                                                                       33
     Case 1:21-cv-00100-EGS Document 181 Filed 12/08/22 Page 34 of 120




V.
Intervenor
STATE OF ARIZONA                     represented by Drew C Ensign
                                                    OFFICE OF THE ATTORNEY
                                                    GENERAL
                                                    2005 N. Central Ave
                                                    Phoenix, AZ 85004−1592
                                                    602−542−5252
                                                    Email: drew.ensign@azag.gov
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

Intervenor
STATE OF LOUISIANA                   represented by Drew C Ensign
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

Intervenor
STATE OF ALABAMA                     represented by Drew C Ensign
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

Intervenor
STATE OF ALASKA                      represented by Drew C Ensign
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

Intervenor
STATE OF KANSAS                      represented by Drew C Ensign
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

Intervenor
STATE OF KENTUCKY                    represented by Drew C Ensign
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

Intervenor
STATE OF MISSISSIPPI                 represented by Drew C Ensign
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

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Intervenor
STATE OF NEBRASKA                   represented by Drew C Ensign
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

Intervenor
STATE OF OHIO                       represented by Drew C Ensign
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

Intervenor
STATE OF OKLAHOMA                   represented by Drew C Ensign
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

Intervenor
STATE OF SOUTH CAROLINA             represented by Drew C Ensign
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

Intervenor
STATE OF TEXAS                      represented by Drew C Ensign
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

Intervenor
STATE OF VIRGINIA                   represented by Drew C Ensign
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

Intervenor
STATE OF WEST VIRGINIA              represented by Drew C Ensign
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

Intervenor
STATE OF WYOMING                    represented by Drew C Ensign
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED



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Intervenor
STATE OF UTAH                              represented by Melissa A. Holyoak
State of Utah                                             (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

Intervenor
STATE OF TENNESSEE                         represented by Melissa A. Holyoak
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED


 Date Filed   #   Page Docket Text
 01/12/2021   1        COMPLAINT against ALEX M. AZAR, II, JONATHAN FAHEY, WILLIAM
                       A. FERRARA, PETER T. GAYNOR, MARK A. MORGAN, ROBERT R.
                       REDFIELD, RODNEY S. SCOTT ( Filing fee $ 402 receipt number
                       ADCDC−8066168) filed by B.A.M.M., H.N.D.S., H.T.D.S.D.S., I.M.C.H.,
                       JOSAINE PEREIRA−DE SOUZA, E.R.P.D.S., M.E.S.D.S., NANCY
                       GIMENA HUISHA−HUISHA, VALERIA MACANCELA BERMEJO.
                       (Attachments: # 1 Civil Cover Sheet, # 2 Notice of Related Cases, # 3
                       Summons for all Defendants)(Perez, Celso) (Entered: 01/12/2021)
 01/12/2021   2        NOTICE OF RELATED CASE by B.A.M.M., E.R.P.D.S., H.N.D.S.,
                       H.T.D.S.D.S., NANCY GIMENA HUISHA−HUISHA, I.M.C.H., M.E.S.D.S.,
                       VALERIA MACANCELA BERMEJO, JOSAINE PEREIRA−DE SOUZA.
                       Case related to Case No. 20cv2245. (adh, ) (Entered: 01/12/2021)
 01/12/2021            Case Assigned to Judge Emmet G. Sullivan. (adh, ) (Entered: 01/12/2021)
 01/12/2021   3        SUMMONS (9) Issued Electronically as to ALEX M. AZAR, II, JONATHAN
                       FAHEY, WILLIAM A. FERRARA, PETER T. GAYNOR, MARK A.
                       MORGAN, ROBERT R. REDFIELD, RODNEY S. SCOTT, U.S. Attorney
                       and U.S. Attorney General (Attachment: # 1 Notice and Consent)(adh, )
                       (Entered: 01/12/2021)
 01/12/2021   4        SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL
                       filed by B.A.M.M., E.R.P.D.S., H.N.D.S., H.T.D.S.D.S., NANCY GIMENA
                       HUISHA−HUISHA, I.M.C.H., M.E.S.D.S., VALERIA MACANCELA
                       BERMEJO, JOSAINE PEREIRA−DE SOUZA (This document is SEALED
                       and only available to authorized persons.) (Attachments: # 1 Declaration of
                       Huisha−Huisha, # 2 Declaration of Pereira−De Souza, # 3 Declaration of
                       Macancela Bermejo, # 4 Text of Proposed Order)(Perez, Celso) (Entered:
                       01/12/2021)
 01/12/2021   5        Emergency MOTION to Stay Removal by B.A.M.M., E.R.P.D.S., H.N.D.S.,
                       H.T.D.S.D.S., NANCY GIMENA HUISHA−HUISHA, I.M.C.H., M.E.S.D.S.,
                       VALERIA MACANCELA BERMEJO, JOSAINE PEREIRA−DE SOUZA
                       (Attachments: # 1 Memorandum in Support of Emergency Motion for Stay of
                       Removal, # 2 Declaration of Andrea Meza, # 3 Text of Proposed Order)(Perez,
                       Celso) (Entered: 01/12/2021)
 01/12/2021


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                   MINUTE ORDER. The Court, sua sponte, schedules a Status Conference for
                   January 12, 2021 at 6:00 PM via Teleconference. The parties shall contact Mr.
                   Mark Coates, the Courtroom Deputy Clerk, for the dial−in information. In view
                   of Plaintiffs' 5 Emergency MOTION to Stay Removal, plaintiffs are HEREBY
                   DIRECTED to contact forthwith the United States Attorneys Office for the
                   District of Columbia and/or the Department of Justice as appropriate to identify
                   government counsel. Signed by Judge Emmet G. Sullivan on 1/12/2021.
                   (lcegs2) (Entered: 01/12/2021)
01/12/2021         Set/Reset Hearings: Status Conference set for 1/12/2021 at 6:00 PM in
                   Telephonic/VTC before Judge Emmet G. Sullivan. (mac) (Entered:
                   01/12/2021)
01/12/2021         Minute Entry for proceedings held before Judge Emmet G. Sullivan: Status
                   Conference held via VTC on 1/12/2021. The Court Will Grant Motion Over
                   Objection. Plaintiffs Not Involuntarily Moved Pending Further Order Of The
                   Court. The Court Will Issue An Order. Parties Will Confer In Regard To
                   Briefing Schedule. (Court Reporter LISA BANKINS.) (mac) (Entered:
                   01/12/2021)
01/12/2021         MINUTE ORDER granting, over objection, Plaintiffs' 5 Emergency MOTION
                   to Stay Removal. In view of the arguments presented by Plaintiffs in their
                   motion, the representations made by the Government, and for the reasons
                   stated on the record at the January 12, 2021 Status Conference, Plaintiffs shall
                   not be involuntarily removed from the United States pending further order of
                   the Court. Parties shall file a Joint Proposed Scheduling Order by no later than
                   January 15, 2021. In the forthcoming briefing, in addition to other arguments,
                   parties shall address whether this case is related to Civil Action Number
                   20−2245, P.J.E.S. v. Wolf Signed by Judge Emmet G. Sullivan on 1/12/2021.
                   (lcegs2) (Entered: 01/12/2021)
01/12/2021    6    NOTICE of Appearance by Sean Michael Tepe on behalf of All Defendants
                   (Tepe, Sean) (Entered: 01/12/2021)
01/12/2021    7    NOTICE of Appearance by Scott Michelman on behalf of All Plaintiffs
                   (Michelman, Scott) (Entered: 01/12/2021)
01/12/2021    8    NOTICE of Appearance by Arthur B. Spitzer on behalf of All Plaintiffs
                   (Spitzer, Arthur) (Entered: 01/12/2021)
01/13/2021         Set/Reset Deadlines: Joint Status Report due by 1/15/2021 (mac) (Entered:
                   01/13/2021)
01/13/2021         SEALED MINUTE ORDER granting 4 SEALED MOTION FOR LEAVE TO
                   FILE DOCUMENT UNDER SEAL. Signed by Judge Emmet G. Sullivan on
                   1/13/21. (mac) (Entered: 01/13/2021)
01/13/2021    9    SEALED Declarations filed by B.A.M.M., E.R.P.D.S., H.N.D.S.,
                   H.T.D.S.D.S., NANCY GIMENA HUISHA−HUISHA, I.M.C.H., M.E.S.D.S.,
                   VALERIA MACANCELA BERMEJO, JOSAINE PEREIRA−DE SOUZA.
                   (This document is SEALED and only available to authorized persons.)(zjf)
                   (Entered: 01/13/2021)
01/14/2021   10    NOTICE of Appearance by Jamie L. Crook on behalf of All Plaintiffs (Crook,
                   Jamie) (Main Document 10 replaced on 1/14/2021) (zjf). (Entered: 01/14/2021)


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01/15/2021   11    PROPOSED BRIEFING SCHEDULE Joint Proposed Briefing Schedule by
                   ALEX M. AZAR, II, JONATHAN FAHEY, WILLIAM A. FERRARA,
                   PETER T. GAYNOR, MARK A. MORGAN, ROBERT R. REDFIELD,
                   RODNEY S. SCOTT. (Tepe, Sean) (Entered: 01/15/2021)
01/15/2021         MINUTE ORDER. In view of Parties' 11 PROPOSED BRIEFING
                   SCHEDULE concerning the specific issue of whether this case is related to
                   Civil Action Number 20−2245, P.J.E.S. v. Wolf, the parties SHALL adhere to
                   the following briefing schedule: Defendants shall file a brief with supporting
                   points and authorities of no more than 10 pages in length by no later than
                   January 19, 2021, and Plaintiffs shall file a brief with supporting points and
                   authorities of no more than 10 pages in length by no later than January 21,
                   2021. Signed by Judge Emmet G. Sullivan on 1/15/2021. (lcegs2) (Entered:
                   01/15/2021)
01/19/2021         Set/Reset Deadlines: Defendants Brief due 1/19/2021. Plaintiffs Brief due
                   1/21/2021. (mac) (Entered: 01/19/2021)
01/19/2021   12    Emergency MOTION to Stay Removal by B.A.M.M., E.R.P.D.S., H.N.D.S.,
                   H.T.D.S.D.S., NANCY GIMENA HUISHA−HUISHA, I.M.C.H., M.E.S.D.S.,
                   VALERIA MACANCELA BERMEJO, JOSAINE PEREIRA−DE SOUZA.
                   (Attachments: # 1 Text of Proposed Order)(Perez, Celso) (Entered:
                   01/19/2021)
01/19/2021   13    SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL
                   filed by B.A.M.M., E.R.P.D.S., H.N.D.S., H.T.D.S.D.S., NANCY GIMENA
                   HUISHA−HUISHA, I.M.C.H., M.E.S.D.S., VALERIA MACANCELA
                   BERMEJO, JOSAINE PEREIRA−DE SOUZA (This document is SEALED
                   and only available to authorized persons.) (Attachments: # 1 Text of Proposed
                   Order, # 2 Declaration of Taday−Acosta, # 3 Declaration of Thomas)(Perez,
                   Celso) (Entered: 01/19/2021)
01/19/2021         MINUTE ORDER treating as opposed and granting over objection 12
                   emergency order to stay removal. In view of the arguments presented by
                   Plaintiffs in their motion and for the reasons stated on the record at the January
                   12, 2021 Status Conference, it is hereby ORDERED that the removal of
                   Martha Liliana Taday−Acosta (SID 369−635−597) and her minor children
                   D.J.Z. (SID 369−635−599) and J.A.Z. (SID 369−635−605); and of Julien
                   Thomas (SID 369−648−244), Fidette Boute (SID 369−648−252), and their
                   minor children D.J.T.−B. (SID 369− 648−250) and T.J.T.−B. (SID
                   369−648−247), is STAYED pending further order of the Court. It is
                   FURTHER ORDERED that the parties shall file a joint status report with a
                   recommendation for further proceedings by no later than January 21, 2021 at
                   12:00 PM. This Order is subject to reconsideration for good cause shown by no
                   later than January 19, 2021 at 8:00 PM. Signed by Judge Emmet G. Sullivan on
                   1/19/2021. (lcegs3) (Entered: 01/19/2021)
01/19/2021         MINUTE ORDER granting 13 SEALED MOTION FOR LEAVE TO FILE
                   DOCUMENT UNDER SEAL. Signed by Judge Emmet G. Sullivan on
                   1/19/2021. (lcegs3) (Entered: 01/19/2021)
01/19/2021   14    RESPONSE re 2 Notice of Related Case filed by ALEX M. AZAR, II,
                   JONATHAN FAHEY, WILLIAM A. FERRARA, PETER T. GAYNOR,
                   MARK A. MORGAN, ROBERT R. REDFIELD, RODNEY S. SCOTT. (Tepe,


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                   Sean) (Entered: 01/19/2021)
01/19/2021   17    SEALED DECLARATIONS filed by ALL PLAINTIFFS. (This document is
                   SEALED and only available to authorized persons.)(zjf) (Entered: 01/21/2021)
01/20/2021   15    REPLY re 2 Notice of Related Cases filed by B.A.M.M., E.R.P.D.S.,
                   H.N.D.S., H.T.D.S.D.S., NANCY GIMENA HUISHA−HUISHA, I.M.C.H.,
                   M.E.S.D.S., VALERIA MACANCELA BERMEJO, JOSAINE PEREIRA−DE
                   SOUZA. (Perez, Celso) Modified on 1/20/2021 to correct docket link (zjf).
                   (Entered: 01/20/2021)
01/21/2021         Set/Reset Deadlines: Joint Status Report due no later than 12:00PM on
                   1/21/2021 (mac) (Entered: 01/21/2021)
01/21/2021   16    Joint STATUS REPORT by B.A.M.M., E.R.P.D.S., H.N.D.S., H.T.D.S.D.S.,
                   NANCY GIMENA HUISHA−HUISHA, I.M.C.H., M.E.S.D.S., VALERIA
                   MACANCELA BERMEJO, JOSAINE PEREIRA−DE SOUZA. (Perez, Celso)
                   (Entered: 01/21/2021)
01/21/2021         MINUTE ORDER. In view of 16 joint status report, Plaintiffs shall file their
                   amended complaint by no later than January 28, 2021. Signed by Judge Emmet
                   G. Sullivan on 1/21/2021. (lcegs3) (Entered: 01/21/2021)
01/22/2021         Set/Reset Deadlines: Plaintiff Amended Complaint due by 1/28/2021. (mac)
                   (Entered: 01/22/2021)
01/25/2021   18    STANDING ORDER: The parties are directed to read the attached Standing
                   Order Governing Civil Cases Before Judge Emmet G. Sullivan in its entirety
                   upon receipt. The parties are hereby ORDERED to comply with the directives
                   in the attached Standing Order. Signed by Judge Emmet G. Sullivan on
                   1/25/21. (Attachment: # 1 Exhibit 1) (mac) (Entered: 01/25/2021)
01/26/2021   19    MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Karla M.
                   Vargas, Filing fee $ 100, receipt number ADCDC−8127067. Fee Status: Fee
                   Paid. by B.A.M.M., E.R.P.D.S., H.N.D.S., H.T.D.S.D.S., NANCY GIMENA
                   HUISHA−HUISHA, I.M.C.H., M.E.S.D.S., VALERIA MACANCELA
                   BERMEJO, JOSAINE PEREIRA−DE SOUZA. (Perez, Celso) (Entered:
                   01/26/2021)
01/26/2021   20    Emergency MOTION to Stay Removal by B.A.M.M., E.R.P.D.S., H.N.D.S.,
                   H.T.D.S.D.S., NANCY GIMENA HUISHA−HUISHA, I.M.C.H., M.E.S.D.S.,
                   VALERIA MACANCELA BERMEJO, JOSAINE PEREIRA−DE SOUZA.
                   (Attachments: # 1 Text of Proposed Order)(Perez, Celso) (Entered:
                   01/26/2021)
01/26/2021   21    SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL
                   filed by B.A.M.M., E.R.P.D.S., H.N.D.S., H.T.D.S.D.S., NANCY GIMENA
                   HUISHA−HUISHA, I.M.C.H., M.E.S.D.S., VALERIA MACANCELA
                   BERMEJO, JOSAINE PEREIRA−DE SOUZA (This document is SEALED
                   and only available to authorized persons.) (Attachments: # 1 Text of Proposed
                   Order, # 2 Declaration of Valcourt)(Perez, Celso) (Entered: 01/26/2021)
01/27/2021         MINUTE ORDER treating as opposed and granting over objection 20
                   emergency motion to stay removal. In view of the arguments presented by
                   Plaintiffs in their motion and for the reasons stated on the record at the January
                   12, 2021 Status Conference, it is hereby ORDERED that the removal of

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                   Romilus Valcourt (SID 369−705−271), Bedapheca Alcante, (SID
                   369−705−293), and their minor child B.V.−A. (SID 369−705−304), is
                   STAYED pending further order of the Court. This Order is subject to
                   reconsideration for good cause shown by no later than January 27, 2021 at 5:00
                   PM. Signed by Judge Emmet G. Sullivan on 1/27/2021. (lcegs3) (Entered:
                   01/27/2021)
01/27/2021         MINUTE ORDER granting 21 SEALED MOTION FOR LEAVE TO FILE
                   DOCUMENT UNDER SEAL. Signed by Judge Emmet G. Sullivan on
                   1/27/2021. (lcegs3) (Entered: 01/27/2021)
01/27/2021         Set/Reset Deadlines: Minute Order Reconsideration For Good Cause Shown
                   due no later than 5:00PM on 1/27/2021. (mac) (Entered: 01/27/2021)
01/27/2021         MINUTE ORDER granting 19 motion for leave to appear pro hac vice. Karla
                   M. Vargas is hereby admitted pro hac vice in this action. Counsel should
                   register for e−filing via PACER and file a notice of appearance pursuant
                   to LCvR 83.6(a). Click for instructions. Signed by Judge Emmet G. Sullivan
                   on 1/27/2021. (lcegs3) (Entered: 01/27/2021)
01/27/2021   24    SEALED DOCUMENT (Declaration) filed by B.A.M.M., E.R.P.D.S.,
                   H.N.D.S., H.T.D.S.D.S., NANCY GIMENA HUISHA−HUISHA, I.M.C.H.,
                   M.E.S.D.S., VALERIA MACANCELA BERMEJO, JOSAINE PEREIRA−DE
                   SOUZA. (This document is SEALED and only available to authorized
                   persons.)(znmw) (Entered: 01/29/2021)
01/28/2021   22    AMENDED COMPLAINT against All Defendants filed by B.A.M.M.,
                   H.N.D.S., H.T.D.S.D.S., I.M.C.H., JOSAINE PEREIRA−DE SOUZA,
                   E.R.P.D.S., M.E.S.D.S., NANCY GIMENA HUISHA−HUISHA, VALERIA
                   MACANCELA BERMEJO. (Attachments: # 1 Exhibit A. Redline Amended
                   Complaint)(Perez, Celso) (Entered: 01/28/2021)
01/28/2021   23    MOTION to Certify Class by B.A.M.M., E.R.P.D.S., H.N.D.S., H.T.D.S.D.S.,
                   NANCY GIMENA HUISHA−HUISHA, I.M.C.H., M.E.S.D.S., VALERIA
                   MACANCELA BERMEJO, JOSAINE PEREIRA−DE SOUZA. (Attachments:
                   # 1 Memorandum in Support of Motion to Certify Class, # 2 Declaration of
                   Stephen B. Kang with Exhibits A and B, # 3 Text of Proposed Order)(Perez,
                   Celso) (Entered: 01/28/2021)
01/29/2021   25    Emergency MOTION to Stay Removal by B.A.M.M., E.R.P.D.S., H.N.D.S.,
                   H.T.D.S.D.S., NANCY GIMENA HUISHA−HUISHA, I.M.C.H., M.E.S.D.S.,
                   VALERIA MACANCELA BERMEJO, JOSAINE PEREIRA−DE SOUZA.
                   (Attachments: # 1 Text of Proposed Order)(Perez, Celso) (Entered:
                   01/29/2021)
01/29/2021   26    SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL
                   filed by B.A.M.M., E.R.P.D.S., H.N.D.S., H.T.D.S.D.S., NANCY GIMENA
                   HUISHA−HUISHA, I.M.C.H., M.E.S.D.S., VALERIA MACANCELA
                   BERMEJO, JOSAINE PEREIRA−DE SOUZA (This document is SEALED
                   and only available to authorized persons.) (Attachments: # 1 Text of Proposed
                   Order, # 2 Declaration of Casy, # 3 Declaration of De Oliveira, # 4 Declaration
                   of Zami, # 5 Declaration of Lataro)(Perez, Celso) (Entered: 01/29/2021)
01/29/2021         MINUTE ORDER treating as opposed and granting over objection 25
                   emergency motion to stay removal. In view of the arguments presented by


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                   Plaintiffs in their motion and for the reasons stated on the record at the January
                   12, 2021 Status Conference, it is hereby ORDERED that the removal of Kaio
                   Joseph Lataro (SID 369−651−122), Carine Nathielle Pereira Brocanelli (SID
                   369−651−127, and their minor child M.L.B.L. (SID 369−651− 134); Jude
                   Mary Zami (SID 369−696−796), Santhianie Aris (SID 369−696−835), and
                   their minor child C.E.J.Z.A. (SID 369−696−868); Gracia Junior Casy (SID
                   369−706−088), Farah Casy Bescien (SID 369−706−084), and their minor child
                   T.C. (SID 369−706−096); and Jessica Fernandes de Oliveira (SID
                   369−676−509) and her minor child J.F.L. (SID 369−676−502) is STAYED
                   pending further order of the Court. This Order is subject to reconsideration for
                   good cause shown by no later than January 29, 2021 at 6:00 PM. Signed by
                   Judge Emmet G. Sullivan on 1/29/2021. (lcegs3) (Entered: 01/29/2021)
01/29/2021         MINUTE ORDER granting 26 SEALED MOTION FOR LEAVE TO FILE
                   DOCUMENT UNDER SEAL. Signed by Judge Emmet G. Sullivan on
                   1/29/2021. (lcegs3) (Entered: 01/29/2021)
01/29/2021         Set/Reset Deadlines: Motion For Reconsideration due no later than 6:00PM on
                   1/29/2021. (mac) (Entered: 01/29/2021)
01/29/2021   27    SEALED Declarations of Casy, De Oliveira, Zami and Lataro filed by ALL
                   PLAINTIFFS. (This document is SEALED and only available to authorized
                   persons.)(zjf) (Main Document 27 replaced on 1/31/2021) (zjf). (Entered:
                   01/31/2021)
01/31/2021   28    Emergency MOTION to Stay Removal by B.A.M.M., E.R.P.D.S., H.N.D.S.,
                   H.T.D.S.D.S., NANCY GIMENA HUISHA−HUISHA, I.M.C.H., M.E.S.D.S.,
                   VALERIA MACANCELA BERMEJO, JOSAINE PEREIRA−DE SOUZA.
                   (Attachments: # 1 Text of Proposed Order)(Perez, Celso) (Entered:
                   01/31/2021)
01/31/2021   29    SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL
                   filed by B.A.M.M., E.R.P.D.S., H.N.D.S., H.T.D.S.D.S., NANCY GIMENA
                   HUISHA−HUISHA, I.M.C.H., M.E.S.D.S., VALERIA MACANCELA
                   BERMEJO, JOSAINE PEREIRA−DE SOUZA (This document is SEALED
                   and only available to authorized persons.) (Attachments: # 1 Text of Proposed
                   Order, # 2 Declaration of Fils Aime, # 3 Declaration of Ladouceur, # 4
                   Declaration of Louis, # 5 Declaration of Myrtil, # 6 Declaration of Sabino, # 7
                   Declaration of Santos De Paula)(Perez, Celso) (Entered: 01/31/2021)
01/31/2021         MINUTE ORDER. In view of 28 Emergency Motion to Stay Removal, the
                   government is directed to file a response by no later than February 1, 2021 at
                   8:00 AM. Plaintiffs shall file a reply by no later than February 1, 2021 at 12:00
                   PM. Signed by Judge Emmet G. Sullivan on 1/31/2021. (lcegs3) (Entered:
                   01/31/2021)
02/01/2021   30    RESPONSE TO ORDER OF THE COURT re Order, Response to January 31,
                   2021 Minute Order filed by ALEX M. AZAR, II, JONATHAN FAHEY,
                   WILLIAM A. FERRARA, PETER T. GAYNOR, TROY MILLER, MARK A.
                   MORGAN, DAVID PEKOSKE, ROBERT R. REDFIELD, RODNEY S.
                   SCOTT. (Tepe, Sean) (Entered: 02/01/2021)
02/01/2021         Set/Reset Deadlines: Government Response due no later than 8:00AM on
                   2/1/2021. Plaintiffs Reply due no later than 12:00PM on2/1/2021. (mac)
                   (Entered: 02/01/2021)

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02/01/2021   31    REPLY to opposition to motion re 28 Emergency MOTION to Stay Removal
                   filed by B.A.M.M., E.R.P.D.S., H.N.D.S., H.T.D.S.D.S., NANCY GIMENA
                   HUISHA−HUISHA, I.M.C.H., M.E.S.D.S., VALERIA MACANCELA
                   BERMEJO, JOSAINE PEREIRA−DE SOUZA. (Perez, Celso) (Entered:
                   02/01/2021)
02/01/2021         MINUTE ORDER granting, over objection, 28 Emergency Motion to Stay
                   Removal. Although the government notes in its 30 Response that, on January
                   31, 2021, the U.S. Court of Appeals for the District of Columbia ("D.C.
                   Circuit") stayed the class−wide preliminary injunction in P.J.E.S. v. Wolf, No.
                   20−cv−2245 (D.D.C.), see Order, P.J.E.S. v. Pekoske, No. 20−5357 (D.C. Cir.
                   Jan. 29, 2021), the government does not, and cannot, argue that the D.C.
                   Circuit's order requires denial of 28 Emergency Motion to Stay Removal
                   because the D.C. Circuit's order is not published and was issued without
                   opinion or reasoning. Accordingly, in view of the arguments presented by
                   Plaintiffs, and for the reasons stated on the record at the January 12, 2021
                   Status Conference, it is hereby ORDERED that the removals of the following
                   six families are STAYED pending further order of this Court: Evens Fils Aime
                   (SID 369−703−977), Shnaidere Altenord (SID 369−703−992), and their minor
                   child A.F.A.A. (SID 369−704−002); Rijkaard Ladouceur (SID 369−690−928),
                   Miralia Fleurima (SID 369−690−930), and their minor children N.F. (SID
                   369−690−940) and B.R.L.F. (SID 369−690−944); Frenzy Joseph Louis (SID
                   369−627−368), Rose Maria Bien−Aime (SID 369−627−371), and their minor
                   child H.G.L. (SID 369−627−374); Djimytoo Myrtil (SID 369−705−242),
                   Lunda Odilus (SID 369−705−228), and their minor child M.Y.M.O. (SID
                   369−705−252); Eric Lenes Sabino (SID 369−694−161), Elisandra de Lima
                   Borges (SID 369−694−170), and their minor children K.C.S.B. (SID
                   369−694−176) and K.V.S.B. (SID 369−694−183); Josimar Santos de Paula
                   (SID 369−695−923), and his minor child K.V.S.D.P. (SID 369− 695−934).
                   Signed by Judge Emmet G. Sullivan on 2/1/2021. (lcegs3) (Entered:
                   02/01/2021)
02/01/2021         MINUTE ORDER granting 29 SEALED MOTION FOR LEAVE TO FILE
                   DOCUMENT UNDER SEAL. Signed by Judge Emmet G. Sullivan on
                   2/1/2021. (lcegs3) (Entered: 02/01/2021)
02/01/2021   32    SEALED Declarations of Fils Aime, Ladouceur, Louis, Myrtil, Sabino &
                   Santos De Paula filed by ALL PLAINTIFFS. (This document is SEALED and
                   only available to authorized persons.)(zjf) (Entered: 02/01/2021)
02/01/2021   33    RESPONSE TO ORDER OF THE COURT re Order on Motion to Stay,,,,,,
                   filed by ALEX M. AZAR, II, JONATHAN FAHEY, WILLIAM A.
                   FERRARA, PETER T. GAYNOR, TROY MILLER, MARK A. MORGAN,
                   DAVID PEKOSKE, ROBERT R. REDFIELD, RODNEY S. SCOTT. (Tepe,
                   Sean) (Entered: 02/01/2021)
02/02/2021   34    Joint MOTION for Scheduling Order by B.A.M.M., E.R.P.D.S., H.N.D.S.,
                   H.T.D.S.D.S., NANCY GIMENA HUISHA−HUISHA, I.M.C.H., M.E.S.D.S.,
                   VALERIA MACANCELA BERMEJO, JOSAINE PEREIRA−DE SOUZA.
                   (Attachments: # 1 Text of Proposed Order)(Perez, Celso) (Entered:
                   02/02/2021)
02/02/2021   35    MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Stephen B.
                   Kang, Filing fee $ 100, receipt number ADCDC−8155498. Fee Status: Fee

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                   Paid. by B.A.M.M., E.R.P.D.S., H.N.D.S., H.T.D.S.D.S., NANCY GIMENA
                   HUISHA−HUISHA, I.M.C.H., M.E.S.D.S., VALERIA MACANCELA
                   BERMEJO, JOSAINE PEREIRA−DE SOUZA. (Perez, Celso) (Entered:
                   02/02/2021)
02/02/2021   36    MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Ming Cheung,
                   Filing fee $ 100, receipt number ADCDC−8155543. Fee Status: Fee Paid. by
                   B.A.M.M., E.R.P.D.S., H.N.D.S., H.T.D.S.D.S., NANCY GIMENA
                   HUISHA−HUISHA, I.M.C.H., M.E.S.D.S., VALERIA MACANCELA
                   BERMEJO, JOSAINE PEREIRA−DE SOUZA. (Perez, Celso) (Entered:
                   02/02/2021)
02/02/2021   37    MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Cody Wofsy,
                   Filing fee $ 100, receipt number ADCDC−8155680. Fee Status: Fee Paid. by
                   B.A.M.M., E.R.P.D.S., H.N.D.S., H.T.D.S.D.S., NANCY GIMENA
                   HUISHA−HUISHA, I.M.C.H., M.E.S.D.S., VALERIA MACANCELA
                   BERMEJO, JOSAINE PEREIRA−DE SOUZA. (Perez, Celso) (Entered:
                   02/02/2021)
02/02/2021   38    MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Lee Gelernt,
                   Filing fee $ 100, receipt number ADCDC−8155714. Fee Status: Fee Paid. by
                   B.A.M.M., E.R.P.D.S., H.N.D.S., H.T.D.S.D.S., NANCY GIMENA
                   HUISHA−HUISHA, I.M.C.H., M.E.S.D.S., VALERIA MACANCELA
                   BERMEJO, JOSAINE PEREIRA−DE SOUZA. (Perez, Celso) (Entered:
                   02/02/2021)
02/02/2021   39    MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Morgan
                   Russell, Filing fee $ 100, receipt number ADCDC−8155725. Fee Status: Fee
                   Paid. by B.A.M.M., E.R.P.D.S., H.N.D.S., H.T.D.S.D.S., NANCY GIMENA
                   HUISHA−HUISHA, I.M.C.H., M.E.S.D.S., VALERIA MACANCELA
                   BERMEJO, JOSAINE PEREIRA−DE SOUZA. (Perez, Celso) (Entered:
                   02/02/2021)
02/02/2021   40    MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Daniel Galindo,
                   Filing fee $ 100, receipt number ADCDC−8155744. Fee Status: Fee Paid. by
                   B.A.M.M., E.R.P.D.S., H.N.D.S., H.T.D.S.D.S., NANCY GIMENA
                   HUISHA−HUISHA, I.M.C.H., M.E.S.D.S., VALERIA MACANCELA
                   BERMEJO, JOSAINE PEREIRA−DE SOUZA. (Perez, Celso) (Entered:
                   02/02/2021)
02/02/2021   41    MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Omar Jadwat,
                   Filing fee $ 100, receipt number ADCDC−8156091. Fee Status: Fee Paid. by
                   B.A.M.M., E.R.P.D.S., H.N.D.S., H.T.D.S.D.S., NANCY GIMENA
                   HUISHA−HUISHA, I.M.C.H., M.E.S.D.S., VALERIA MACANCELA
                   BERMEJO, JOSAINE PEREIRA−DE SOUZA. (Perez, Celso) (Entered:
                   02/02/2021)
02/03/2021         MINUTE ORDER granting 34 joint motion for scheduling order. The parties
                   shall abide by the following briefing schedule: Plaintiffs shall file their motion
                   for classwide preliminary injunction by no later than February 5, 2021;
                   Defendants shall file their combined opposition to Plaintiffs' motion for class
                   certification and motion for classwide preliminary injunction by no later than
                   February 17, 2021; and Plaintiffs shall file their combined reply in support of
                   both motions by no later than February 23, 2021. Signed by Judge Emmet G.


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                   Sullivan on 2/3/2021. (lcegs3) (Entered: 02/03/2021)
02/03/2021         MINUTE ORDER granting 35 motion for leave to appear pro hac vice.
                   Stephen B. Kang is hereby admitted pro hac vice in this action. Counsel
                   should register for e−filing via PACER and file a notice of appearance
                   pursuant to LCvR 83.6(a). Click for instructions. Signed by Judge Emmet
                   G. Sullivan on 2/3/2021. (lcegs3) (Entered: 02/03/2021)
02/03/2021         MINUTE ORDER granting 36 motion for leave to appear pro hac vice. Ming
                   Cheung is hereby admitted pro hac vice in this action. Counsel should register
                   for e−filing via PACER and file a notice of appearance pursuant to LCvR
                   83.6(a). Click for instructions. Signed by Judge Emmet G. Sullivan on
                   2/3/2021. (lcegs3) (Entered: 02/03/2021)
02/03/2021         MINUTE ORDER granting 37 motion for leave to appear pro hac vice. Cody
                   Wofsy is hereby admitted pro hac vice in this action. Counsel should register
                   for e−filing via PACER and file a notice of appearance pursuant to LCvR
                   83.6(a). Click for instructions. Signed by Judge Emmet G. Sullivan on
                   2/3/2021. (lcegs3) (Entered: 02/03/2021)
02/03/2021         MINUTE ORDER granting 38 motion for leave to appear pro hac vice. Lee
                   Gelernt is hereby admitted pro hac vice in this action. Counsel should register
                   for e−filing via PACER and file a notice of appearance pursuant to LCvR
                   83.6(a). Click for instructions. Signed by Judge Emmet G. Sullivan on
                   2/3/2021. (lcegs3) (Entered: 02/03/2021)
02/03/2021         MINUTE ORDER granting 39 motion for leave to appear pro hac vice.
                   Morgan Russell is hereby admitted pro hac vice in this action. Counsel should
                   register for e−filing via PACER and file a notice of appearance pursuant
                   to LCvR 83.6(a). Click for instructions. Signed by Judge Emmet G. Sullivan
                   on 2/3/2021. (lcegs3) (Entered: 02/03/2021)
02/03/2021         MINUTE ORDER granting 40 motion for leave to appear pro hac vice. Daniel
                   Galindo is hereby admitted pro hac vice in this action. Counsel should
                   register for e−filing via PACER and file a notice of appearance pursuant
                   to LCvR 83.6(a). Click for instructions. Signed by Judge Emmet G. Sullivan
                   on 2/3/2021. (lcegs3) (Entered: 02/03/2021)
02/03/2021         MINUTE ORDER granting 41 motion for leave to appear pro hac vice. Omar
                   Jadwat is hereby admitted pro hac vice in this action. Counsel should register
                   for e−filing via PACER and file a notice of appearance pursuant to LCvR
                   83.6(a). Click for instructions. Signed by Judge Emmet G. Sullivan on
                   2/3/2021. (lcegs3) (Entered: 02/03/2021)
02/04/2021   42    Emergency MOTION to Stay Removal by ALL PLAINTIFFS, B.A.M.M.,
                   E.R.P.D.S., H.N.D.S., H.T.D.S.D.S., NANCY GIMENA HUISHA−HUISHA,
                   I.M.C.H., M.E.S.D.S., VALERIA MACANCELA BERMEJO, JOSAINE
                   PEREIRA−DE SOUZA. (Attachments: # 1 Text of Proposed Order)(Crook,
                   Jamie) (Entered: 02/04/2021)
02/04/2021   43    SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL
                   filed by ALL PLAINTIFFS, B.A.M.M., E.R.P.D.S., H.N.D.S., H.T.D.S.D.S.,
                   NANCY GIMENA HUISHA−HUISHA, I.M.C.H., M.E.S.D.S., VALERIA
                   MACANCELA BERMEJO, JOSAINE PEREIRA−DE SOUZA (This
                   document is SEALED and only available to authorized persons.) (Attachments:


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                   # 1 Text of Proposed Order, # 2 Declaration of Jonny Dieudonne)(Crook,
                   Jamie) (Entered: 02/04/2021)
02/04/2021         Set/Reset Deadlines: Plaintiffs Motion For Classwide Preliminary Injunction
                   due by 2/5/2021. Defendants Combined Opposition To Plaintiffs' Motion For
                   Class Certification And Motion For Classwide Preliminary Injunction due by
                   2/17/2021. Plaintiffs Combined Reply In Support Of Both Motions due by
                   2/23/2021.(mac) (Entered: 02/04/2021)
02/04/2021         MINUTE ORDER treating as opposed and granting over objection 42
                   Emergency Motion to Stay Removal. In view of the arguments presented by
                   Plaintiffs in their motion, the Court's February 1, 2021 Minute Order, and for
                   the reasons stated on the record at the January 12, 2021 Status Conference, it is
                   hereby ORDERED that the removals of Jonny Dieudonne (SID 369−745−541),
                   Nathalie Decilian (SID 369−745−608), and their minor child N.J.D.D. (SID
                   369−745−546) are STAYED pending further order of this Court. This Order is
                   subject to reconsideration for good cause shown by no later than February 4,
                   2021 at 12:00 PM. Signed by Judge Emmet G. Sullivan on 2/4/2021. (lcegs3)
                   (Entered: 02/04/2021)
02/04/2021         MINUTE ORDER granting 43 SEALED MOTION FOR LEAVE TO FILE
                   DOCUMENT UNDER SEAL. Signed by Judge Emmet G. Sullivan on
                   2/4/2021. (lcegs3) (Entered: 02/04/2021)
02/04/2021         Set/Reset Deadlines: Reconsideration, If Any, due no later than 12:00PM on
                   2/4/2021. (mac) (Entered: 02/04/2021)
02/04/2021   44    Emergency MOTION to Stay Removal by BEDAPHECA ALCANTE, ALL
                   PLAINTIFFS, B.A.M.M., B.V.−A., FIDETTE BOUTE, D.J.T.−B., D.J.Z.,
                   E.R.P.D.S., H.N.D.S., H.T.D.S.D.S., NANCY GIMENA HUISHA−HUISHA,
                   I.M.C.H., J.A.Z., M.E.S.D.S., VALERIA MACANCELA BERMEJO,
                   JOSAINE PEREIRA−DE SOUZA, T.J.T.−B., MARTHA LILIANA
                   TADAY−ACOSTA, JULIEN THOMAS, ROMILUS VALCOURT.
                   (Attachments: # 1 Text of Proposed Order)(Crook, Jamie) (Entered:
                   02/04/2021)
02/04/2021   45    SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL
                   filed by BEDAPHECA ALCANTE, ALL PLAINTIFFS, B.A.M.M., B.V.−A.,
                   FIDETTE BOUTE, D.J.T.−B., D.J.Z., E.R.P.D.S., H.N.D.S., H.T.D.S.D.S.,
                   NANCY GIMENA HUISHA−HUISHA, I.M.C.H., J.A.Z., M.E.S.D.S.,
                   VALERIA MACANCELA BERMEJO, JOSAINE PEREIRA−DE SOUZA,
                   T.J.T.−B., MARTHA LILIANA TADAY−ACOSTA, JULIEN THOMAS,
                   ROMILUS VALCOURT (This document is SEALED and only available to
                   authorized persons.) (Attachments: # 1 Text of Proposed Order, # 2
                   Declaration of Diana Quilli−Marca)(Crook, Jamie) (Entered: 02/04/2021)
02/04/2021   46    Emergency MOTION to Stay Removal by BEDAPHECA ALCANTE, ALL
                   PLAINTIFFS, B.A.M.M., B.V.−A., FIDETTE BOUTE, D.J.T.−B., D.J.Z.,
                   E.R.P.D.S., H.N.D.S., H.T.D.S.D.S., NANCY GIMENA HUISHA−HUISHA,
                   I.M.C.H., J.A.Z., M.E.S.D.S., VALERIA MACANCELA BERMEJO,
                   JOSAINE PEREIRA−DE SOUZA, T.J.T.−B., MARTHA LILIANA
                   TADAY−ACOSTA, JULIEN THOMAS, ROMILUS VALCOURT.
                   (Attachments: # 1 Text of Proposed Order)(Crook, Jamie) (Entered:
                   02/04/2021)


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02/04/2021   47    SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL
                   filed by BEDAPHECA ALCANTE, ALL PLAINTIFFS, B.A.M.M., B.V.−A.,
                   FIDETTE BOUTE, D.J.T.−B., D.J.Z., E.R.P.D.S., H.N.D.S., H.T.D.S.D.S.,
                   NANCY GIMENA HUISHA−HUISHA, I.M.C.H., J.A.Z., M.E.S.D.S.,
                   VALERIA MACANCELA BERMEJO, JOSAINE PEREIRA−DE SOUZA,
                   T.J.T.−B., MARTHA LILIANA TADAY−ACOSTA, JULIEN THOMAS,
                   ROMILUS VALCOURT (This document is SEALED and only available to
                   authorized persons.) (Attachments: # 1 Text of Proposed Order, # 2
                   Declaration of Jean Louissaint Fleury, # 3 Declaration of Thechelet Dieudonne,
                   # 4 Declaration of Pouchon Bien−Aime, # 5 Declaration of Elyse
                   Louima)(Crook, Jamie) (Entered: 02/04/2021)
02/04/2021         MINUTE ORDER treating as opposed and granting over objection 44
                   Emergency Motion to Stay Removal. In view of the arguments presented by
                   Plaintiffs in their motion, the Court's February 1, 2021 Minute Order, and for
                   the reasons stated on the record at the January 12, 2021 Status Conference, it is
                   hereby ORDERED that the removals of Diana Quilli−Marca (SID
                   369−752−319) and her minor child N.S.Q. (SID 369−752−531) are STAYED
                   pending further order of this Court. This Order is subject to reconsideration for
                   good cause shown by no later than February 4, 2021 at 10:00 PM. Signed by
                   Judge Emmet G. Sullivan on 2/4/2021. (lcegs3) (Entered: 02/04/2021)
02/04/2021         MINUTE ORDER granting 45 SEALED MOTION FOR LEAVE TO FILE
                   DOCUMENT UNDER SEAL. Signed by Judge Emmet G. Sullivan on
                   2/4/2021. (lcegs3) (Entered: 02/04/2021)
02/04/2021         MINUTE ORDER treating as opposed and granting over objection 46
                   Emergency Motion to Stay Removal. In view of the arguments presented by
                   Plaintiffs in their motion, the Court's February 1, 2021 Minute Order, and for
                   the reasons stated on the record at the January 12, 2021 Status Conference, it is
                   hereby ORDERED that the removals of the following families are STAYED
                   pending further order of this Court: Thechelet Dieudonne (SID 369−745−511),
                   Juna Delphin (SID 369−745−516), and their minor child T.D. (SID
                   369−745−519); Pouchon Bien−Aime, (SID 369−780−070), Annediana Desir,
                   (SID 369−780−063), and their minor child P.R.B.A.D. (SID 369−780−078);
                   Jean Louissaint Fleury, (SID 369−780−176), Barbara Fleury Previl, (SID
                   369−780−197), and their minor children D.L.F. (SID 369−780−189) and M.L.
                   (SID 369−780−181); Elyse Louima (SID 369−739−119), Filande Adolphe
                   (SID 369−739−126), and their minor child E.L.A. (SID 369−739−133). This
                   Order is subject to reconsideration for good cause shown by no later than
                   February 4, 2021 at 10:00 PM. Signed by Judge Emmet G. Sullivan on
                   2/4/2021. (lcegs3) (Entered: 02/04/2021)
02/04/2021         MINUTE ORDER granting 47 Sealed Motion for Leave to File Document
                   Under Seal. Signed by Judge Emmet G. Sullivan on 2/4/2021. (lcegs3)
                   (Entered: 02/04/2021)
02/04/2021   48    Emergency MOTION to Stay Removal by BEDAPHECA ALCANTE, ALL
                   PLAINTIFFS, B.A.M.M., B.V.−A., FIDETTE BOUTE, D.J.T.−B., D.J.Z.,
                   E.R.P.D.S., H.N.D.S., H.T.D.S.D.S., NANCY GIMENA HUISHA−HUISHA,
                   I.M.C.H., J.A.Z., M.E.S.D.S., VALERIA MACANCELA BERMEJO,
                   JOSAINE PEREIRA−DE SOUZA, T.J.T.−B., MARTHA LILIANA
                   TADAY−ACOSTA, JULIEN THOMAS, ROMILUS VALCOURT.


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                   (Attachments: # 1 Text of Proposed Order)(Crook, Jamie) (Entered:
                   02/04/2021)
02/04/2021   49    SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL
                   filed by BEDAPHECA ALCANTE, ALL PLAINTIFFS, B.A.M.M., B.V.−A.,
                   FIDETTE BOUTE, D.J.T.−B., D.J.Z., E.R.P.D.S., H.N.D.S., H.T.D.S.D.S.,
                   NANCY GIMENA HUISHA−HUISHA, I.M.C.H., J.A.Z., M.E.S.D.S.,
                   VALERIA MACANCELA BERMEJO, JOSAINE PEREIRA−DE SOUZA,
                   T.J.T.−B., MARTHA LILIANA TADAY−ACOSTA, JULIEN THOMAS,
                   ROMILUS VALCOURT (This document is SEALED and only available to
                   authorized persons.) (Attachments: # 1 Text of Proposed Order, # 2
                   Declaration of Fabiana Ferreira Da Costa)(Crook, Jamie) (Entered:
                   02/04/2021)
02/04/2021   64    SEALED Declaration of DIANA QUILLI−MARCA filed by ALL
                   PLAINTIFFS. (This document is SEALED and only available to authorized
                   persons.)(zjf) (Entered: 02/09/2021)
02/04/2021   65    SEALED Declaration of JONNY DIEUDONNE filed by ALL PLAINTIFFS.
                   (This document is SEALED and only available to authorized persons.)(zjf)
                   (Entered: 02/09/2021)
02/04/2021   66    SEALED Declarations of Jean Louissaint Fleury, Thechelet Dieudonne,
                   Pouchon Bien−Aime and Elyse Louima filed by ALL PLAINTIFFS. (This
                   document is SEALED and only available to authorized persons.)(zjf) (Entered:
                   02/09/2021)
02/05/2021         Set/Reset Deadlines: Motion For Reconsideration due no later than 10:00PM
                   on 2/4/2021. (mac) (Entered: 02/05/2021)
02/05/2021         MINUTE ORDER treating as opposed and granting over objection 48
                   Emergency Motion to Stay Removal. In view of the arguments presented by
                   Plaintiffs in their motion, the Court's February 1, 2021 Minute Order, and for
                   the reasons stated on the record at the January 12, 2021 Status Conference, it is
                   hereby ORDERED that the removals of the following families are STAYED
                   pending further order of this Court: Fabiana Ferreira Da Costa (SID
                   369−729−448), and her minor children M.A.L.F.C. (SID 369−729−454),
                   K.R.F.D.C. (SID 369−729−457), and A.D.M.F.D.C. (SID 369−729−466). This
                   Order is subject to reconsideration for good cause shown by no later than
                   February 5, 2021 at 12:00 PM. Signed by Judge Emmet G. Sullivan on
                   2/5/2021. (lcegs3) (Entered: 02/05/2021)
02/05/2021         MINUTE ORDER granting 49 Sealed Motion for Leave to File Document
                   Under Seal. Signed by Judge Emmet G. Sullivan on 2/5/2021. (lcegs3)
                   (Entered: 02/05/2021)
02/05/2021         Set/Reset Deadlines: Motion For Reconsideration due no later than 12:00PM
                   on 2/5/2021. (mac) (Entered: 02/05/2021)
02/05/2021   50    NOTICE of Appearance by Paul R.Q. Wolfson on behalf of T. Alexander
                   Aleinikoff, Deborah Anker, James C. Hathaway, Gerald L. Neuman (Wolfson,
                   Paul) (Entered: 02/05/2021)
02/05/2021   51    MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Noah A.
                   Levine, Filing fee $ 100, receipt number ADCDC−8169810. Fee Status: Fee


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                   Paid. by T. Alexander Aleinikoff, Deborah Anker, James C. Hathaway, Gerald
                   L. Neuman. (Attachments: # 1 Declaration of Noah A. Levine, # 2 Text of
                   Proposed Order)(Wolfson, Paul) (Entered: 02/05/2021)
02/05/2021   52    Unopposed MOTION for Leave to File a Brief for Scholars of Refugee and
                   Immigration Law as Amici Curiae in Support of Plaintiffs' Motion for
                   Classwide Preliminary Injunction by T. Alexander Aleinikoff, Deborah Anker,
                   James C. Hathaway, Gerald L. Neuman. (Attachments: # 1 Proposed Amicus
                   Brief, # 2 Text of Proposed Order)(Wolfson, Paul) (Entered: 02/05/2021)
02/05/2021   53    NOTICE of Appearance by Lee Gelernt on behalf of All Plaintiffs (Gelernt,
                   Lee) (Entered: 02/05/2021)
02/05/2021   54    MOTION for Leave to File Amicus Curiae Brief by INTERNATIONAL
                   REFUGEE ASSISTANCE PROJECT. (Attachments: # 1 Exhibit Proposed
                   Amicus Brief, # 2 Text of Proposed Order)(Austin, Kathryn) (Entered:
                   02/05/2021)
02/05/2021   55    NOTICE of Appearance by Raymond P. Tolentino on behalf of Historians
                   (Tolentino, Raymond) (Entered: 02/05/2021)
02/05/2021   56    Unopposed MOTION for Leave to File Amicus Curiae Brief by Historians.
                   (Attachments: # 1 Exhibit Proposed Amicus Brief, # 2 Text of Proposed
                   Order)(Tolentino, Raymond) (Entered: 02/05/2021)
02/05/2021   57    MOTION for Preliminary Injunction by BEDAPHECA ALCANTE, ALL
                   PLAINTIFFS, B.A.M.M., B.V.−A., FIDETTE BOUTE, D.J.T.−B., D.J.Z.,
                   E.R.P.D.S., H.N.D.S., H.T.D.S.D.S., NANCY GIMENA HUISHA−HUISHA,
                   I.M.C.H., J.A.Z., M.E.S.D.S., VALERIA MACANCELA BERMEJO,
                   JOSAINE PEREIRA−DE SOUZA, T.J.T.−B., MARTHA LILIANA
                   TADAY−ACOSTA, JULIEN THOMAS, ROMILUS VALCOURT.
                   (Attachments: # 1 Memorandum in Support of Preliminary Injunction, # 2 Text
                   of Proposed Order, # 3 Index of Exhibits, # 4 Declaration of Ming Cheung, # 5
                   Exhibit A−I, # 6 Declaration of Public Health Experts, # 7 Exhibit A−D, # 8
                   Declaration of Javier Hidalgo, # 9 Declaration of Allison Herre, # 10
                   Declaration of Linda Corchado, # 11 Declaration of Lisa Frydman, # 12
                   Declaration of Taylor Levy)(Gelernt, Lee) (Entered: 02/05/2021)
02/05/2021   58    Emergency MOTION to Stay Removal of Apollon Family by ALL
                   PLAINTIFFS. (Attachments: # 1 Text of Proposed Order)(Crook, Jamie)
                   (Entered: 02/05/2021)
02/05/2021   59    SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL
                   filed by ALL PLAINTIFFS (This document is SEALED and only available to
                   authorized persons.) (Attachments: # 1 Text of Proposed Order, # 2
                   Declaration of Gesnel Apollon)(Crook, Jamie) (Entered: 02/05/2021)
02/05/2021   67    SEALED Declaration of Fabiana Ferreira Da Costa filed by ALL
                   PLAINTIFFS. (This document is SEALED and only available to authorized
                   persons.)(zjf) (Entered: 02/09/2021)
02/06/2021         MINUTE ORDER treating as opposed and granting over objection 58
                   Emergency Motion to Stay Removal. In view of the arguments presented by
                   Plaintiffs in their motion, the Court's February 1, 2021 Minute Order, and for
                   the reasons stated on the record at the January 12, 2021 Status Conference, it is


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                   hereby ORDERED that the removal of the following family is STAYED
                   pending further order of this Court: Gesnel Apollon (SID 369−778−765),
                   Elourdes Bergel (SID#369−778−770), and their minor child, J.A.,
                   SID#369−778−776. This Order is subject to reconsideration for good cause
                   shown by no later than February 6, 2021 at 8:00 PM. Signed by Judge Emmet
                   G. Sullivan on 2/6/2021. (lcegs3) (Entered: 02/06/2021)
02/06/2021         MINUTE ORDER granting 59 Sealed Motion for Leave to File Document
                   Under Seal. Signed by Judge Emmet G. Sullivan on 2/6/2021. (lcegs3)
                   (Entered: 02/06/2021)
02/06/2021   63    SEALED Declaration of Gesnel Apollon re 58 Emergency MOTION to Stay
                   Removal of Apollon Family filed by ALL PLAINTIFFS. (This document is
                   SEALED and only available to authorized persons.)(zjf) (Entered: 02/09/2021)
02/08/2021         Set/Reset Deadlines: Motion For Reconsideration due no later than 8:00PM on
                   2/6/2021. (mac) (Entered: 02/08/2021)
02/08/2021   60    Emergency MOTION to Stay Removal of Desenclos/Emile, Jean, Lalune, and
                   Thomas Families by ALL PLAINTIFFS. (Attachments: # 1 Text of Proposed
                   Order)(Crook, Jamie) (Entered: 02/08/2021)
02/08/2021   61    SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL
                   filed by ALL PLAINTIFFS (This document is SEALED and only available to
                   authorized persons.) (Attachments: # 1 Text of Proposed Order, # 2
                   Declaration of Clema Thomas, # 3 Declaration of David Jean, # 4 Declaration
                   of Danie Lalune, # 5 Declaration of Ketlene Emile)(Crook, Jamie) (Entered:
                   02/08/2021)
02/09/2021         MINUTE ORDER treating as opposed and granting over objection 60
                   Emergency Motion to Stay Removal. In view of the arguments presented by
                   Plaintiffs in their motion, the Court's February 1, 2021 Minute Order, and for
                   the reasons stated on the record at the January 12, 2021 Status Conference, it is
                   hereby ORDERED that the removal of the following families are STAYED
                   pending further order of this Court: Ketlene Emile (SID#369−736−280),
                   Michel Riverson Cliff Salis Desenclos (SID#369− 736−194), and their minor
                   child A.D.E. (SID#369−736−308); David Jean (SID# 369−789−160), Edwidge
                   Civil (SID#369−789−185), and their minor child A.J. (SID#369−789−192);
                   Danie Lalune (SID# 369−782−922), Wesley Lalune (SID# 369−782−907), and
                   their two minor children D.L. (SID# 369−782−935) and C.M.L. (SID#
                   369−782−949); Clema Thomas (SID#369−781−406), Lyesse Sylen
                   (SID#369−783−314), and their minor children A.G.T.S. (SID#369−781−423)
                   and A.G.D. (SID#369−783−326). This Order is subject to reconsideration for
                   good cause shown by no later than February 9, 2021 at 12:00 PM. Signed by
                   Judge Emmet G. Sullivan on 2/9/2021. (lcegs3) (Entered: 02/09/2021)
02/09/2021         MINUTE ORDER granting 61 Sealed Motion for Leave to File Document
                   Under Seal. Signed by Judge Emmet G. Sullivan on 2/9/2021. (lcegs3)
                   (Entered: 02/09/2021)
02/09/2021   62    MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Tamara F.
                   Goodlette, Filing fee $ 100, receipt number ADCDC−8180349. Fee Status: Fee
                   Paid. by BEDAPHECA ALCANTE, B.A.M.M., B.V.−A., FIDETTE BOUTE,
                   D.J.T.−B., D.J.Z., E.R.P.D.S., H.N.D.S., H.T.D.S.D.S., NANCY GIMENA
                   HUISHA−HUISHA, I.M.C.H., J.A.Z., M.E.S.D.S., VALERIA MACANCELA

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                   BERMEJO, JOSAINE PEREIRA−DE SOUZA, T.J.T.−B., MARTHA
                   LILIANA TADAY−ACOSTA, JULIEN THOMAS, ROMILUS VALCOURT.
                   (Perez, Celso) (Entered: 02/09/2021)
02/09/2021   70    SEALED Declaration of Clema Thomas,David Jean, Danie Lalune, Ketlene
                   Emile filed by ALL PLAINTIFFS. (This document is SEALED and only
                   available to authorized persons.)(zjf) (Entered: 02/10/2021)
02/10/2021         Set/Reset Deadlines: Motion For Reconsideration due no later than 12:00PM
                   on 2/9/2021. (mac) (Entered: 02/10/2021)
02/10/2021   68    NOTICE of Appearance by Stephen Bonggyun Kang on behalf of All Plaintiffs
                   (Kang, Stephen) (Entered: 02/10/2021)
02/10/2021   69    NOTICE of Appearance by Cody H. Wofsy on behalf of All Plaintiffs (Wofsy,
                   Cody) (Entered: 02/10/2021)
02/10/2021   71    NOTICE of Appearance by Daniel Antonio Galindo on behalf of All Plaintiffs
                   (Galindo, Daniel) (Entered: 02/10/2021)
02/10/2021   72    NOTICE of Appearance by Ming Cheung on behalf of All Plaintiffs (Cheung,
                   Ming) (Entered: 02/10/2021)
02/10/2021   73    NOTICE of Appearance by Morgan Russell on behalf of All Plaintiffs
                   (Russell, Morgan) (Entered: 02/10/2021)
02/10/2021   74    NOTICE of Appearance by Omar C. Jadwat on behalf of All Plaintiffs (Jadwat,
                   Omar) (Entered: 02/10/2021)
02/11/2021         MINUTE ORDER granting 51 motion for leave to appear pro hac vice. Noah
                   A. Levine is hereby admitted pro hac vice in this action. Counsel should
                   register for e−filing via PACER and file a notice of appearance pursuant
                   to LCvR 83.6(a). Click for instructions. Signed by Judge Emmet G. Sullivan
                   on 2/11/2021. (lcegs3) (Entered: 02/11/2021)
02/11/2021         MINUTE ORDER granting 62 motion for leave to appear pro hac vice. Tamara
                   F. Goodlette is hereby admitted pro hac vice in this action. Counsel should
                   register for e−filing via PACER and file a notice of appearance pursuant
                   to LCvR 83.6(a). Click for instructions. Signed by Judge Emmet G. Sullivan
                   on 2/11/2021. (lcegs3) (Entered: 02/11/2021)
02/11/2021         MINUTE ORDER granting 52 Unopposed MOTION for Leave to File a Brief
                   for Scholars of Refugee and Immigration Law as Amici Curiae in Support of
                   Plaintiffs' Motion for Class−wide Preliminary Injunction. The [52−1] amicus
                   brief shall be deemed filed as of February 11, 2021. Signed by Judge Emmet
                   G. Sullivan on 2/11/2021. (lcegs3) (Entered: 02/11/2021)
02/11/2021         MINUTE ORDER granting 54 MOTION for Leave to File Amicus Curiae
                   Brief by INTERNATIONAL REFUGEE ASSISTANCE PROJECT. The
                   [54−1] amicus brief shall be deemed filed as of February 11, 2021. Signed by
                   Judge Emmet G. Sullivan on 2/11/2021. (lcegs3) (Entered: 02/11/2021)
02/11/2021         MINUTE ORDER granting 56 Unopposed MOTION for Leave to File Amicus
                   Curiae Brief by Historians. The [56−1] amicus brief shall be deemed filed as of
                   February 11, 2021. Signed by Judge Emmet G. Sullivan on 2/11/2021. (lcegs3)
                   (Entered: 02/11/2021)


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02/11/2021   75    NOTICE of Appearance by Noah A. Levine on behalf of T. ALEXANDER
                   ALEINIKOFF, DEBORAH ANKER, JAMES C. HATHTAWAY, GERALD
                   L. NEUMAN (Levine, Noah) (Entered: 02/11/2021)
02/11/2021   77    AMICUS BRIEF by T. ALEXANDER ALEINIKOFF, DEBORAH ANKER,
                   JAMES C. HATHTAWAY, GERALD L. NEUMAN. (znmw) (Entered:
                   02/18/2021)
02/11/2021   78    AMICUS BRIEF by INTERNATIONAL REFUGEE ASSISTANCE
                   PROJECT. (znmw) (Entered: 02/18/2021)
02/11/2021   79    AMICUS BRIEF by HISTORIANS. (znmw) (Entered: 02/18/2021)
02/17/2021   76    Memorandum in opposition to re 23 MOTION to Certify Class , 57 MOTION
                   for Preliminary Injunction filed by NORRIS COCHRAN, WILLIAM A.
                   FERRARA, TAE D. JOHNSON, ALEJANDRO MAYORKAS, TROY
                   MILLER, RODNEY S. SCOTT, ROCHELLE P. WALENSKY. (Attachments:
                   # 1 Exhibits A−E, # 2 Declaration of Troy Miller, # 3 Declaration of Russell
                   Hott)(Tepe, Sean) (Entered: 02/17/2021)
02/18/2021   80    Emergency MOTION to Stay Removal by ALL PLAINTIFFS. (Attachments: #
                   1 Text of Proposed Order)(Gelernt, Lee) (Entered: 02/18/2021)
02/18/2021   81    SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL
                   filed by ALL PLAINTIFFS (This document is SEALED and only available to
                   authorized persons.) (Attachments: # 1 Text of Proposed Order, # 2
                   Declaration of Torres−Rojas)(Gelernt, Lee) (Entered: 02/18/2021)
02/18/2021         MINUTE ORDER treating as opposed and granting over objection 80
                   Emergency Motion to Stay Removal. In view of the arguments presented by
                   Plaintiffs in their motion, the Court's February 1, 2021 Minute Order, and for
                   the reasons stated on the record at the January 12, 2021 Status Conference, it is
                   hereby ORDERED that the removal of the following family is STAYED
                   pending further order of this Court: Paola Trinidad Torres−Rojas (SID
                   369−842−359) and her minor child M.J.Z.T. (SID 369− 842−362). This Order
                   is subject to reconsideration for good cause shown by no later than February
                   18, 2021 at 7:00 PM. Signed by Judge Emmet G. Sullivan on 2/18/2021.
                   (lcegs3) (Entered: 02/18/2021)
02/18/2021         MINUTE ORDER granting 81 sealed motion for leave to file document under
                   seal. Signed by Judge Emmet G. Sullivan on 2/18/2021. (lcegs3) (Entered:
                   02/18/2021)
02/18/2021   88    SEALED Declaration of Bebeto Pierrot filed by ALL PLAINTIFFS. (This
                   document is SEALED and only available to authorized persons.)(zjf) (Entered:
                   02/24/2021)
02/18/2021   89    SEALED Declaration of Torres−Rojas filed by ALL PLAINTIFFS. (This
                   document is SEALED and only available to authorized persons.)(zjf) (Entered:
                   02/24/2021)
02/19/2021         Set/Reset Deadlines: Motion For Reconsideration due no later than 7:00PM on
                   2/18/2021. (mac) (Entered: 02/19/2021)
02/19/2021   82    Emergency MOTION to Stay Removal by ALL PLAINTIFFS. (Attachments: #
                   1 Text of Proposed Order)(Gelernt, Lee) (Entered: 02/19/2021)


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02/19/2021   83    SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL
                   filed by ALL PLAINTIFFS (This document is SEALED and only available to
                   authorized persons.) (Attachments: # 1 Text of Proposed Order, # 2
                   Declaration of Francois)(Gelernt, Lee) (Entered: 02/19/2021)
02/19/2021         MINUTE ORDER treating as opposed and granting over objection 82
                   Emergency Motion to Stay Removal. In view of the arguments presented by
                   Plaintiffs in their motion, the Court's February 1, 2021 Minute Order, and for
                   the reasons stated on the record at the January 12, 2021 Status Conference, it is
                   hereby ORDERED that the removal of the following family is STAYED
                   pending further order of this Court: Fredenel Francois (SID 369−772−515),
                   Guyvlena Malvoisin, (SID 369−772−487), and their minor child, P.A.S.G.M.
                   (SID 369−772−547). This Order is subject to reconsideration for good cause
                   shown by no later than February 19, 2021 at 3:00 PM. Signed by Judge Emmet
                   G. Sullivan on 2/19/2021. (lcegs3) (Entered: 02/19/2021)
02/19/2021         MINUTE ORDER granting 83 sealed motion for leave to file document under
                   seal. Signed by Judge Emmet G. Sullivan on 2/19/2021. (lcegs3) (Entered:
                   02/19/2021)
02/19/2021         Set/Reset Deadlines: Motion For Reconsideration due no later than 3:00PM on
                   2/19/2021. (mac) (Entered: 02/19/2021)
02/19/2021   84    SEALED Declaration of Francois filed by ALL PLAINTIFFS. (This document
                   is SEALED and only available to authorized persons.)(zjf) (Entered:
                   02/19/2021)
02/19/2021   85    Emergency MOTION to Stay Removal of the Pierrot Family by ALL
                   PLAINTIFFS. (Attachments: # 1 Text of Proposed Order)(Russell, Morgan)
                   (Entered: 02/19/2021)
02/19/2021   86    SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL
                   filed by ALL PLAINTIFFS (This document is SEALED and only available to
                   authorized persons.) (Attachments: # 1 Text of Proposed Order, # 2
                   Declaration of Bebeto Pierrot)(Russell, Morgan) (Entered: 02/19/2021)
02/22/2021         MINUTE ORDER treating as opposed and granting over objection 85
                   Emergency Motion to Stay Removal. In view of the arguments presented by
                   Plaintiffs in their motion, the Court's February 1, 2021 Minute Order, and for
                   the reasons stated on the record at the January 12, 2021 Status Conference, it is
                   hereby ORDERED that the removal of the following family is STAYED
                   pending further order of this Court: Bebeto Pierrot, SID 369−772−300, Nadine
                   Remilus, SID 369−772−363, and their minor child M.A.P., SID 369−868−214.
                   This Order is subject to reconsideration for good cause shown by no later than
                   February 22, 2021 at 3:00 PM. Signed by Judge Emmet G. Sullivan on
                   2/22/2021. (lcegs3) (Entered: 02/22/2021)
02/22/2021         MINUTE ORDER granting 86 Sealed Motion for Leave to File Document
                   Under Seal. Signed by Judge Emmet G. Sullivan on 2/22/2021. (lcegs3)
                   (Entered: 02/22/2021)
02/22/2021         Set/Reset Deadlines: Motion For Reconsideration due no later than 3:00PM on
                   2/22/2021. (mac) (Entered: 02/22/2021)
02/22/2021   90


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                   SEALED DOCUMENT (Declaration of Bebeto Pierrot) filed by ALL
                   PLAINTIFFS. (This document is SEALED and only available to authorized
                   persons.)(znmw) (Entered: 02/26/2021)
02/23/2021   87    Joint MOTION to Stay Joint Motion to Hold in Abeyance Plaintiffs' Class
                   Certification and Preliminary Injunction Motions by NORRIS COCHRAN,
                   WILLIAM A. FERRARA, TAE D. JOHNSON, ALEJANDRO N.
                   MAYORKAS, TROY MILLER, RODNEY S. SCOTT, ROCHELLE P.
                   WALENSKY. (Tepe, Sean) (Entered: 02/23/2021)
02/23/2021         MINUTE ORDER granting 87 joint motion to hold in abeyance Plaintiffs'
                   motions for class certification and classwide preliminary injunction. It is
                   FURTHER ORDERED that either party may request termination of the
                   abeyance by filing a motion seeking such relief. It is FURTHER ORDERED
                   that Plaintiffs shall file their reply in support of their motions for class
                   certification and preliminary injunction by no later than March 23, 2021.
                   Signed by Judge Emmet G. Sullivan on 2/23/2021. (lcegs3) (Entered:
                   02/23/2021)
02/24/2021         Set/Reset Deadlines: Plaintiffs Reply In Support Of Their Motions For Class
                   Certification And Preliminary Injunction due by 3/23/2021. (mac) (Entered:
                   02/24/2021)
02/25/2021   91    ENTERED IN ERROR AS A DUPLICATE DE# 90 ..SEALED Declaration of
                   Bebeto Pierrot filed by ALL PLAINTIFFS. (This document is SEALED and
                   only available to authorized persons.)(zjf) Modified on 2/26/2021 (zjf).
                   (Entered: 02/26/2021)
02/26/2021   92    NOTICE of Appearance by Geroline A Castillo on behalf of
                   INTERNATIONAL REFUGEE ASSISTANCE PROJECT (Castillo, Geroline)
                   (Entered: 02/26/2021)
03/15/2021   93    NOTICE of Appearance by Karla Vargas on behalf of All Plaintiffs (Vargas,
                   Karla) (Entered: 03/15/2021)
03/15/2021   94    RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed.
                   ALEX M. AZAR, II served on 1/25/2021; JONATHAN FAHEY served on
                   1/19/2021; WILLIAM A. FERRARA served on 1/19/2021; PETER T.
                   GAYNOR served on 1/19/2021; MARK A. MORGAN served on 1/19/2021;
                   ROBERT R. REDFIELD served on 1/19/2021; RODNEY S. SCOTT served on
                   1/19/2021 (Cheung, Ming) (Entered: 03/15/2021)
03/15/2021   95    RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed
                   on United States Attorney General. Date of Service Upon United States
                   Attorney General 01/19/2021. (Cheung, Ming) (Entered: 03/15/2021)
03/15/2021   96    RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed
                   as to the United States Attorney. Date of Service Upon United States Attorney
                   on 1/21/2021. Answer due for ALL FEDERAL DEFENDANTS by 3/22/2021.
                   (Cheung, Ming) (Entered: 03/15/2021)
03/16/2021   97    Joint MOTION for Protective Order by NORRIS COCHRAN, WILLIAM A.
                   FERRARA, TAE D. JOHNSON, ALEJANDRO MAYORKAS, TROY
                   MILLER, RODNEY S. SCOTT, ROCHELLE P. WALENSKY. (Attachments:
                   # 1 Proposed Stipulated Protective Order)(Tepe, Sean) (Entered: 03/16/2021)


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03/16/2021    98   Consent MOTION to Vacate Answer Deadline and Set Joint Status Report
                   Deadline by NORRIS COCHRAN, WILLIAM A. FERRARA, TAE D.
                   JOHNSON, ALEJANDRO MAYORKAS, TROY MILLER, RODNEY S.
                   SCOTT, ROCHELLE P. WALENSKY. (Tepe, Sean) (Entered: 03/16/2021)
03/22/2021    99   Joint MOTION to Continue Holding in Abeyance Plaintiffs' Motions for Class
                   Certification and Preliminary Injunction by NORRIS COCHRAN, WILLIAM
                   A. FERRARA, TAE D. JOHNSON, ALEJANDRO MAYORKAS, TROY
                   MILLER, RODNEY S. SCOTT, ROCHELLE P. WALENSKY. (Tepe, Sean)
                   Modified on 3/22/2021 to correct docket event/text(zjf). (Entered: 03/22/2021)
03/22/2021         MINUTE ORDER granting 97 joint motion for entry of a stipulated protective
                   order. The terms presented in [97−1] Stipulated Protective Order are hereby
                   incorporated by reference into this Order. Signed by Judge Emmet G. Sullivan
                   on 3/22/2021. (lcegs3) (Entered: 03/22/2021)
03/22/2021         MINUTE ORDER granting 98 consent motion to vacate answer deadline and
                   set joint status report deadline. It is hereby ORDERED that the March 22, 2021
                   deadline for Defendants to answer or otherwise respond to the Amended
                   Complaint is VACATED. It is FURTHER ORDERED that the parties shall file
                   a joint status report within fourteen days from the date of the Court's decisions
                   on Plaintiffs' Motions for Class Certification and Classwide Preliminary
                   Injunction. Signed by Judge Emmet G. Sullivan on 3/22/2021. (lcegs3)
                   (Entered: 03/22/2021)
03/22/2021         MINUTE ORDER granting 99 joint motion to continue to hold in abeyance
                   Plaintiffs' Motions for Class Certification and Classwide Permanent Injunction
                   until April 2, 2021. Plaintiffs shall file their reply in support of their motions by
                   no later than April 2, 2021. Signed by Judge Emmet G. Sullivan on 3/22/2021.
                   (lcegs3) (Entered: 03/22/2021)
03/23/2021         Set/Reset Deadlines: Plaintiff Reply due by 4/2/2021. (mac) (Entered:
                   03/23/2021)
04/01/2021   100   Joint MOTION To Continue Holding in Abeyance Plaintiffs' Motions for Class
                   Certification and Preliminary Injunction by NORRIS COCHRAN, WILLIAM
                   A. FERRARA, TAE D. JOHNSON, ALEJANDRO MAYORKAS, TROY
                   MILLER, RODNEY S. SCOTT, ROCHELLE P. WALENSKY. (Tepe, Sean)
                   Modified on 4/2/2021 (zjf). (Entered: 04/01/2021)
04/02/2021         MINUTE ORDER granting 100 joint motion to continue holding in abeyance
                   Plaintiffs' motions for class certification and classwide preliminary injunction.
                   It is FURTHER ORDERED that Plaintiffs shall file their reply in support of
                   their motions for class certification and preliminary injunction by no later than
                   April 12, 2021. Signed by Judge Emmet G. Sullivan on 4/2/2021. (lcegs3)
                   (Entered: 04/02/2021)
04/03/2021         Set/Reset Deadlines: Plaintiffs Reply In Support Of Their Motions For Class
                   Certification And Preliminary Injunction due by 4/12/2021. (mac) (Entered:
                   04/03/2021)
04/05/2021   101   NOTICE OF WITHDRAWAL OF APPEARANCE as to ALL PLAINTIFFS.
                   Attorney Celso Perez terminated. (Gelernt, Lee) (Entered: 04/05/2021)
04/11/2021   102


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                   Joint MOTION to Continue Holding in Abeyance Plaintiffs' Motions for Class
                   Certification and Preliminary Injunction by NORRIS COCHRAN, WILLIAM
                   A. FERRARA, TAE D. JOHNSON, ALEJANDRO MAYORKAS, TROY
                   MILLER, RODNEY S. SCOTT, ROCHELLE P. WALENSKY. (Tepe, Sean)
                   (Entered: 04/11/2021)
04/12/2021         MINUTE ORDER granting 102 joint motion to continue to hold in abeyance
                   Plaintiffs' Motions for Class Certification and Classwide Permanent Injunction
                   until April 22, 2021. It is FURTHER ORDERED that Plaintiffs shall file their
                   reply in support of their motions for class certification and preliminary
                   injunction by no later than April 22, 2021. Signed by Judge Emmet G. Sullivan
                   on 4/12/2021. (lcegs3) (Entered: 04/12/2021)
04/13/2021         Set/Reset Deadlines: Plaintiffs Reply In Support of Their Motions For Class
                   Certification And Preliminary Injunction due by 4/22/2021. (mac) (Entered:
                   04/13/2021)
04/22/2021   103   Joint MOTION to Continue Holding in Abeyance Plaintiffs' Motions for Class
                   Certification and Preliminary Injunction by NORRIS COCHRAN, WILLIAM
                   A. FERRARA, TAE D. JOHNSON, ALEJANDRO MAYORKAS, TROY
                   MILLER, RODNEY S. SCOTT, ROCHELLE P. WALENSKY. (Tepe, Sean)
                   Modified on 4/23/2021 to correct event/text (zjf). (Entered: 04/22/2021)
04/22/2021   104   NOTICE of Appearance by Tamara Goodlette on behalf of All Plaintiffs
                   (Goodlette, Tamara) (Entered: 04/22/2021)
04/26/2021         MINUTE ORDER granting 103 joint motion to continue to hold in abeyance
                   Plaintiffs' Motions for Class Certification and Classwide Permanent Injunction
                   until May 3, 2021. Plaintiffs shall file their reply in support of their motions for
                   class certification and preliminary injunction on May 3, 2021. Signed by Judge
                   Emmet G. Sullivan on 4/26/2021. (lcegs3) (Entered: 04/26/2021)
04/26/2021         Set/Reset Deadlines: Plaintiffs Reply In Support Of Their Motions For Class
                   Certification And Preliminary Injunction due by 5/3/2021. (mac) (Entered:
                   04/26/2021)
05/03/2021   105   Joint MOTION to Continue Holding in Abeyance Plaintiffs' Motions for Class
                   Certification and Preliminary Injunction by NORRIS COCHRAN, WILLIAM
                   A. FERRARA, TAE D. JOHNSON, ALEJANDRO MAYORKAS, TROY
                   MILLER, RODNEY S. SCOTT, ROCHELLE P. WALENSKY. (Tepe, Sean)
                   (Entered: 05/03/2021)
05/04/2021         MINUTE ORDER granting 105 joint motion to continue to hold in abeyance
                   Plaintiffs' Motions for Class Certification and Classwide Permanent Injunction.
                   Plaintiffs shall file their reply in support of their motions for class certification
                   and preliminary injunction by no later than May 13, 2021. Signed by Judge
                   Emmet G. Sullivan on 5/4/2021. (lcegs3) (Entered: 05/04/2021)
05/05/2021         Set/Reset Deadlines: Plaintiffs Reply In Support Of Their Motions For Class
                   Certification And Preliminary Injunction due by 5/13/2021. (mac) (Entered:
                   05/05/2021)
05/13/2021   106   Joint MOTION to Continue Holding in Abeyance Plaintiffs' Motions for Class
                   Certification and Preliminary Injunction by NORRIS COCHRAN, WILLIAM
                   A. FERRARA, TAE D. JOHNSON, ALEJANDRO MAYORKAS, TROY


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                   MILLER, RODNEY S. SCOTT, ROCHELLE P. WALENSKY. (Tepe, Sean)
                   Modified on 5/14/2021 to correct docket event/text (zjf). (Entered: 05/13/2021)
05/17/2021         MINUTE ORDER granting 106 joint motion to continue to hold in abeyance
                   Plaintiffs' Motions for Class Certification and Classwide Permanent Injunction.
                   Plaintiffs shall file their reply in support of their motions for class certification
                   and preliminary injunction by no later than May 25, 2021. Signed by Judge
                   Emmet G. Sullivan on 5/17/2021. (lcegs3) (Entered: 05/17/2021)
05/18/2021         ENTERED IN ERROR....Set/Reset Deadlines: Plaintiffs Reply In Support Of
                   Their Motions For Class Certification And Preliminary Injunction due by
                   5/2/2021. (mac) (Entered: 05/18/2021)
05/18/2021         Set/Reset Deadlines: Plaintiffs Reply In Support Of Their Motions For Class
                   Certification And Preliminary Injunction due by 5/2/2021 (mac) (Entered:
                   05/18/2021)
05/25/2021   107   Joint MOTION to Continue Holding in Abeyance Plaintiffs' Motions for Class
                   Certification and Preliminary Injunction by NORRIS COCHRAN, WILLIAM
                   A. FERRARA, TAE D. JOHNSON, ALEJANDRO MAYORKAS, TROY
                   MILLER, RODNEY S. SCOTT, ROCHELLE P. WALENSKY. (Tepe, Sean)
                   Modified on 5/26/2021 to correct docket event/text (zjf). (Entered: 05/25/2021)
05/27/2021         MINUTE ORDER granting 107 joint motion to continue to hold in abeyance
                   Plaintiffs' Motions for Class Certification and Classwide Permanent Injunction.
                   Plaintiffs shall file their reply in support of their motions for class certification
                   and preliminary injunction by no later than June 8, 2021. Signed by Judge
                   Emmet G. Sullivan on 5/27/2021. (lcegs3) (Entered: 05/27/2021)
05/27/2021         Set/Reset Deadlines: Plaintiffs Reply In Support Of Their Motions For Class
                   Certification And Preliminary Injunction due by 6/8/2021. (mac) (Entered:
                   05/27/2021)
06/08/2021   108   Joint MOTION to Continue Holding in Abeyance Plaintiffs' Motions for Class
                   Certification and Preliminary Injunction by NORRIS COCHRAN, WILLIAM
                   A. FERRARA, TAE D. JOHNSON, ALEJANDRO MAYORKAS, TROY
                   MILLER, RODNEY S. SCOTT, ROCHELLE P. WALENSKY. (Tepe, Sean)
                   Modified on 6/9/2021 to correct docket event/text (zjf). (Entered: 06/08/2021)
06/09/2021         MINUTE ORDER granting 108 Joint Motion to Continue Holding in
                   Abeyance Plaintiffs' Motions for Class Certification and Preliminary
                   Injunction. Plaintiffs shall file their reply brief in support of their motions for
                   class certification and preliminary injunction by no later than June 18, 2021.
                   Signed by Judge Emmet G. Sullivan on 6/9/2021. (lcegs3) (Entered:
                   06/09/2021)
06/10/2021         Set/Reset Deadlines: Plaintiffs Reply Brief In Support Of Their Motions For
                   Class Certification And Preliminary Injunction due by 6/18/2021. (mac)
                   (Entered: 06/10/2021)
06/18/2021   109   Joint MOTION to Continue in Abeyance Plaintiffs' Motions for Class
                   Certification and Preliminary Injunction by NORRIS COCHRAN, WILLIAM
                   A. FERRARA, TAE D. JOHNSON, ALEJANDRO MAYORKAS, TROY
                   MILLER, RODNEY S. SCOTT, ROCHELLE P. WALENSKY. (Tepe, Sean)
                   Modified on 6/21/2021 to correct docket event/text (zjf). (Entered: 06/18/2021)


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06/22/2021         MINUTE ORDER granting 109 Joint Motion to Continue Holding in
                   Abeyance Plaintiffs' Motions for Class Certification and Preliminary
                   Injunction. Plaintiffs shall file their reply brief in support of their motions for
                   class certification and preliminary injunction by no later than July 2, 2021.
                   Signed by Judge Emmet G. Sullivan on 6/22/2021. (lcegs3) (Entered:
                   06/22/2021)
06/22/2021         Set/Reset Deadlines: Plaintiffs Reply Brief In Support Of Motions For Class
                   Certification And Preliminary Injunction due by 7/2/2021. (mac) (Entered:
                   06/22/2021)
07/02/2021   110   Joint MOTION to Continue Holding in Abeyance Plaintiffs' Motions for Class
                   Certification and Preliminary Injunction by WILLIAM A. FERRARA, TAE D.
                   JOHNSON, ALEJANDRO MAYORKAS, TROY MILLER, RODNEY S.
                   SCOTT, ROCHELLE P. WALENSKY, XAVIER BECERRA. (Tepe, Sean)
                   Modified on 7/6/2021 to correct docket event/text (zjf). (Entered: 07/02/2021)
07/09/2021         MINUTE ORDER granting 110 Joint Motion to Continue Holding in
                   Abeyance Plaintiffs' Motions for Class Certification and Preliminary
                   Injunction. Plaintiffs shall file their reply brief in support of their motions for
                   class certification and preliminary injunction by no later than July 16, 2021.
                   Signed by Judge Emmet G. Sullivan on 7/9/2021. (lcegs3) (Entered:
                   07/09/2021)
07/09/2021         Set/Reset Deadlines: Plaintiffs Reply Brief In Support Of Their Motions For
                   Class Certification And Preliminary Injunction due by 7/16/2021. (mac)
                   (Entered: 07/09/2021)
07/16/2021   111   Joint MOTION to Continue Holding in Abeyance Plaintiffs' Motions for Class
                   Certification and Preliminary Injunction by XAVIER BECERRA, WILLIAM
                   A. FERRARA, TAE D. JOHNSON, ALEJANDRO MAYORKAS, TROY
                   MILLER, RODNEY S. SCOTT, ROCHELLE P. WALENSKY. (Tepe, Sean)
                   Modified on 7/19/2021 to correct docket event/text (zjf). (Entered: 07/16/2021)
07/19/2021         MINUTE ORDER granting 111 Joint Motion to Continue Holding in
                   Abeyance Plaintiffs' Motions for Class Certification and Preliminary
                   Injunction. Plaintiffs shall file their reply brief in support of their motions for
                   class certification and preliminary injunction by no later than August 2, 2021.
                   Signed by Judge Emmet G. Sullivan on 7/19/2021. (lcegs1) (Entered:
                   07/19/2021)
07/19/2021         Set/Reset Deadlines: Plaintiffs Reply Brief In Support Of Their Motions For
                   Class Certification And Preliminary Injunction due by 8/2/2021. (mac)
                   (Entered: 07/19/2021)
08/02/2021   112   Joint MOTION for Briefing Schedule on Plaintiffs' Motions for Class
                   Certification and Classwide Preliminary Injunction by ALL PLAINTIFFS.
                   (Gelernt, Lee) (Entered: 08/02/2021)
08/02/2021         MINUTE ORDER. In view of 112 joint motion to reset briefing schedule, in
                   which the parties indicated that efforts "to resolve or narrow the dispute in this
                   case have reached an impasse," the parties are DIRECTED to file a joint status
                   report by no later than August 4, 2021 informing the Court whether this case
                   would benefit from referral to a magistrate judge, mediation, or any other form
                   of alternative dispute resolution that can be tailored to the needs of their case.


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                   Signed by Judge Emmet G. Sullivan on 8/2/2021. (lcegs3) (Entered:
                   08/02/2021)
08/02/2021   113   MOTION for Leave to File Supplemental Declaration by XAVIER
                   BECERRA, WILLIAM A. FERRARA, TAE D. JOHNSON, ALEJANDRO
                   MAYORKAS, TROY MILLER, RODNEY S. SCOTT, ROCHELLE P.
                   WALENSKY. (Attachments: # 1 Declaration of David Shahoulian)(Tepe,
                   Sean) (Entered: 08/02/2021)
08/02/2021   114   NOTICE NOTICE OF CDC PUBLIC HEALTH ORDER by XAVIER
                   BECERRA, WILLIAM A. FERRARA, TAE D. JOHNSON, ALEJANDRO
                   MAYORKAS, TROY MILLER, RODNEY S. SCOTT, ROCHELLE P.
                   WALENSKY (Tepe, Sean) (Entered: 08/02/2021)
08/03/2021         Set/Reset Deadlines: Joint Status Report due by 8/4/2021 (mac) (Entered:
                   08/03/2021)
08/04/2021   115   RESPONSE TO ORDER OF THE COURT re Order,, Joint Response to
                   Court's August 2, 2021 Order Concerning Further Mediation or Alternative
                   Dispute Resolution filed by XAVIER BECERRA, WILLIAM A. FERRARA,
                   TAE D. JOHNSON, ALEJANDRO MAYORKAS, TROY MILLER,
                   RODNEY S. SCOTT, ROCHELLE P. WALENSKY. (Tepe, Sean) (Entered:
                   08/04/2021)
08/05/2021         MINUTE ORDER granting nunc pro tunc 112 joint motion to reset briefing
                   schedule on Plaintiffs' motions for class certification and classwide preliminary
                   injunction. It is HEREBY ORDERED that Defendants shall file their
                   supplemental declaration in support of their combined opposition to Plaintiffs'
                   motions for class certification and classwide preliminary injunction by no later
                   than August 2, 2021; and that Plaintiffs shall file their combined reply in
                   support of those motions by no later than August 11, 2021. Signed by Judge
                   Emmet G. Sullivan on 8/5/2021. (lcegs3) (Entered: 08/05/2021)
08/05/2021         MINUTE ORDER granting 113 motion for leave to file supplemental
                   declaration. The Clerk of Court is directed to file the supplemental declaration,
                   ECF No. 113−1, as a separate docket entry. Signed by Judge Emmet G.
                   Sullivan on 8/5/2021. (lcegs3) (Entered: 08/05/2021)
08/06/2021         Set/Reset Deadlines: Defendants Supplemental Declaration In Support Of
                   Their Combined Opposition To Plaintiffs' Motions For Class Certification And
                   Classwide Preliminary Injunction due by 08/02/2021. Plaintiffs Reply In
                   Support Of Those Motions due by 08/11/2021. (mac) (Entered: 08/06/2021)
08/06/2021   116   DECLARATION of David Shahoulian re Combined Opposition (ECF No. 76 )
                   to Plaintiffs Motion for Class Certification (ECF No. 23 ) and Motion for
                   Classwide Preliminary Injunction (ECF No. 57 ). by XAVIER BECERRA,
                   NORRIS COCHRAN, WILLIAM A. FERRARA, TAE D. JOHNSON,
                   ALEJANDRO MAYORKAS, TROY MILLER, RODNEY S. SCOTT,
                   ROCHELLE P. WALENSKY. (zjf) (Entered: 08/06/2021)
08/11/2021   117   MOTION for Oral Argument by XAVIER BECERRA, WILLIAM A.
                   FERRARA, TAE D. JOHNSON, ALEJANDRO MAYORKAS, TROY
                   MILLER, RODNEY S. SCOTT, ROCHELLE P. WALENSKY re 57
                   MOTION for Preliminary Injunction (Tepe, Sean) Modified on 8/12/2021 to
                   correct docket event/text (zjf). (Entered: 08/11/2021)


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08/11/2021   118   REPLY to opposition to motion re 23 MOTION to Certify Class , 57 MOTION
                   for Preliminary Injunction filed by ALL PLAINTIFFS. (Attachments: # 1 Text
                   of Proposed Order, # 2 Exhibit Index of Exhibits, # 3 Declaration of Taylor
                   Levy, # 4 Declaration of Julia Neusner, # 5 Declaration of Jennifer K. Harbury,
                   # 6 Declaration of Erika Pinheiro, # 7 Declaration of Savitri Arvey, # 8
                   Declaration (Supplemental) of Former CDC Officials, # 9 Declaration of 32
                   Medical and Public Health Experts, # 10 Declaration (Second) of Ming
                   Cheung, # 11 Declaration of Linda Rivas, # 12 Declaration of Marisa Limn
                   Garza, # 13 Declaration of Astrid Dominguez, # 14 Declaration of Chelsea
                   Sachau, # 15 Declaration of Mdecins Sans Frontires Medical Coordinator in
                   Mexico, # 16 Declaration of Teresa Cavendish, # 17 Declaration of Kate Clark,
                   # 18 Declaration of Aaron Reichlin−Melnick, # 19 Declaration of Alan E.
                   Valdez Jurez, # 20 Declaration of Edgar Ramrez Lpez, # 21 Declaration of
                   Samuel Thomas Bishop, # 22 Declaration of Luis Alberto Lizarraga Tolentino,
                   # 23 Declaration of Cecilia Menjvar, Ph.D.)(Gelernt, Lee) (Entered:
                   08/11/2021)
08/11/2021   119   MOTION for Leave to File Reply Declarations by ALL PLAINTIFFS.
                   (Attachments: # 1 Text of Proposed Order)(Gelernt, Lee) (Entered:
                   08/11/2021)
08/16/2021   120   NOTICE of Appearance by Daniel S. Volchok on behalf of T. ALEXANDER
                   ALEINIKOFF, DEBORAH ANKER, JAMES C. HATHTAWAY, GERALD
                   L. NEUMAN (Volchok, Daniel) (Entered: 08/16/2021)
08/16/2021   121   NOTICE OF WITHDRAWAL OF APPEARANCE as to T. ALEXANDER
                   ALEINIKOFF, DEBORAH ANKER, JAMES C. HATHTAWAY, GERALD
                   L. NEUMAN. Attorney Paul R.Q. Wolfson terminated. (Wolfson, Paul)
                   (Entered: 08/16/2021)
09/13/2021         MINUTE ORDER granting 119 unopposed motion for leave to file reply
                   declarations. Signed by Judge Emmet G. Sullivan on 9/13/2021. (lcegs3)
                   (Entered: 09/13/2021)
09/16/2021   122   ORDER granting 23 Motion to Certify Class; granting 57 Motion for
                   Preliminary Injunction; denying 117 Motion for Hearing. Signed by Judge
                   Emmet G. Sullivan on 9/16/2021. (lcegs3) (Entered: 09/16/2021)
09/16/2021   123   MEMORANDUM OPINION. Signed by Judge Emmet G. Sullivan on
                   9/16/2021. (lcegs3) (Entered: 09/16/2021)
09/17/2021   124   NOTICE OF APPEAL TO DC CIRCUIT COURT as to 122 Order on Motion
                   to Certify Class, Order on Motion for Preliminary Injunction, Order on Motion
                   for Hearing, 123 Memorandum & Opinion by TAE D. JOHNSON, TROY
                   MILLER, ROCHELLE P. WALENSKY, ALEJANDRO J. MAYORKAS,
                   XAVIER BECERRA, WILLIAM A. FERRARA, RODNEY S. SCOTT. Fee
                   Status: No Fee Paid. Parties have been notified. (Attachments: # 1 Exhibit
                   District Court Order, # 2 Exhibit District Court Memorandum Opinion)(Tepe,
                   Sean) (Entered: 09/17/2021)
09/17/2021   125   Transmission of the Notice of Appeal, Order Appealed (Memorandum
                   Opinion), and Docket Sheet to US Court of Appeals. The Court of Appeals
                   docketing fee was not paid because the appeal was filed by the government re
                   124 Notice of Appeal to DC Circuit Court. (zjf) (Entered: 09/17/2021)


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09/17/2021         USCA Case Number 21−5200 for 124 Notice of Appeal to DC Circuit Court,
                   filed by XAVIER BECERRA, ALEJANDRO J. MAYORKAS, RODNEY S.
                   SCOTT, WILLIAM A. FERRARA, ROCHELLE P. WALENSKY, TAE D.
                   JOHNSON, TROY MILLER. (zjf) (Entered: 09/21/2021)
10/08/2021   126   Joint STATUS REPORT by XAVIER BECERRA, WILLIAM A. FERRARA,
                   TAE D. JOHNSON, ALEJANDRO J. MAYORKAS, TROY MILLER,
                   RODNEY S. SCOTT, ROCHELLE P. WALENSKY. (Tepe, Sean) (Entered:
                   10/08/2021)
01/24/2022   127   NOTICE OF WITHDRAWAL OF APPEARANCE as to ALL PLAINTIFFS.
                   Attorney Jamie L. Crook terminated. (Crook, Jamie) (Entered: 01/24/2022)
02/09/2022   128   NOTICE of Appearance by Melissa E. Crow on behalf of All Plaintiffs (Crow,
                   Melissa) (Entered: 02/09/2022)
02/09/2022   129   Joint STATUS REPORT by ALL PLAINTIFFS. (Gelernt, Lee) (Entered:
                   02/09/2022)
02/09/2022   130   Consent MOTION for Leave to File Amended Complaint filed by ALL
                   PLAINTIFFS. (Attachments: # 1 Proposed Second Amended Complaint, # 2
                   Redline of Proposed Second Amended Complaint, # 3 Text of Proposed Order
                   Proposed Order)(Gelernt, Lee) Modified on 2/10/2022 to correct docket
                   event/text (zjf). (Entered: 02/09/2022)
02/14/2022         MINUTE ORDER granting 130 consent motion for leave to file second
                   amended complaint. Plaintiffs' Second Amended Complaint is hereby deemed
                   filed. Signed by Judge Emmet G. Sullivan on 2/14/2022. (lcegs3) (Entered:
                   02/14/2022)
02/14/2022         MINUTE ORDER. In view of 129 joint status report, Defendants shall file on
                   the docket an index of the Administrative Record and produce the
                   Administrative Record to Plaintiffs by no later than March 18, 2022. It is
                   FURTHER ORDERED that the parties shall file a joint status report with a
                   recommendation for further proceedings by no later than March 25, 2022.
                   Signed by Judge Emmet G. Sullivan on 2/14/2022. (lcegs3) (Entered:
                   02/14/2022)
02/14/2022   131   SECOND AMENDED COMPLAINT against XAVIER BECERRA, TAE D.
                   JOHNSON, ALEJANDRO J. MAYORKAS, ROCHELLE P. WALENSKY,
                   CHRIS MAGNUS, PETE FLORES, RAUL L. ORTIZ filed by ALL
                   PLAINTIFFS.(zjf) (Entered: 02/17/2022)
02/15/2022         Set/Reset Deadlines:, Defendants Administrative Record due by 3/18/2022.
                   Joint Status Report due by 3/25/2022. (mac) (Entered: 02/15/2022)
03/18/2022   132   NOTICE Notice of Filing Certified Index of Administrative Record by
                   XAVIER BECERRA, PETE FLORES, TAE D. JOHNSON, CHRIS
                   MAGNUS, ALEJANDRO J. MAYORKAS, RAUL L. ORTIZ, ROCHELLE P.
                   WALENSKY (Tepe, Sean) (Entered: 03/18/2022)
03/25/2022   133   Joint STATUS REPORT by XAVIER BECERRA, PETE FLORES, TAE D.
                   JOHNSON, CHRIS MAGNUS, ALEJANDRO J. MAYORKAS, RAUL L.
                   ORTIZ, ROCHELLE P. WALENSKY. (Tepe, Sean) (Entered: 03/25/2022)
03/29/2022


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                   MINUTE ORDER. In view of 133 joint status report, the parties are directed to
                   file another joint status report with a recommendation for further proceedings
                   by no later than April 7, 2022. Signed by Judge Emmet G. Sullivan on
                   3/29/2022. (lcegs3) (Entered: 03/29/2022)
03/30/2022         Set/Reset Deadlines: Joint Status Report due by 4/7/2022 (mac) (Entered:
                   03/30/2022)
04/01/2022   134   NOTICE of CDC Public Health Determination and Order by XAVIER
                   BECERRA, PETE FLORES, TAE D. JOHNSON, CHRIS MAGNUS,
                   ALEJANDRO J. MAYORKAS, RAUL L. ORTIZ, ROCHELLE P.
                   WALENSKY (Tepe, Sean) (Entered: 04/01/2022)
04/07/2022   135   Joint STATUS REPORT by ALL PLAINTIFFS. (Gelernt, Lee) (Entered:
                   04/07/2022)
04/13/2022         MINUTE ORDER. In view of 135 joint status report, the parties are directed to
                   file a joint status report with a recommendation for further proceedings by no
                   later than May 27, 2022. Signed by Judge Emmet G. Sullivan on 4/13/2022.
                   (lcegs3) (Entered: 04/13/2022)
04/14/2022         Set/Reset Deadlines: Joint Status Report due by 5/27/2022. (zacr) (Entered:
                   04/14/2022)
05/25/2022   136   MANDATE of USCA as to 124 Notice of Appeal to DC Circuit Court, filed by
                   XAVIER BECERRA, ALEJANDRO J. MAYORKAS, RODNEY S. SCOTT,
                   WILLIAM A. FERRARA, ROCHELLE P. WALENSKY, TAE D. JOHNSON,
                   TROY MILLER ; USCA Case Number 21−5200. (Attachments: # 1 USCA
                   Judgment)(zjf) (Entered: 05/25/2022)
05/27/2022   137   Joint STATUS REPORT by XAVIER BECERRA, PETE FLORES, TAE D.
                   JOHNSON, CHRIS MAGNUS, ALEJANDRO J. MAYORKAS, RAUL L.
                   ORTIZ, ROCHELLE P. WALENSKY. (Tepe, Sean) (Entered: 05/27/2022)
05/31/2022         MINUTE ORDER. In view of 137 joint status report, the parties are directed to
                   file another joint status report with a recommendation for further proceedings
                   by no later than June 17, 2022. Signed by Judge Emmet G. Sullivan on
                   5/31/2022. (lcegs3) (Entered: 05/31/2022)
06/01/2022         Set/Reset Deadlines: Joint Status Report due by 6/17/2022 (mac) (Entered:
                   06/01/2022)
06/17/2022   138   Joint STATUS REPORT by ALL PLAINTIFFS. (Gelernt, Lee) (Entered:
                   06/17/2022)
06/17/2022         MINUTE ORDER. In view of 138 joint status report, the parties are directed to
                   file another joint status report with a recommendation for further proceedings
                   by no later than July 8, 2022. Signed by Judge Emmet G. Sullivan on
                   6/17/2022. (lcegs3) (Entered: 06/17/2022)
06/17/2022         Set/Reset Deadlines: Joint Status Report due by 7/8/2022. (zacr) (Entered:
                   06/17/2022)
07/08/2022   139   Joint STATUS REPORT by ALL PLAINTIFFS. (Gelernt, Lee) (Entered:
                   07/08/2022)
07/11/2022

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                   MINUTE ORDER. In view of 139 joint status report, the parties are directed to
                   file another joint status report with a recommendation for further proceedings
                   by no later than July 29, 2022. Signed by Judge Emmet G. Sullivan on
                   7/11/2022. (lcegs3) (Entered: 07/11/2022)
07/12/2022         Set/Reset Deadlines: Joint Status Report due by 7/29/2022 (zmac) (Entered:
                   07/12/2022)
07/29/2022   140   Joint STATUS REPORT by ALL PLAINTIFFS. (Gelernt, Lee) (Entered:
                   07/29/2022)
08/01/2022         MINUTE ORDER. In view of 140 joint status report, the parties are directed to
                   file another joint status report with a recommendation for further proceedings
                   by no later than August 19, 2022. Signed by Judge Emmet G. Sullivan on
                   8/1/2022. (lcegs3) (Entered: 08/01/2022)
08/02/2022         Set/Reset Deadlines: Joint Status Report due by 8/19/2022 (mac) (Entered:
                   08/02/2022)
08/10/2022   141   Second MOTION for Preliminary Injunction by ALL PLAINTIFFS.
                   (Attachments: # 1 Memorandum in Support, # 2 Declaration of Ming Cheung,
                   # 3 Text of Proposed Order)(Gelernt, Lee) (Entered: 08/10/2022)
08/10/2022   142   Joint MOTION for Briefing Schedule by XAVIER BECERRA, PETE
                   FLORES, TAE D. JOHNSON, CHRIS MAGNUS, ALEJANDRO N.
                   MAYORKAS, RAUL L. ORTIZ, ROCHELLE P. WALENSKY.
                   (Attachments: # 1 Text of Proposed Order)(Tepe, Sean) (Entered: 08/10/2022)
08/11/2022   143   NOTICE of Appearance by Jean Lin on behalf of All Defendants (Lin, Jean)
                   (Entered: 08/11/2022)
08/11/2022         MINUTE ORDER. In view of 141 second motion for preliminary injunction, a
                   status conference is hereby set for August 12, 2022 at 1:30 p.m. via video
                   teleconference. The parties shall be prepared to discuss whether the Court
                   should consolidate the second motion for preliminary injunction with a
                   determination on the merits pursuant to Federal Rule of Civil Procedure
                   65(a)(2). See Fed. R. Civ. P. 65(a)(2) ("Before or after beginning the hearing
                   on a motion for a preliminary injunction, the court may advance the trial on the
                   merits and consolidate it with the hearing."). The parties shall contact Mr.
                   Mark Coates, the Courtroom Deputy Clerk, for the dial−in information. Signed
                   by Judge Emmet G. Sullivan on 8/11/2022. (lcegs3) (Entered: 08/11/2022)
08/12/2022         Set/Reset Hearings: Status Conference set for 8/12/2022 at 1:30 PM in
                   Telephonic/VTC before Judge Emmet G. Sullivan. (mac) (Entered:
                   08/12/2022)
08/12/2022         Minute Entry for proceedings held Via VTC before Judge Emmet G. Sullivan:
                   Status Conference held on 8/12/2022. Parties Updated The Court In Regards
                   To The Current Posture Of This Matter. Motion Hearing set for 10/11/2022 at
                   11:00 AM in Telephonic/VTC before Judge Emmet G. Sullivan. Order
                   Forthcoming. (Court Reporter LISA BANKINS.) (mac) (Entered: 08/12/2022)
08/12/2022         MINUTE ORDER. In view of the discussion at the August 12, 2022 status
                   conference and Plaintiffs' request to convert the 141 second motion for
                   preliminary injunction to a motion for partial summary judgment, the Court
                   shall consolidate the second motion for preliminary injunction with a

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                   determination on the merits with regard to the issue of whether the Title 42
                   policy is arbitrary and capricious under the Administrative Procedure Act.
                   Accordingly, the second motion for preliminary injunction is hereby
                   WITHDRAWN without prejudice. It is FURTHER ORDERED that the parties
                   shall abide by the following schedule: (1) Plaintiffs shall file their motion for
                   partial summary judgment by no later than August 15, 2022; (2) Defendants
                   shall file their response to Plaintiffs' motion by no later than August 31, 2022;
                   (3) Plaintiffs shall file their reply by no later than September 14, 2022; and (4)
                   Plaintiffs shall file the appendix of the relevant administrative record by no
                   later than September 20, 2022 (or six days after the reply is filed, whichever is
                   earlier). Defendants shall send record designations at least three days prior. It is
                   FURTHER ORDERED that a motion hearing shall take place on October 11,
                   2022 at 11:00 a.m. via video teleconference. The parties shall contact Mr. Mark
                   Coates, the Courtroom Deputy Clerk, for the dial−in information. It is
                   FURTHER ORDERED that the August 1, 2022 Minute Order directing that the
                   parties file a Joint Status Report by August 19, 2022 is VACATED. Signed by
                   Judge Emmet G. Sullivan on 8/12/2022. (lcegs3) (Entered: 08/12/2022)
08/15/2022   144   MOTION for Partial Summary Judgment by ALL PLAINTIFFS.
                   (Attachments: # 1 Memorandum in Support of Plaintiffs' Motion for Partial
                   Summary Judgment, # 2 Text of Proposed Order, # 3 Declaration of Ming
                   Cheung)(Gelernt, Lee) (Entered: 08/15/2022)
08/18/2022         Set/Reset Deadlines: Plaintiffs Motion For Partial Summary Judgment due by
                   08/15/2022. Defendants Response To Plaintiffs' Motion due by 08/31/2022.
                   Plaintiffs Reply due by 09/14/2022. Plaintiffs Appendix Of The Relevant
                   Administrative Record due by 09/20/2022. (mac) (Entered: 08/18/2022)
08/31/2022   145   NOTICE of Appearance by Jonathan D. Kossak on behalf of All Defendants
                   (Kossak, Jonathan) (Entered: 08/31/2022)
08/31/2022   146   NOTICE of Appearance by John Robinson on behalf of All Defendants
                   (Robinson, John) (Entered: 08/31/2022)
08/31/2022   147   Memorandum in opposition to re 144 Motion for Partial Summary Judgment
                   filed by XAVIER BECERRA, PETE FLORES, TAE D. JOHNSON, CHRIS
                   MAGNUS, ALEJANDRO N. MAYORKAS, RAUL L. ORTIZ, ROCHELLE
                   P. WALENSKY. (Attachments: # 1 Text of Proposed Order)(Robinson, John)
                   (Entered: 08/31/2022)
09/14/2022   148   ENTERED IN ERROR.....SEALED MOTION FOR LEAVE TO FILE
                   DOCUMENT UNDER SEAL filed by ALL PLAINTIFFS (This document is
                   SEALED and only available to authorized persons.) (Attachments: # 1
                   Memorandum in Support of Motion for Partial Summary Judgment)(Gelernt,
                   Lee) Modified on 9/15/2022 counsel refiled at entry 149 (zjm). (Entered:
                   09/14/2022)
09/14/2022   149   SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL
                   filed by ALL PLAINTIFFS (This document is SEALED and only available to
                   authorized persons.) (Attachments: # 1 Memorandum in Support Reply in
                   Support of Summary Judgment)(Gelernt, Lee) (Entered: 09/14/2022)
09/14/2022   150   REPLY to opposition to motion Redacted Reply in Support of Summary
                   Judgment re 144 Motion for Partial Summary Judgment filed by ALL
                   PLAINTIFFS. (Gelernt, Lee) Modified on 9/16/2022 to add docket relationship

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                   (zed). (Entered: 09/14/2022)
09/16/2022   151   SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL
                   filed by ALL PLAINTIFFS (This document is SEALED and only available to
                   authorized persons.) (Attachments: # 1 Memorandum in Support of Classwide
                   Preliminary Injunction, # 2 Memorandum in Support of Summary
                   Judgment)(Gelernt, Lee) (Entered: 09/16/2022)
09/16/2022   152   Second MOTION for Preliminary Injunction by ALL PLAINTIFFS.
                   (Attachments: # 1 Memorandum in Support of Classwide Preliminary
                   Injunction (Re−filed and Redacted), # 2 Declaration of Ming Cheung, # 3 Text
                   of Proposed Order)(Gelernt, Lee) (Entered: 09/16/2022)
09/16/2022   153   MOTION for Partial Summary Judgment by ALL PLAINTIFFS.
                   (Attachments: # 1 Memorandum in Support of Partial Summary Judgment
                   (Re−filed and Redacted), # 2 Declaration of Ming Cheung, # 3 Text of
                   Proposed Order)(Gelernt, Lee) (Entered: 09/16/2022)
09/20/2022   154   JOINT APPENDIX by ALL PLAINTIFFS. (Gelernt, Lee) (Entered:
                   09/20/2022)
09/20/2022   155   SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL
                   filed by ALL PLAINTIFFS (This document is SEALED and only available to
                   authorized persons.) (Attachments: # 1 Appendix of Relevant Administrative
                   Record)(Gelernt, Lee) (Entered: 09/20/2022)
09/20/2022   156   NOTICE Notice of Filing Certified Index of Amended Administrative Record
                   by XAVIER BECERRA, PETE FLORES, TAE D. JOHNSON, CHRIS
                   MAGNUS, ALEJANDRO N. MAYORKAS, RAUL L. ORTIZ, ROCHELLE
                   P. WALENSKY (Tepe, Sean) (Entered: 09/20/2022)
09/22/2022   157   MOTION for Leave to File Surreply by XAVIER BECERRA, PETE FLORES,
                   TAE D. JOHNSON, CHRIS MAGNUS, ALEJANDRO N. MAYORKAS,
                   RAUL L. ORTIZ, ROCHELLE P. WALENSKY. (Attachments: # 1 Exhibit A
                   Proposed Surreply, # 2 Exhibit B Proposed order)(Robinson, John) (Entered:
                   09/22/2022)
09/23/2022   158   NOTICE OF WITHDRAWAL OF APPEARANCE as to INTERNATIONAL
                   REFUGEE ASSISTANCE PROJECT. Attorney Kathryn S. Austin terminated.
                   (Austin, Kathryn) (Entered: 09/23/2022)
09/28/2022         MINUTE ORDER granting 157 Defendants' motion for leave to file surreply.
                   It is FURTHER ORDERED that Plaintiffs shall file any brief in response to the
                   surreply by no later than September 30, 2022. Signed by Judge Emmet G.
                   Sullivan on 9/28/2022. (lcegs3) (Entered: 09/28/2022)
09/28/2022         MINUTE ORDER granting 149 Plaintiffs' consent motion for leave to file
                   under seal the unredacted reply in support of motion for partial summary
                   judgment. However, given the strong presumption in favor of public access to
                   judicial records, see, e.g., Nixon v. Warner Commc'ns, Inc., 435 U.S. 589, 597
                   (1978) ("It is clear that the courts of this country recognize a general right to
                   inspect and copy public records and documents, including judicial records and
                   documents."), and the ease with which confidential and proprietary information
                   may be redacted from documents before they are filed publicly, Plaintiffs are
                   directed to file a redacted version of its sealed document on the public record


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                   within five business days of this Order. Plaintiffs are cautioned that redactions
                   shall be made solely to the extent necessary to preserve the confidential or
                   proprietary nature of the relevant information. Signed by Judge Emmet G.
                   Sullivan on 9/28/2022. (lcegs3) (Entered: 09/28/2022)
09/28/2022         MINUTE ORDER granting 151 Plaintiffs' consent motion for leave to file
                   briefs under seal. However, given the strong presumption in favor of public
                   access to judicial records, see, e.g., Nixon v. Warner Commc'ns, Inc., 435 U.S.
                   589, 597 (1978) ("It is clear that the courts of this country recognize a general
                   right to inspect and copy public records and documents, including judicial
                   records and documents."), and the ease with which confidential and proprietary
                   information may be redacted from documents before they are filed publicly,
                   Plaintiffs are directed to file a redacted version of its sealed documents on the
                   public record within five business days of this Order. Plaintiffs are cautioned
                   that redactions shall be made solely to the extent necessary to preserve the
                   confidential or proprietary nature of the relevant information. Signed by Judge
                   Emmet G. Sullivan on 9/28/2022. (lcegs3) (Entered: 09/28/2022)
09/28/2022         MINUTE ORDER granting 155 Plaintiffs' consent motion for leave to file
                   under seal protected portions of the administrative record. Signed by Judge
                   Emmet G. Sullivan on 9/28/2022. (lcegs3) (Entered: 09/28/2022)
09/28/2022         Set/Reset Deadlines: Plaintiff's Response To The Surreply due by 9/30/2022
                   (mac) (Entered: 09/28/2022)
09/28/2022         Set/Reset Deadlines: Redacted Version Of Sealed Documents due by
                   10/5/2022. (mac) (Entered: 09/28/2022)
09/28/2022   160   SURREPLY to 153 MOTION for Partial Summary Judgment filed by
                   XAVIER BECERRA, PETE FLORES, TAE D. JOHNSON, CHRIS
                   MAGNUS, ALEJANDRO N. MAYORKAS, RAUL L. ORTIZ, ROCHELLE
                   P. WALENSKY. (ztth) (Entered: 09/30/2022)
09/28/2022   161   SEALED REPLY TO OPPOSITION filed by ALL PLAINTIFFS re 153
                   Motion for Partial Summary Judgment (This document is SEALED and only
                   available to authorized persons.) (ztth) (Entered: 09/30/2022)
09/28/2022   162   SEALED DOCUMENT filed by ALL PLAINTIFFS. re 152 Second MOTION
                   for Preliminary Injunction filed by ALL PLAINTIFFS. (This document is
                   SEALED and only available to authorized persons.) (ztth) (Entered:
                   09/30/2022)
09/28/2022   163   SEALED DOCUMENT filed by ALL PLAINTIFFS re 153 MOTION for
                   Partial Summary Judgment filed by ALL PLAINTIFFS. (This document is
                   SEALED and only available to authorized persons.)(ztth) (Entered:
                   09/30/2022)
09/29/2022   159   RESPONSE re 157 MOTION for Leave to File Surreply Sur−surreply in
                   Support of Plaintiffs' Motion for Partial Summary Judgment filed by ALL
                   PLAINTIFFS. (Gelernt, Lee) (Entered: 09/29/2022)
10/05/2022         MINUTE ORDER. The Court has determined that a motion hearing is
                   unnecessary for the resolution of the pending motion(s). Accordingly, the
                   Court HEREBY CANCELS the motion hearing scheduled for October 11,
                   2022. Signed by Judge Emmet G. Sullivan on 10/5/2022. (lcegs3) (Entered:


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                   10/05/2022)
11/15/2022   164   ORDER granting 144 Motion for Partial Summary Judgment. Signed by Judge
                   Emmet G. Sullivan on 11/15/2022. (lcegs1) (Entered: 11/15/2022)
11/15/2022   165   MEMORANDUM OPINION. Signed by Judge Emmet G. Sullivan on
                   11/15/2022. (lcegs1) (Entered: 11/15/2022)
11/15/2022   166   Unopposed MOTION to Stay re 165 Memorandum & Opinion, 164 Order on
                   Motion for Partial Summary Judgment (Emergency Motion) by XAVIER
                   BECERRA, PETE FLORES, TAE D. JOHNSON, CHRIS MAGNUS,
                   ALEJANDRO N. MAYORKAS, RAUL L. ORTIZ, ROCHELLE P.
                   WALENSKY. (Attachments: # 1 Text of Proposed Order)(Robinson, John)
                   (Entered: 11/15/2022)
11/16/2022         MINUTE ORDER granting 166 Unopposed Emergency Motion for Temporary
                   Stay of the Court's November 15, 2022 Order ("Emergency Mot."). The
                   government states that "[t]he requested temporary stay... is not for the
                   pendency of appeal but rather for only a temporary period." Emergency Mot.,
                   ECF No. 166 at 3. The government further states that "DHS requires a short
                   period of time to prepare for the transition from Title 42 to Title 8 processing,
                   given the need to resolve resource and logistical issues that it was unable to
                   address in advance without knowing precisely when currently operative August
                   2021 Title 42 order would end. Cf. 87 Fed. Reg. at 19,95456 (setting effective
                   date of Termination Order for 52 days from date of issuance to, among other
                   things, provide DHS with additional time to ready operational plans). During
                   this period of time, DHS will need to move additional resources to the border
                   and coordinate with stakeholders, including non−governmental organizations
                   and state and local governments, to help prepare for the transition to Title 8
                   processing. This transition period is critical to ensuring that DHS can continue
                   to carry out its mission to secure the Nation's borders and to conduct its border
                   operations in an orderly fashion. See, e.g., AARP v. EEOC, 292 F. Supp. 3d
                   238, 241 (D.D.C. 2017) (staying effective date of vacatur order for about one
                   year to avoid the potential for disruption); NAACP v. Trump, 298 F. Supp. 3d
                   209, 24445 (D.D.C. 2018) (staying vacatur order for 90 days to avoid
                   disruption)." Id. Plaintiffs do not oppose the motion. Pursuant to Federal Rules
                   of Civil Procedure 59 and 60, the Court's inherent authority, and in view of the
                   lack of opposition by Plaintiffs, the government's representation that the
                   request for a temporary stay is not for the pendency of appeal, but rather to
                   enable the government to make preparations to implement the Court's Order,
                   the Court, WITH GREAT RELUCTANCE, grants the request. The Court's
                   November 15, 2022 Order is stayed for five weeks, from November 15, 2022
                   to December 20, 2022. The Order will take effect at midnight on December 21,
                   2022. Signed by Judge Emmet G. Sullivan on 11/16/2022. (lcegs1) (Entered:
                   11/16/2022)
11/21/2022   167   Unopposed MOTION for Entry of Final Judgment (Partial), Unopposed
                   MOTION to Stay Proceedings by XAVIER BECERRA, PETE FLORES, TAE
                   D. JOHNSON, CHRIS MAGNUS, ALEJANDRO N. MAYORKAS, RAUL L.
                   ORTIZ, ROCHELLE P. WALENSKY. (Attachments: # 1 Text of Proposed
                   Order)(Robinson, John) (Entered: 11/21/2022)
11/21/2022   168   MOTION to Intervene by States of Arizona, Louisiana, Alabama, Alaska,
                   Kansas, Kentucky, Mississippi, Nebraska, Ohio, Oklahoma, South Carolina,

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                   Texas, Virginia, West Virginia, and Wyoming. (Attachments: # 1 Affidavit St
                   John Declaration, # 2 Exhibit St John Decl. Ex 1, # 3 Exhibit St John Decl. Ex
                   2, # 4 Exhibit St John Decl. Ex 3A, # 5 Exhibit St John Decl. Ex 3B, # 6
                   Exhibit St John Decl. Ex 3C, # 7 Exhibit St John Decl. Ex 3D, # 8 Exhibit St
                   John Decl. Ex 4, # 9 Exhibit St John Decl. Ex 5, # 10 Exhibit St John Decl. Ex
                   6, # 11 Exhibit St John Decl. Ex 7, # 12 Exhibit St John Decl. Ex 8, # 13
                   Exhibit St John Decl. Ex 9, # 14 Exhibit St John Decl. Ex 10)(Ensign, Drew)
                   (Entered: 11/21/2022)
11/21/2022   169   Unopposed MOTION to Expedite by States of Arizona, Louisiana, Alabama,
                   Alaska, Kansas, Kentucky, Mississippi, Nebraska, Ohio, Oklahoma, South
                   Carolina, Texas, Virginia, West Virginia, and Wyoming. (Ensign, Drew)
                   (Entered: 11/21/2022)
11/22/2022   170   ORDER granting 167 Motion for Entry of Final Judgment; granting 167
                   Motion to Stay. Signed by Judge Emmet G. Sullivan on 11/22/2022. (lcegs1)
                   (Entered: 11/22/2022)
11/22/2022         MINUTE ORDER granting 169 Proposed Intervenor States' Emergency
                   Motion for Expedited Briefing and Consideration of their Motion to Intervene
                   and for a Stay Pending Appeal. Plaintiffs and Defendants shall respond by no
                   later than November 29, 2022 at 8:00 pm EST. Proposed Intervenors shall
                   reply by no later than December 2, 2022 at 12:00 pm. Signed by Judge Emmet
                   G. Sullivan on 11/22/2022. (lcegs1) (Entered: 11/22/2022)
11/22/2022         Set/Reset Deadlines: Joint Status Report due by 1/21/2023 (mac) (Entered:
                   11/22/2022)
11/22/2022         Set/Reset Deadlines: Plaintiffs And Defendants Response due no later than
                   8:00PM on 11/29/2022. Proposed Intervenors Reply due no later than 12:00PM
                   on 12/2/2022. (mac) (Entered: 11/22/2022)
11/25/2022   171   Unopposed MOTION for Joinder re 168 MOTION to Intervene by STATE OF
                   MONTANA. (Smithgall, Kathleen) (Entered: 11/25/2022)
11/25/2022   172   NOTICE of Appearance by Melissa A. Holyoak on behalf of STATE OF
                   UTAH (Holyoak, Melissa) (Entered: 11/25/2022)
11/25/2022   173   MOTION for Joinder re 168 MOTION to Intervene by the States of Utah,
                   Missouri, and Tennessee by STATE OF UTAH. (Holyoak, Melissa) (Entered:
                   11/25/2022)
11/29/2022         MINUTE ORDER granting 171 Unopposed Motion for Joinder. Signed by
                   Judge Emmet G. Sullivan on 11/29/2022. (lcegs1) (Entered: 11/29/2022)
11/29/2022         MINUTE ORDER denying 173 Motion for Joinder. Movant has failed to
                   comply with the duty to confer, see LCvR 7(m); and has failed to attach a
                   proposed order, see LCvR 7(c). Signed by Judge Emmet G. Sullivan on
                   11/29/2022. (lcegs1) (Entered: 11/29/2022)
11/29/2022   174   Memorandum in opposition to re 168 Motion to Intervene,, filed by XAVIER
                   BECERRA, PETE FLORES, TAE D. JOHNSON, CHRIS MAGNUS,
                   ALEJANDRO N. MAYORKAS, RAUL L. ORTIZ, ROCHELLE P.
                   WALENSKY. (Attachments: # 1 Text of Proposed Order)(Robinson, John)
                   (Entered: 11/29/2022)


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11/29/2022   175   Memorandum in opposition to re 168 Motion to Intervene,, filed by ALL
                   PLAINTIFFS. (Attachments: # 1 Text of Proposed Order)(Gelernt, Lee)
                   (Entered: 11/29/2022)
11/29/2022   176   Unopposed MOTION for Joinder re 168 MOTION to Intervene by STATE OF
                   MISSOURI, STATE OF TENNESSEE, STATE OF UTAH. (Holyoak,
                   Melissa) (Entered: 11/29/2022)
11/30/2022         MINUTE ORDER granting 176 Motion for Joinder. Signed by Judge Emmet
                   G. Sullivan on 11/30/2022. (lcegs1) (Entered: 11/30/2022)
12/02/2022   177   REPLY to opposition to motion re 168 MOTION to Intervene filed by STATE
                   OF ALABAMA, STATE OF ALASKA, STATE OF ARIZONA, STATE OF
                   KANSAS, STATE OF KENTUCKY, STATE OF LOUISIANA, STATE OF
                   MISSISSIPPI, STATE OF MISSOURI, STATE OF MONTANA, STATE OF
                   NEBRASKA, STATE OF OHIO, STATE OF OKLAHOMA, STATE OF
                   SOUTH CAROLINA, STATE OF TENNESSEE, STATE OF TEXAS,
                   STATE OF UTAH, STATE OF VIRGINIA, STATE OF WEST VIRGINIA,
                   STATE OF WYOMING. (Ensign, Drew) (Entered: 12/02/2022)
12/02/2022   178   NOTICE Regarding Timing of Decision Whether to Appeal by XAVIER
                   BECERRA, PETE FLORES, TAE D. JOHNSON, CHRIS MAGNUS,
                   ALEJANDRO N. MAYORKAS, RAUL L. ORTIZ, ROCHELLE P.
                   WALENSKY (Robinson, John) (Entered: 12/02/2022)
12/07/2022   179   NOTICE Regarding Decision to Appeal the Court's November 15, 2022 Order
                   and November 22, 2022 Final Judgment by XAVIER BECERRA, PETE
                   FLORES, TAE D. JOHNSON, CHRIS MAGNUS, ALEJANDRO N.
                   MAYORKAS, RAUL L. ORTIZ (Robinson, John) (Entered: 12/07/2022)
12/07/2022   180   NOTICE OF APPEAL TO DC CIRCUIT COURT as to 165 Memorandum &
                   Opinion, 164 Order on Motion for Partial Summary Judgment, 170 Order on
                   Motion for Entry of Final Judgment, Order on Motion to Stay by CHRIS
                   MAGNUS, TAE D. JOHNSON, PETE FLORES, ROCHELLE P.
                   WALENSKY, ALEJANDRO N. MAYORKAS, XAVIER BECERRA, RAUL
                   L. ORTIZ. Fee Status: No Fee Paid. Parties have been notified. (Robinson,
                   John) (Entered: 12/07/2022)
12/08/2022         MINUTE ORDER. In view of 179 Notice, proposed intervenors shall file a
                   supplementary memorandum by no later than December 12, 2022. The parties
                   shall file a response, if any, by no later than December 16, 2022. Signed by
                   Judge Emmet G. Sullivan on 12/8/2022. (lcegs1) (Entered: 12/08/2022)




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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



 NANCY GIMENA HUISHA-HUISHA, on
 behalf of herself and others similarly situated,

                     Plaintiffs,

         v.                                                       Civ. A. No. 21-100 (EGS)

 ALEJANDRO MAYORKAS, Secretary of
 Homeland Security, et al.,

                     Defendants.


                                       NOTICE OF APPEAL
       PLEASE TAKE NOTICE that Defendants hereby appeal to the United States Court of

Appeals for the District of Columbia Circuit from this Court’s November 15, 2022 Memorandum

Opinion and Order (ECF Nos. 164 & 165) and November 22, 2022 Final Judgment (ECF No. 170).


 Dated: December 7, 2022                            Respectfully submitted,

 MATTHEW M. GRAVES, D.C. Bar. #481052               BRIAN M. BOYNTON
 United States Attorney                             Principal Deputy Assistant Attorney General

 BRIAN P. HUDAK                                     JEAN LIN
 Chief, Civil Division                              Special Litigation Counsel, NY Bar #4074530
                                                    Federal Programs Branch
 SEAN M. TEPE, DC Bar #1001323
 Assistant United States Attorney                   /s/ John Robinson
 601 D Street, N.W.                                 JOHN ROBINSON, DC Bar #1044072
 Washington, D.C. 20530                             Trial Attorney
 Phone: (202) 252-2533                              U.S. Department of Justice
 Email: sean.tepe@usdoj.gov                         Civil Division, Federal Programs Branch
                                                    1100 L Street N.W.
                                                    Washington, DC 20530
                                                    Tel (202) 616-8489
                                                    Email: john.robinson@usdoj.gov

                                                    Counsel for Defendants




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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


 NANCY GIMENA HUISHA-HUISHA, et
 al.,

                    Plaintiffs,

 v.                                       Civ. Action No. 21-100(EGS)


 ALEJANDRO MAYORKAS, in his
 official capacity as Secretary
 of Homeland Security, et al.,

                    Defendants.


                                    ORDER

      For the reasons stated in the accompanying Memorandum

Opinion, it is hereby

      ORDERED that Plaintiffs’ Motion for Partial Summary

Judgment, ECF No. 144, is GRANTED. The Court vacates and sets

aside the Title 42 policy—consisting of the regulation at 42

C.F.R. § 71.40 and all orders and decision memos issued by the

Centers for Disease Control and Prevention or the U.S.

Department of Health and Human Services suspending the right to

introduce certain persons into the United States; and declares

the Title 42 policy to be arbitrary and capricious in violation

of the Administrative Procedure Act and permanently enjoins

Defendants and their agents from applying the Title 42 policy

with respect to Plaintiff Class Members; and it is further


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     ORDERED that any request to stay this Order pending appeal

will be denied for the reasons stated in the accompanying

Memorandum Opinion.

     SO ORDERED.

Signed:   Emmet G. Sullivan
          United States District Judge
          November 15, 2022




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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


    NANCY GIMENA HUISHA-HUISHA, et
    al.,

                       Plaintiffs,

    v.                                        Civil Action No. 21-100 (EGS)

    ALEJANDRO MAYORKAS, in his
    official capacity, Secretary,
    Department of Homeland
    Security, et al.,

                       Defendants.

                                MEMORANDUM OPINION

         Plaintiffs—a group of asylum-seeking families who fled to

the United States—bring this lawsuit against Alejandro Mayorkas,

in his official capacity as Secretary of Homeland Security, and

various other federal government officials (“Defendants” or the

“government”) for violations of the Administrative Procedure Act

(“APA”), 5 U.S.C. § 701, et seq.; the Immigration and

Nationality Act (“INA”), 8 U.S.C. § 1101, et seq.; and the

Foreign Affairs Reform and Restructuring Act of 1998 (“FARRA”),

8 U.S.C. § 1231 note; and the Public Health Service Act of 1944,

42 U.S.C § 201, et seq. See generally Second Am. Compl., ECF No.

131. 1 Pending before the Court is Plaintiffs’ Motion for Partial



1 When citing electronic filings throughout this Memorandum
Opinion, the Court cites to the ECF page number, not the page
number of the filed document.
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Summary Judgment. 2 See Mot. Partial Summ. J., ECF No. 144. Upon

consideration of the motion, the responses and replies thereto,

the applicable law, the entire record, and for the reasons

stated below, the Court GRANTS Plaintiffs’ motion.

I.   Background

        A. Factual Background

     Since 1893, federal law has provided federal officials with

the authority to stem the spread of contagious diseases from

foreign countries by prohibiting, “in whole or in part, the

introduction of persons and property from such countries.” Act

of February 15, 1893, ch. 114, § 7, 27 Stat. 449, 452 (“1893

Act”). Under current law:

           Whenever the Surgeon General determines that
           by reason of the existence of any communicable
           disease in a foreign country there is serious
           danger of the introduction of such disease
           into the United States, and that this danger
           is so increased by the introduction of persons
           or   property  from   such   country   that  a
           suspension of the right to introduce such
           persons and property is required in the
           interest of the public health, the Surgeon
           General,   in  accordance   with   regulations
           approved by the President, shall have the
           power to prohibit, in whole or in part, the
           introduction of persons and property from such
           countries or places as he shall designate in

2 On August 12, 2022, the Court converted Plaintiffs’ second
motion for preliminary injunction to a motion for partial
summary judgment, and consolidated the second motion for
preliminary injunction with a determination on the merits with
regard to the issue of whether the Title 42 policy is arbitrary
and capricious under the Administrative Procedure Act (“APA”).
See Fed. R. Civ. P. 65(a)(2).
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          order to avert such danger, and for such
          period of time as he may deem necessary for
          such purpose.

42 U.S.C. § 265 (“Section 265”). In 1966, the Surgeon General’s

Section 265 authority was transferred to the Department of

Health and Human Services (“HHS”), which in turn delegated this

authority to the Centers for Disease Control and Prevention

(“CDC”) Director. See P.J.E.S. v. Wolf, 502 F. Supp. 3d 492, 503

(D.D.C. 2020); 31 Fed. Reg. 8855 (June 25, 1966), 80 Stat. 1610

(1966).

     On March 20, 2020, as the COVID-19 virus spread globally,

HHS issued an interim final rule pursuant to Section 265 that

aimed to “provide[] a procedure for CDC to suspend the

introduction of persons from designated countries or places, if

required, in the interest of public health.” Interim Final Rule,

Control of Communicable Diseases; Foreign Quarantine: Suspension

of Introduction of Persons Into United States From Designated

Foreign Countries or Places for Public Health Purposes, 85 Fed.

Reg. 16559-01, 2020 WL 1330968, (March 24, 2020) (“Interim Final

Rule”). Pursuant to the Interim Final Rule, the CDC Director

could “suspend the introduction of persons into the United

States.” Id. at 16563. The Interim Final Rule stated, in

relevant part:

          (1) Introduction into the United States of
          persons from a foreign country (or one or more
          political subdivisions or regions thereof) or

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          place means the movement of a person from a
          foreign country (or one or more political
          subdivisions or regions thereof) or place, or
          series of foreign countries or places, into
          the United States so as to bring the person
          into contact with persons in the United
          States, or so as to cause the contamination of
          property in the United States, in a manner
          that the Director determines to present a risk
          of transmission of a communicable disease to
          persons or property, even if the communicable
          disease    has   already    been   introduced,
          transmitted, or is spreading within the United
          States;

          (2) Serious danger of the introduction of such
          communicable disease into the United States
          means the potential for introduction of
          vectors of the communicable disease into the
          United States, even if persons or property in
          the United States are already infected or
          contaminated with the communicable disease;
          and

          (3) The term “Place” includes any location
          specified by the Director, including any
          carrier, as that term is defined in 42 CFR
          71.1, whatever the carrier’s nationality.

Id. at 16566-67.

     The CDC’s interim rule went into effect immediately. Id. at

16565. The CDC explained that, pursuant to 5 U.S.C. 553(b)(3)(B)

of the APA, HHS had concluded that there was “good cause” to

dispense with prior notice and comment. Id. Specifically, the

CDC stated that “[g]iven the national emergency caused by COVID-

19, it would be impracticable and contrary to the public health—

and, by extension, the public interest—to delay these

implementing regulations until a full public notice-and-comment

process is completed.” Id.
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     Pursuant to the Interim Final Rule, the CDC Director issued

an order suspending for 30 days the introduction of “covered

aliens,” which he defined as “persons traveling from Canada or

Mexico (regardless of their country of origin) who would

otherwise be introduced into a congregate setting in a land Port

of Entry [(“POE”)] or Border Patrol station at or near the

United States borders with Canada and Mexico.” Notice of Order

Under Sections 362 and 365 of the Public Health Service Act

Suspending Introduction of Certain Persons From Countries Where

a Communicable Disease Exists, 85 Fed. Reg. 17060-02, 17061,

2020 WL 1445906 (March 26, 2020) (“March 2020 Order”). The March

2020 Order declared that “[i]t is necessary for the public

health to immediately suspend the introduction of covered

aliens” and “require[d] the movement of all such aliens to the

country from which they entered the United States, or their

country of origin, or another location as practicable, as

rapidly as possible.” Id. at 17067. The CDC Director then

“requested that [the Department of Homeland Security (“DHS”)]

implement th[e] [March 2020 Order] because CDC does not have the

capability, resources, or personnel needed to do so.” Id. The

CDC Director also noted that U.S. Customs and Border Protection

(“CBP”), a federal law enforcement agency of DHS, had already

“developed an operational plan for implementing the order.” Id.



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      Soon thereafter, the CBP issued a memorandum on April 2,

2020 establishing its procedures for implementing the March 2020

Order. See Ex. E to Cheung Decl. (“CAPIO Memo”), ECF No. 57-5 at

15. The CAPIO Memo instructed that agents may determine whether

individuals are subject to the CDC’s order “[b]ased on training,

experience, physical observation, technology, questioning and

other considerations.” CAPIO Memo, ECF No. 57-5 at 15. If an

individual was determined to be subject to the order, they were

to be “transported to the nearest POE and immediately returned

to Mexico or Canada, depending on their point of transit.” Id.

at 17. Those who are “not amenable to immediate expulsion to

Mexico or Canada, will be transported to a dedicated facility

for limited holding prior to expulsion” to their home country.

Id.

      On April 22, 2020, the March 2020 Order was extended for an

additional 30 days. See Extension of Order Under Sections 362

and 365 of the Public Health Service Act; Order Suspending

Introduction of Certain Persons From Countries Where a

Communicable Disease Exists, 85 Fed. Reg. 22424-01, 2020 WL

1923282 (April 22, 2020) (“April 2020 Order”). The order was

then extended again on May 20, 2020 until such time that the CDC

Director “determine[s] that the danger of further introduction

of COVID-19 into the United States has ceased to be a serious

danger to the public health.” Amendment and Extension of Order

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Under Sections 362 and 365 of the Public Health Service Act;

Order Suspending Introduction of Certain Persons From Countries

Where a Communicable Disease Exists, 85 Fed. Reg. 31503-02,

31504, 2020 WL 2619696 (May 26, 2020) (“May 2020 Order”).

     On September 11, 2020, the CDC published the final rule.

See Control of Communicable Diseases; Foreign Quarantine:

Suspension of the Right To Introduce and Prohibition of

Introduction of Persons Into United States From Designated

Foreign Countries or Places for Public Health Purposes, 85 Fed.

Reg. 56424-01, 2020 WL 5439721, (Sept. 11, 2020) (Effective

October 13, 2020) (“Final Rule”). The Final Rule “defin[ed] the

phrase to ‘[p]rohibit, in whole or in part, the introduction

into the United States of persons’ to mean ‘to prevent the

introduction of persons into the United States by suspending any

right to introduce into the United States, physically stopping

or restricting movement into the United States, or physically

expelling from the United States some or all of the persons.’”

Id. at 56445. The CDC Director then replaced the March, April,

and May 2020 Orders with a new order on October 13, 2020. Order

Suspending the Right To Introduce Certain Persons From Countries

Where a Quarantinable Communicable Disease Exists, 85 Fed. Reg.

65806, 65808 (Oct. 16, 2020) (“October 2020 Order”).

     In February 2021, the President ordered the HHS Secretary

and the CDC Director, in consultation with the DHS Secretary, to

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“promptly review and determine whether termination, rescission,

or modification of the [October order and the September

regulation] is necessary and appropriate.” Exec. Order No.

14,010, § 4(ii)(A), 86 Fed. Reg. 8267, 8269 (Feb. 2, 2021). On

August 2, 2021, the CDC issued the order at issue in this case,

“Public Health Assessment and Order Suspending the Right to

Introduce Certain Persons from Countries Where a Quarantinable

Communicable Disease Exists,” which replaced and superseded the

October 2020 Order. Public Health Reassessment and Order

Suspending the Right to Introduce Certain Persons from Countries

Where a Quarantinable Communicable Disease Exists, 86 Fed. Reg.

42828 (“August 2021 Order”). The August 2021 Order stated that

“CDC has determined that an Order under 42 U.S.C. § 265 remains

necessary to protect U.S. citizens, U.S. nationals, lawful

permanent residents, personnel and noncitizens at the ports of

entry (POE) and U.S. Border Patrol stations, and destination

communities in the United States during the COVID-19 public

health emergency.” Id. at 42829-30. The August 2021 Order

continued to prohibit the introduction of “covered noncitizens”—

which is defined to include “family units”—into the United

States along the U.S. land and adjacent coastal borders. Id. at

7. The Court refers to the process developed by the CDC and

implemented by the August 2021 Order as the “Title 42 policy.”



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     On April 1, 2022, the CDC terminated the August 2021 Order,

with an implementation date of May 23, 2022. Public Health

Determination and Order Regarding Suspending the Right To

Introduce Certain Persons From Countries Where a Quarantinable

Communicable Disease Exists, 87 Fed. Reg. 19941, 19942. CDC

explained that “[w]hile earlier phases of the pandemic required

extraordinary actions by the government and society at large,”

“epidemiologic data, scientific knowledge, and the availability

of public health mitigation measures, vaccines, and therapeutics

have permitted the country to safely transition to more normal

routines.” Id. The agency explained that “although COVID-19

remains a concern, the readily available and less burdensome

public health mitigation tools to combat the disease render a

[Title 42 order] . . . unnecessary.” Id. at 19953. In view of

the changed circumstances, CDC stated that “the previously

identified public health risk is no longer commensurate with the

extraordinary measures instituted by the CDC Orders.” Id.

       B. Procedural History

     Plaintiffs filed this action on January 12, 2021. See

Compl., ECF No. 1. Plaintiffs filed a motion for class

certification on January 28, 2021, see Mot. Certify Class, ECF

No. 23; and they filed a motion for preliminary injunction on

February 5, 2021, see Mot. Prelim. Inj., ECF No. 57. On

September 16, 2021, the Court granted both motions. See Huisha-

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Huisha, 560 F. Supp. 3d at 155. The Court certified Plaintiffs’

class and preliminarily enjoined Defendants from expelling

Plaintiffs pursuant to the Title 42 policy. Id. In granting the

preliminary injunction, the Court concluded that Plaintiffs were

likely to succeed on the merits of their claim that Section 265

did not authorize deportations, that Plaintiffs would face grave

harm if they were expelled without the opportunity to seek

humanitarian relief, and that the balance of the equities and

public interest favored an injunction. Id. at 167, 172, 174.

     Defendants appealed the Court’s decision, and the United

States Court of Appeals for the District of Columbia Circuit

(“D.C. Circuit”) affirmed the preliminary injunction in part.

Huisha-Huisha, 27 F.4th at 735. The circuit court held that,

pursuant to Section 265, “the Executive can expel the Plaintiffs

from the country,” but “it cannot expel them to places where

they will be persecuted or tortured.” Id. at 722. Moreover, the

D.C. Circuit agreed with this Court’s findings that Plaintiffs

have established they will suffer irreparable harm absent a

preliminary injunction and that the balance of the equities

favored their request. Id. at 733.

     Although the CDC terminated the August 2021 Order one month

after the D.C. Circuit’s decision, see 87 Fed. Reg. at 19,942;

on May 20, 2022, the termination order was preliminarily

enjoined in a separate litigation in the United States District

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Court for the Western District of Louisiana on the ground that

the order violated the APA’s notice-and-comment requirements,

see Louisiana v. CDC, No. 22-cv-885, 2022 WL 1604901 (W.D. La.

May 20, 2022). The government appealed the decision but did not

seek to undertake notice and comment regarding the termination

order.

     Plaintiffs filed a second motion for preliminary injunction

on August 10, 2022. See Pls.’ Second Mot. Prelim. Inj., ECF No.

141. On August 12, 2022, the Court issued a Minute Order

converting the second motion for preliminary injunction to a

motion for partial summary judgment and consolidating the second

motion for preliminary injunction with a determination on the

merits with regard to the issue of whether the Title 42 policy

is arbitrary and capricious under the APA. Min. Order (Aug. 12,

2022). The Court considered the second motion for preliminary

injunction to be withdrawn without prejudice. Id. In view of the

Court’s Minute Order, Plaintiffs filed a motion for partial

summary judgment on August 15, 2022, see Pls.’ Mot., ECF No.

144; Defendants filed their opposition on August 31, 2022, see

Defs.’ Opp’n, ECF No. 147; and Plaintiffs filed their reply on

September 14, 2022, see Pls.’ Reply, ECF No. 149-1. The Court

granted Defendants’ motion for leave to file a surreply on

September 22, 2022, and further ordered Plaintiffs to file their

response to the surreply on September 30, 2022. See Defs.’

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Surreply, ECF No. 160; Pls.’ Response, ECF No. 159. The motion

is ripe for adjudication.

II.   Legal Standards

         A. Administrative Procedure Act

      The APA establishes a “basic presumption of judicial review

[for] one ‘suffering legal wrong because of agency action.’”

Abbott Laboratories v. Gardner, 387 U.S. 136, 140 (1967)

(quoting 5 U.S.C. § 702). That presumption can be rebutted by a

showing that the relevant statute “preclude[s]” review, §

701(a)(1); or that the “agency action is committed to agency

discretion by law,” 5 U.S.C. § 701(a)(2). “The former applies

when Congress has expressed an intent to preclude judicial

review.” Heckler v. Chaney, 470 U.S. 821, 830 (1985). The latter

applies: (1) “in those rare instances where statutes are drawn

in such broad terms that in a given case there is no law to

apply,” Citizens to Preserve Overton Park, Inc. v. Volpe, 401

U.S. 402, 410 (1971); and (2) when “the statute is drawn so that

a court would have no meaningful standard against which to judge

the agency’s exercise of discretion,” Heckler, 470 U.S. at 830.

“Agency actions in these circumstances are unreviewable because

the courts have no legal norms pursuant to which to evaluate the

challenged action, and thus no concrete limitations to impose on

the agency’s exercise of discretion.” Sierra Club v. Jackson,

648 F.3d 848, 855 (D.C. Cir. 2011) (citation omitted).

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     If reviewable, courts consider “both the nature of the

administrative action at issue and the language and structure of

the statute that supplies the applicable legal standards for

reviewing that action” in determining whether an action is

committed to agency discretion. Sec. of Labor v. Twentymile Coal

Co., 456 F.3d 151, 156 (D.C. Cir. 2006) (citation omitted).

However, Section 701(a)(2) “provides a ‘very narrow exception’

that applies only in ‘rare instances.’” Cody v. Cox, 509 F.3d

606, 610 (D.C. Cir. 2007) (quoting Citizens to Preserve Overton

Park, Inc. v. Volpe, 401 U.S. 402, 410 (1971)). Courts “begin

with the strong presumption that Congress intends judicial

review of administrative action[] unless there is persuasive

reason to believe that such was the purpose of Congress.” Ramah

Navajo School Bd., Inc. v. Babbitt, 87 F.3d 1338, 1343–44 (D.C.

Cir. 1996) (citations omitted).

       B. Summary Judgment

     Plaintiffs seek review of an administrative decision under

the APA. Therefore, the standard articulated in Federal Rule of

Civil Procedure 56 is inapplicable because the Court has a more

limited role in reviewing the administrative record. Wilhelmus

v. Geren, 796 F. Supp. 2d 157, 160 (D.D.C. 2011) (internal

citation omitted). “[T]he function of the district court is to

determine whether or not as a matter of law the evidence in the

administrative record permitted the agency to make the decision

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 it did.” See Sierra Club v. Mainella, 459 F. Supp. 2d 76, 90

 (D.D.C. 2006)(internal quotation marks and citations omitted).

 “Summary judgment thus serves as the mechanism for deciding, as

 a matter of law, whether the agency action is supported by the

 administrative record and otherwise consistent with the APA

 standard of review.” Wilhelmus, 796 F. Supp. 2d at 160 (internal

 citation omitted).

III.   Analysis

       Plaintiffs argue that the Title 42 Process is arbitrary and

 capricious because: (1) the CDC failed to apply the “least

 restrictive means” standard when authorizing the policy; (2) the

 policy does not rationally serve its stated purpose in view of

 the alternatives; and (3) the CDC failed to consider the harm

 the policy would inflict on impacted individuals. Pls.’ Mot.,

 ECF No. 144-1 at 10-11. For the reasons below, the Court

 concludes that summary judgment is appropriate for Plaintiffs.

          A. Plaintiffs’ Claim Is Reviewable

       Defendants contend that Plaintiffs’ claim is exempted from

 judicial review under the APA because the decision to “issue,

 modify, or terminate a Title 42 order” is committed to the CDC’s

 discretion by law, and Title 42 “is drawn so that a court would

 have no meaningful standard against which to judge the agency’s

 exercise of discretion.” Defs.’ Opp’n, ECF No. 147 at 17 (citing

 5 U.S.C. § 701(a)(2); Lincoln v. Vigil, 508 U.S. 182, 191-93

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(1993)). The Court, however, concludes that Defendants have not

overcome the “strong presumption of reviewability” under the

APA. Steenholdt v. FAA, 314 F.3d 633, 638 (D.C. Cir. 2003)

(citing Abbott Labs. v. Gardner, 387 U.S. 136, 140 (1967)).

     First, the Title 42 Process “does not fall into one of the

narrow categories that usually satisfies the strictures of

subsection 701(a)(2).” Cody v. Cox, 509 F.3d 606, 610 (D.C. Cir.

2007) (citing Lincoln, 508 U.S. at 191-92). This case does not

involve “second-guessing executive branch decision[s] involving

complicated foreign policy matters,” id. (quoting Legal

Assistance for Vietnamese Asylum Seekers v. Dep’t of State, 104

F.3d 1349, 1353 (D.C. Cir. 1997)); “an agency’s refusal to

undertake an enforcement action,” id. (citing Heckler v. Chaney,

470 U.S. 821, 831 (1985)); or a “determination about how to

spend a lump-sum appropriation,” id. (citing Lincoln, 508 U.S.

at 192).

     Second, and contrary to Defendants’ assertion, the fact

that CDC’s determination under Section 265 may “involve[] a

complicated balancing of a number of factors which are

peculiarly within the agency’s expertise,” Defs.’ Opp’n, ECF No.

147 at 18; does not on its own compel the conclusion that such

decisions are unreviewable, see, e.g., Louisiana v. CDC, No.

6:22-cv-00885, 2022 WL 1604901, at *17 (W.D. La. May 20, 2022)

(holding that CDC’s decision to terminate its prior Title 42

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orders was subject to judicial review); Texas v. Biden, No.

4:21-cv-0579-P, 2022 WL 658579, at *11–12 (N.D. Tex. Mar. 4,

2022) (finding CDC’s July 2021 and August 2021 orders were not

committed to agency discretion); Health Freedom Def. Fund, Inc.

v. Biden, No. 8:21-cv-1693-KKM-AEP, 2022 WL 1134138, at *18–20

(M.D. Fla. Apr. 18, 2022) (reviewing CDC regulation mandating

mask usage in certain locations during COVID-19 pandemic);

Florida v. Becerra, 544 F. Supp. 3d 1241, 1292-94 (M.D. Fla.

2021) (reviewing CDC’s “no-sail orders” that halted the cruise

industry’s operation from March 2020 through October 2020). As

Plaintiffs point out, “nearly every agency decision involves a

balancing of factors, and frequently involve highly technical

issues, so Defendants’ rule would essentially gut the APA’s

strong presumption favoring review.” Pls.’ Reply, ECF No. 149-1

at 9. Indeed, the D.C. Circuit rejected a similar argument in

Cody v. Cox, 509 F.3d 606 (D.C. Cir. 2007). In Cody, the circuit

court addressed whether a provision requiring an agency

retirement home to provide “high quality and cost-effective”

health care was reviewable under the APA. 509 F.3d at 610. The

D.C. Circuit concluded that although the statute gave the agency

“broad discretion in administering care” and “‘high quality and

cost-effective’ health care is a tricky standard for a court to

apply,” the provisions at issue did not commit decisions to

agency discretion by law. Id.

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     Moreover, Defendants cite no case law supporting their

contention that an agency’s public health decisions are outside

the judiciary’s purview. Rather, Defendants point to a line of

cases standing for the proposition that courts typically grant

agencies deference when reviewing their public health

determinations. See Defs.’ Opp’n, ECF No. 147 at 18-19. However,

whether an agency is given deference is a different issue from

whether an agency’s decision is reviewable in the first

instance, and none of the cases Defendants cite involve the

application of Section 701(a)(2). See FDA v. Am. Coll. Of

Obstetricians & Gynecologists, 141 S. Ct. 578, 579 (2021)

(Roberts, C.J., concurring in grant of stay application)

(stating that the question before the court was “whether the

District Court properly ordered the FDA to lift [certain]

established requirements because of the court’s own evaluation

of the impact of the COVID–19 pandemic”); S. Bay United

Pentecostal Church v. Newsom, 140 S. Ct. 1613, 1613 (2020)

(Roberts, C.J., concurring) (finding that it was

“improbable” that California’s restrictions on social gatherings

during the pandemic were unconstitutional, where party sought

emergency relief in an interlocutory posture); Marshall v.

United States, 414 U.S. 417, 427 (1974) (considering

“petitioner’s claim that the provisions of Title II of the

Narcotic Addict Rehabilitation Act of 1966 . . . deny due

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process and equal protection by excluding from discretionary

rehabilitative commitment, in lieu of penal incarceration,

addicts with two or more prior felony convictions”); Jacobson v.

Massachusetts, 197 U.S. 11, 30 (1905) (reviewing

constitutionality of state provisions relating to vaccination).

     Third, the Court also disagrees that Section 265 “is drawn

so that a court would have no meaningful standard against which

to judge the agency’s exercise of discretion.” Defs.’ Opp’n, ECF

No. 147 at 19. Section 265 mandates that, whenever the CDC

Director determines that there is a “serious danger of the

introduction” of a “communicable” disease into the country, the

CDC “shall have the power to prohibit, in whole or in part, the

introduction of persons and property from such countries or

places as he shall designate in order to avert such danger, and

for such period of time as he may deem necessary for such

purpose” and when “required in the interest of public health.”

42 U.S.C. § 265 (emphasis added); see also 87 Fed. Reg. 19941,

19955 (Apr. 2022 Order) (“[T]his authority extends only for such

period of time deemed necessary to avert the serious danger of the

introduction of a quarantinable communicable disease into the

United States.”). Despite the use of the words “may” and “deem” in

the statute, the D.C. Circuit has “regularly found Congress has not

committed decisions to agency discretion under far more permissive

and indeterminate language.” Cody, 509 F.3d at 610-11 (citing


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Dickson v. Sec’y of Def., 68 F.3d 1396 (D.C. Cir. 1995)

(reviewing provision stating that agency “may” take an action if

it finds it to be “in the interest of justice”); see also

Marshall Cty. Health Care Auth. v. Shalala, 988 F.2d 1221, 1224

(D.C. Cir. 1993) (“[T]he government, in our view, puts too much

emphasis on the word ‘deem.’”). The statute, therefore, “limit[s]

the agency’s discretion in discrete ways.” Sierra Club v. U.S. Fish

& Wildlife Serv., 930 F. Supp. 2d 198, 209 (D.D.C. 2013).

     As the D.C. Circuit has explained, “[t]he mere fact that a

statute grants broad discretion to an agency does not render the

agency’s decisions completely nonreviewable under the ‘committed

to agency discretion by law’ exception unless the statutory

scheme, taken together with other relevant materials, provides

absolutely no guidance as to how that discretion is to be

exercised.” Robbins v. Reagan, 780 F.2d 37 (D.C. Cir. 1985)

(emphasis added) (“[G]iven the fact that the statute limits the

uses for which the funds can be used, we see no barrier to our

assessing whether the agency’s decision was based on factors

that are relevant to this goal.”). Because Section 265 provides

meaningful standards against which to examine agency action,

Plaintiffs’ claim is reviewable.




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       B. The Title 42 Process Is Arbitrary and Capricious

                1. Defendants Failed to Apply the Least Restrictive
                   Means Standard

     The D.C. Circuit has explained that “[r]easoned decision-

making requires that when departing from precedents or

practices, an agency must ‘offer a reason to distinguish them or

explain its apparent rejection of their approach.’” Physicians

for Social Responsibility v. Wheeler, 956 F.3d 634, 644 (D.C.

Cir. 2020) (quoting Sw. Airlines Co. v. FERC, 926 F.3d 851, 856

(D.C. Cir. 2019)). Not “every agency action representing a

policy change must be justified by reasons more substantial than

those required to adopt a policy in the first instance.” Grace

v. Barr, 965 F.3d 883, 900 (D.C. Cir. 2020) (quoting FCC v. Fox

Television Stations, Inc., 556 U.S. 502, 514 (2009)). However,

the agency may not “gloss[] over or swerve[] from prior

precedents without discussion.” Id. (quoting Sw. Airlines, 926

F.3d at 856).

     Plaintiffs argue that the Title 42 Process is arbitrary and

capricious because the CDC (1) failed to impose the “least

restrictive means necessary to prevent the spread of disease”

when implementing the policy and (2) failed to explain its

departure from this “settled practice.” Pls.’ Mot., ECF No. 144-

1 at 11-12. According to Plaintiffs, CDC had previously

“clarif[ied]” this standard in Control of Communicable Diseases,



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82 Fed. Reg. 6890, 6912 (Jan. 19, 2017) (“2017 Final Rule”).

Pls.’ Reply, ECF No. 149-1 at 14 (quoting 82 Fed. Reg. 6890,

6912). The 2017 Final Rule amended CDC regulations “governing

its domestic (interstate) and foreign quarantine regulations”

following the “largest outbreak of Ebola virus disease . . . on

record” and the “outbreak of Middle East Respiratory Syndrome

(MERS).” 82 Fed. Reg. at 6890-91. The rule was intended to

“enhance HHS/CDC’s ability to prevent the introduction,

transmission, and spread of communicable diseases into the

United States and interstate by clarifying and providing greater

transparency regarding its response capabilities and practices.”

Id. Among other things, the 2017 Final Rule “clarif[ied]” that

“in all situations involving quarantine, isolation, or other

public health measures, it seeks to use the least restrictive

means necessary to prevent spread of disease.” Id. at 6912.

     Defendants, however, dispute that CDC’s Title 42 orders are

subject to the “least restrictive means” standard. In

Defendants’ view, the 2017 Final Rule provided that the standard

applies solely in the context of quarantine and isolation, and

only with regard to measures implemented “under this [2017]

Final Rule.” Defs.’ Opp’n, ECF No. 147 at 28 (quoting 82 Fed.

Reg. at 6890). The Court disagrees with Defendants.

     First, the Court is not convinced that the Title 42 orders

do not fall into the category of a “quarantine, isolation, or

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other public health measures,” as contemplated by the 2017 Final

Rule. The August 2021 Order, after all, specifically concerns

“quarantinable communicable diseases,” discusses the feasibility

of quarantine or isolation of individuals, and lists 42 U.S.C. §

268 as its legal authority, which in turn sets out the

“[q]uarantine duties of consular and other officers.” 86 Fed.

Reg. at 42838; 42 U.S.C. § 268; see also id. § 268(b) (“It shall

be the duty of the customs officers and of Coast Guard officers

to aid in the enforcement of quarantine rules and

regulations.”). Moreover, Dr. Anne Schuchat, the former CDC

principal deputy director in 2020, testified before the House of

Representatives that some in the agency did not believe that the

agency’s adoption of the March 2020 Order was appropriately

“based on criteria for quarantine.” 3 Ex. A to Cheung Decl., ECF

No. 144-3 at 7 (emphasis added). She further testified that “the

typical issue is, the least restrictive means possible to

protect public health is when you exert a quarantine order


3 The Court considers Dr. Schuchat’s extra-record testimony to
evaluate the existence of a “least restrictive means” standard
with respect to public health measures generally. See, e.g.,
Hispanic Affairs Project v. Acosta, 901 F.3d 378, 386 n.4 (D.C.
Cir. 2018) (“The district court struck many of the Project’s
declarations because they were outside of the administrative
record considered by the Labor Department in promulgating its
2015 Rule. But as relevant here, the Project employs the
declarations for the distinct and permissible purpose of proving
that the Department of Homeland Security has a practice or
policy of routinely extending H-2A visa status for three years.”
(internal citation omitted)).
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versus other measures. And the bulk of the evidence at that time

did not support this policy proposal.” Id.

     Even the examples the 2017 Final Rule provided of measures

requiring the “least restrictive means” test did not include

quarantine or isolation as their primary recommendations.

Rather, the 2017 Final Rule stated:

          HHS/CDC agrees and clarifies that in all
          situations involving quarantine, isolation,
          or other public health measures, it seeks to
          use the least restrictive means necessary to
          prevent    spread   of    disease.    Regarding
          quarantine, as an example, during the 2014-
          2016 Ebola epidemic, HHS/CDC recommended
          monitoring of potentially exposed individuals
          rather than quarantine. Most of these people
          were free to travel and move about the
          community, as long as they maintained daily
          contact with their health department. For some
          individuals with higher levels of exposure,
          HHS/CDC   recommended    enhanced    monitoring
          (involving direct observation) and, in some
          cases restrictions on travel and being in
          crowded   places,   but   did   not   recommend
          quarantine.   HHS/CDC   has   the   option   of
          “conditional release” as a less restrictive
          alternative to issuance of an order of
          quarantine or isolation.

82 Fed. Reg. at 6912. The August 2021 Order similarly considered

the availability of facilities for isolation and quarantine

before determining it was not a feasible option. See e.g., 86

Fed. Reg. at 42836 (stating that releasing family units to

communities required, among other things, quarantine facilities,

but that such facilities would not be available for all

individuals). And significantly, the CDC applied the “least

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restrictive means” standard in the April 2022 Order terminating

the Title 42 policy, stating that the agency had “determined

that less restrictive means are available to avert the public

health risks associated with the introduction, transmission, and

spread of COVID-19 into the United States.” 87 Fed. Reg. at

19955 (emphasis added); see also 87 Fed. Reg. at 15252

(rescinding Title 42 policy as to unaccompanied children and

explaining “CDC is committed to using the least restrictive

means necessary and avoiding the imposition of unnecessary

burdens in exercising its communicable disease authorities.”).

     Further, whether the specific goals of the 2017 Final Rule

does not preclude a finding that the agency’s practice was to

apply the “least restrictive means” test more broadly. After

all, the 2017 Final Rule did not state that it was applying the

“least restrictive means” test for the first time; instead, the

CDC explained that the intent behind the rule was “to clarify

the agency’s standard operating procedures and policies.” 82

Fed. Reg. at 6931. For example, in noting that the agency had

“received several comments requesting the ‘least restrictive’

means with respect to quarantine and isolation,” the CDC not

only clarified that it used the “least restrictive means” with

respect to those two specific contexts, but also “agree[d] and

clarifie[d]” that the agency sought to use that standard “in all

situations involving quarantine, isolation, or other public

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measures.” 82 Fed. Reg. at 6912 (emphasis added). Defendants’

contention that the “least restrictive” standard applies only to

U.S. citizens similarly fails because the CDC has clarified that

it “appl[ies] communicable disease control and prevention

measures uniformly to all individuals in the United States,

regardless of citizenship, religion, race, or country of

residency.” 89 Fed. Reg. at 6894 (emphasis added).

     Finally, Defendants point to other CDC regulations

governing mask mandates and pre-departure COVID-19 testing

requirements as examples of measures CDC implemented without

applying the standard at issue. 4 Defs.’ Opp’n, ECF No. 147 at 28-

29 (citing 86 Fed. Reg. 69256 (Dec. 7, 2021); 86 Fed. Reg. 8025

(Feb. 3, 2021); 85 Fed. Reg. 86933 (Dec. 31, 2020)). Defendants

argue that these examples demonstrate that “CDC routinely

implements [public health] measures without regard” to the

standard. Id. However, the Court agrees with Plaintiffs that

“masking or testing are among the least restrictive COVID-19

measures available,” and, by contrast, “Title 42 expulsions are,

in the CDC’s own view, ‘among the most restrictive measures CDC

has undertaken’ against COVID-19.’” Pls.’ Reply, ECF No. 149-1




4 Defendants also cite to “regulations governing medical
examinations of certain noncitizens seeking to enter the United
States.” Defs.’ Opp’n, ECF No. 147 at 28-29. This regulation,
however, was implemented prior to the 2017 Final Rule’s policy
clarification.
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at 15-16 (quoting 87 Fed. Reg. at 19951). Moreover, the CDC has

applied the standard to more comparable public health measures,

such as those regarding the introduction of persons into the

country during the Ebola virus outbreak. See Control of

Communicable Diseases, 82 Fed. Reg. 6890, 6896 (stating that

“HHS/CDC used the best available science and risk assessment

procedures . . . and principles of least restrictive means to

successfully ensure that measures to ban travel between the

United States and the affected countries were unnecessary”

during Ebola outbreak).

     Defendants argue, however, that “[i]n any event, CDC’s

August 2021 order ultimately was in fact the least restrictive

means available to prevent the further introduction of COVID-19

into the United States at the borders at the time it was

issued.” Defs.’ Opp’n, ECF No. 147 at 29. They contend that

“while CDC may not have expressly used the term ‘least

restrictive means,’ the substance of CDC’s August order makes

clear that CDC did, in practice, issue an order that was in fact

the least restrictive means available to protect the country

from further introduction, transmission, and spread of COVID-

19.” Id. at 30. However, a plain reading of the August 2021

Order does not indicate that the CDC instituted the “least

restricted means available,” and a discussion of potential



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mitigation measures does not necessarily mean that the least

burdensome measures were selected.

     The Court therefore concludes that the August 2021 Order is

arbitrary and capricious due to CDC’s “failure to acknowledge

and explain its departure from past practice.” Grace, 965 F.3d

at 903. (finding that agency’s “failure to acknowledge the

change in policy is especially egregious given its potential

consequences for asylum seekers”).

              2. Defendants Failed to Consider the Consequences
                 of Suspending Immigration to Covered Noncitizens

     Plaintiffs further argue that the Title 42 orders are

arbitrary and capricious because the CDC failed to consider the

harms to migrants subject to expulsion. Pls.’ Mot., ECF No. 144-

1 at 26. Defendants, in opposition, argue that the CDC was not

required to consider the harms to noncitizens because “neither

the statute nor the implementing regulation calls for the CDC

Director to engage in any such balancing of harms.” Defs.’

Opp’n, ECF No. 147 at 41-42. The “sole inquiry,” in Defendants’

view, is whether a Title 42 order “is required in the interest

of the public health.” Id. at 42.

     As an initial matter, consideration of the negative impacts

that the measures would have on migrants was required by the

least restrictive means standard. See, e.g., 82 Fed. Reg. at

6896 (weighing the necessity of measures to ban travel to the


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United States against the “dramatic negative implications for

travelers and industry”).

     Moreover, and as set forth above, the APA requires that

agencies engage in “reasoned decisionmaking.” Dep’t of Homeland

Sec. v. Regents of the Univ. of Calif., 140 S. Ct. 1891, 1913

(2020). “Under this narrow standard of review, a court is not to

substitute its judgment for that of the agency, but instead to

assess only whether the decision was based on a consideration of

the relevant factors and whether there has been a clear error of

judgment.” Id. at 1905 (2020) (internal quotation marks omitted)

(citation omitted). “That task involves examining the reasons

for agency decisions—or, as the case may be, the absence of such

reasons.” Judulang v. Holder, 565 U.S. 42, 53 (2011). Here, the

consequences of suspending immigration proceedings for all

covered noncitizens was a “relevant factor,” or an “important

aspect of the problem,” that CDC should have considered. Motor

Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins., 463 U.S. 29,

43 (1983).

     And contrary to Defendants’ argument, the factors that an

agency must consider are not limited to those that are expressly

mentioned within a statute or regulation. For example, the

Supreme Court in Department of Homeland Security v. Regents of

the University of California, 140 S. Ct. 18981 (2020), held that

the agency was required to consider any reliance interests prior

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to terminating Deferred Action for Childhood Arrivals, despite

the lack of statute or regulation mandating that the agency do

so. See Regents, 140 S. Ct. at 1914-15 (considering whether

agency appropriately addressed whether there was “legitimate

reliance” on DACA program prior to rescission).

     Although Defendants are correct that Section 265 is

concerned with preventing the introduction of communicable

disease into the United States, the means of prevention is just

as relevant. It is unreasonable for the CDC to assume that it

can ignore the consequences of any actions it chooses to take in

the pursuit of fulfilling its goals, particularly when those

actions included the extraordinary decision to suspend the

codified procedural and substantive rights of noncitizens

seeking safe harbor. See Huisha-Huisha, 27 F.4th at 724-25

(describing the “procedural and substantive rights” of aliens,

such as asylum seekers, “to resist expulsion”); cf. Regents, 140

S. Ct. at 1914-15 (holding that agency should have considered

the effect rescission of DACA would have on the program’s

recipients prior to the agency making its decision). As

Defendants concede, “a Title 42 order involving persons will

always have consequences for migrants,” Defs.’ Opp’n, ECF No.

147 at 42, and numerous public comments during the Title 42

policy rulemaking informed CDC that implementation of its orders

would likely expel migrants to locations with a “high

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probability” of “persecution, torture, violent assaults, or

rape.” See Pls.’ Mot., ECF No. 144-1 at 27; see also id. at 27-

28 (listing groups subject to expulsion under Title 42,

including “survivors of domestic violence and their children,

who have endured years of abuse”; “survivors of sexual assault

and rape, who are at risk of being stalked, attacked, or

murdered by their persecutors in Mexico or elsewhere”; and

“LGBTQ+ individuals from countries where their gender identity

or sexual orientation is criminalized or for whom expulsion to

Mexico or elsewhere makes them prime targets for persecution”

(citing AR, ECF No. 154 at 28-29, 47, 153) (cleaned up)). It is

undisputed that the impact on migrants was indeed dire. See,

e.g., Huisha-Huisha, 27 F.4th at 734 (finding Plaintiffs would

suffer irreparable harm if expelled to places where they would

be persecuted or tortured).

     The CDC “has considerable flexibility in carrying out its

responsibility,” Regents, 140 S. Ct. at 1914, and the Court is

mindful that it “is not to substitute its judgment for that of

the agency,” FCC v. Fox Television Stations, Inc., 556 U.S. 502,

513 (2009). But regardless of the CDC’s conclusion, its decision

to ignore the harm that could be caused by issuing its Title 42

orders was arbitrary and capricious.




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               3. The Title 42 Policy Failed to Adequately
                  Consider Alternatives

     Plaintiffs also argue that the Title 42 policy is arbitrary

and capricious because CDC failed to adequately consider

alternatives and the policy did not rationally serve its stated

purpose. See Pls.’ Mot., ECF No. 144-1 at 10-11.

     First, Plaintiffs contend that “CDC failed to adequately

consider other ‘alternative way[s] of achieving [its] objective’

that were raised by commenters and were available from the very

beginning—namely self-quarantine and outdoor processing.” Pls.’

Mot., ECF No. 144-1 at 21.

     With regard to self-quarantine measures, the Court

disagrees. The record shows that commenters informed CDC that

the “vast majority (approximately 92%) of migrants have family

or friends already in the United States,” and proposed that

covered noncitizens could self-quarantine or self-isolate in

these homes or in the shelters of community and faith-based

organizations. Pls.’ Mot., ECF No. 144-1 at 21. In responding to

this proposed alternative, CDC stated that even if it “were to

assume that many covered aliens have family or close friends in

the United States,” the commenters had not provided evidence

that the “family or close friends had personal residences and,

if so, whether they would make them available as self-quarantine

or self-isolation locations.” 85 Fed. Reg. at 56452. Nor did the


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commenters “look at whether residences were suitable for self-

quarantine or self-isolation in compliance with HHS/CDC

guidelines.” Id. CDC “maintain[ed] that its implementation of a

self-quarantine or self-isolation protocol for covered aliens

would consume undue HHS/CDC and CBP resources without averting

the serious danger of the introduction of COVID-19 into CBP

facilities” and that “[e]xpulsion is a more effective public

health measure for CBP facilities that preserves finite HHS/CDC

resources for other public health operations.” Id. Thus, based

on the record evidence, it appears that CDC considered the

possibility of permitting self-quarantining, but ultimately

concluded that lack of resources made it impractical.

     However, Defendants failed to consider another “obvious and

less drastic alternative” and give a reasoned explanation for

its rejection of the alternative. Yakima Valley Cablevision,

Inc. v. FCC, 794 F.2d 737, 746 n.36 (D.C. Cir. 1986); see also

Spirit Airlines, Inc. v. U.S. Dep’t of Transp., 997 F.3d 1247,

1255 (D.C. Cir. 2021). In the August 2021 Order, the CDC noted

the risk of spreading COVID-19 to others “when people are in

close contact with one another . . . , especially in crowded or

poorly ventilated indoor settings.” 86 Fed. Reg. at 42832. Due

to this risk, the CDC indicated that processing under Title 42

presented a safer alternative to processing under Title 8

because “processing an individual for expulsion under the CDC

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order takes roughly 15 minutes and generally happens outdoors.”

Id. at 42836. However, the August 2021 Order makes no mention of

whether Title 8 processing could also take place outdoors, as

suggested by at least one commenter as a less drastic measure to

expulsion. See generally id.; AR, ECF No. 154 at 9; Pls.’ Mot.,

ECF No. 144-1 at 20-21. And although Defendants state in their

opposition brief that “[o]utdoor processing . . . was

unavailable in August 2021,” they do so without citation to the

record. Defs.’ Opp’n, ECF No. 147 at 33. It is well-established

that courts “look only to what the agency said at the time of

the [action]—not to its lawyers’ post-hoc rationalizations,”

Grace, 965 F.3d at 903 (quoting Good Fortune Shipping SA v.

Comm’r of Internal Revenue Serv., 897 F.3d 256, 263 (D.C. Cir.

2018)). Because Defendants’ explanation “falls well short of

what is needed to demonstrate the agency grappled with an

important aspect of the problem before it considered another

reasonable path forward,” Spirit Airlines, 997 F.3d at 1255;

CDC’s failure to consider such an important alternative is

arbitrary and capricious, see, e.g., Yakima Valley, 794 F.2d at

746 n.36 (noting that “[t]he failure of an agency to consider

obvious alternatives has led uniformly to reversal”); Allied

Local & Reg’l Mfrs. Caucus v. EPA, 215 F.3d 61, 80 (D.C. Cir.

2000) (“To be regarded as rational, an agency must . . .



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consider significant alternatives to the course it ultimately

chooses”).

     Next, Plaintiffs argue that “Defendants could have

instituted testing, vaccination, and quarantine protocols,

rather than continuing to authorize expulsions.” Pls.’ Mot., ECF

No. 144-1 at 17. Defendants dispute Plaintiffs’ contention,

arguing that CDC had determined that “[o]n-site COVID-19 testing

for noncitizens at CBP holding facilities [was] very limited,”

off-site testing would harm community healthcare facilities, and

“vaccination programs [were] not available at th[at] time.”

Defs.’ Opp’n, ECF No. 147 at 32-33.

     “Agencies ‘have an obligation to deal with newly acquired

evidence in some reasonable fashion,’ . . . [and] to ‘reexamine’

their approaches ‘if a significant factual predicate changes.’”

Portland Cement Ass’n v. EPA, 665 F.3d 177, 187 (D.C. Cir. 2011)

(quoting Catawba Cty. v. EPA, 571 F.3d 20, 45 (D.C. Cir. 2009);

Bechtel v. FCC, 957 F.2d 873, 881 (D.C. Cir. 1992)). Moreover,

an agency’s statements “must be one of ‘reasoning’; it must not

be just a ‘conclusion’; it must ‘articulate a satisfactory

explanation’ for its action.” Butte Cty. v. Hogen, 613 F.3d 190,

194 (D.C. Cir. 2010) (quoting Tourus Records, Inc. v. DEA, 259

F.3d 731, 737 (D.C. Cir. 2001)).

     Here, the March 2020 Order listed the lack of vaccines,

“approved therapeutics,” and rapid testing as justifications for

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the emergency measures. See 85 Fed. Reg. at 17062. Thus, the

relevant “significant factual predicate change[]” with regard to

the August 2021 Order was the development and disbursal of

COVID-19 vaccines, on-site rapid antigen tests, and effective

therapeutics. See Pls.’ Mot., ECF No. 144-1 at 17-18; see also

86 Fed. Reg. at 42833 (mentioning the wide availability of

vaccines and antigen tests). The CDC therefore was required to

“reexamine” its approach in view of the rapidly changing

healthcare environment.

     The Court concludes that CDC failed to appropriately

consider the availability of effective therapeutics that

“reduce[d] the risk of hospitalization” by approximately 70

percent in its August 2021 Order. See Pls.’ Mot., ECF No. 144-1

at 18; AR, ECF No. 154 at 143 (listing the availability of

monoclonal antibody doses and their effectiveness against COVID-

19). Defendants do not dispute that the August 2021 Order failed

to even mention such treatments or their overall availability.

Defs.’ Opp’n, ECF No. 147 at 33. Instead, Defendants cite to the

April 2022 termination order as explaining that the treatments

were not as widespread or as diverse in August 2021 and were

difficult to administer. Defs.’ Opp’n, ECF No. 147 at 33 (citing

87 Fed. Reg. at 19950); see also 87 Fed. Reg. at 19950

(“Although monoclonal antibodies were available in August 2021

and some continue to be effective and were widely used during

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the Omicron wave, such treatments must be administered by

infusion and are cumbersome to administer.”). However, whether

CDC analyzed the availability of treatments in April 2022 does

not establish that it did so in August 2021. CDC therefore

failed to “deal with newly acquired evidence in some reasonable

fashion” with regard to therapeutics. Portland, 665 F.3d at 187.

     With regard to whether Defendants could have “ramped up

vaccinations, outdoor processing, and all the other available

public health measures,” Butte Cty., 613 F.3d at 194, the Court

finds that CDC failed to articulate a satisfactory explanation

for why such measures were not feasible. Defendants argue that

CDC did consider the availability of mitigation measures, but

ultimately, they were limited by the “operational reality.”

Defs.’ Opp’n, ECF No. 147 at 32-33. For example, in August 2021,

Defendants explained that DHS had not yet begun initiating a

vaccination program and on-site testing was “very limited.” Id.

Moreover, quarantine measures were unavailable because CDC

“‘lacks the resources, manpower, and facilities to quarantine

covered aliens’ and must rely on the ‘Department of Defense,

other federal agencies, and states and local governments to

provide both logistical support and facilities for federal

quarantines.’” Id. at 33 (quoting 85 Fed. Reg. at 17,067 n.66).

However, CDC’s statements are largely conclusory and do not

reflect any serious analysis of whether reasonable steps could

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have been taken to at least begin instituting vaccination

programs, particularly given that all Americans had been

eligible for the vaccine for more than three months by that

point, and increasing the supply of on-site testing. See AR, ECF

No. 154 at 56. Further, despite CDC’s finding in March 2020 that

DHS could “build and start bringing hard-sided facilities

online” in “90 days (likely more),” 85 Fed. Reg. at 17067 n.66;

there is no indication why those efforts still would not have

addressed the public health emergency months later. The Court

agrees with Plaintiffs that Defendants cannot rest on the

“operational reality” when Defendants themselves had the power

to change that reality. See Pls.’ Reply, ECF No. 149-1 at 22

(“After leaning on DHS to implement Title 42, CDC cannot now

turn around and claim that DHS had no responsibility to take

steps to avoid the continued human suffering of so many

vulnerable asylum-seekers.”); see also Portland, 665 F.3d at 187

(“It is nothing more than a determination that EPA would not

address the problem unless it happened to appear at an

inconvenient time—an eventuality over which EPA had full

control. The refrain that EPA must promulgate rules based on the

information it currently possesses simply cannot excuse its

reliance on that information when its own process is about to

render it irrelevant.”).



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     Finally, Plaintiffs argue that the Title 42 policy did not

rationally serve its stated purpose because “COVID-19 was already

rampant in the United States in August 2021, the egregious

disjuncture between its stated goal of banning infectious migration

and the narrow group of travelers it actually targeted, and the

ways the Title 42 Policy contributed to spreading disease.” Defs.’

Reply, ECF No. 149-1 at 22 (internal citations omitted).

     The Court finds that the fact that COVID-19 was already

“widespread” within the United States at the time of the August

2021 Order is not sufficient to show that the Title 42 policy did

not rationally serve its stated purpose. See Pls.’ Mot., ECF No.

144-1 at 22-23. The relevant regulation defines “serious danger of

the introduction of [a] quarantinable communicable disease into the

United States” as “the probable introduction of one or more persons

capable of transmitting the quarantinable communicable disease into

the United States, even if persons or property in the United States

are already infected or contaminated with the quarantinable

communicable disease.” 42 C.F.R. § 71.40(b)(3). Although Plaintiffs

contend that CDC’s definition “simply cannot be a rational public

health rule,” they otherwise do not provide any arguments regarding

why the Court should not defer to CDC’s interpretation of the term

“serious danger.” See Pls.’ Reply, ECF No. 149-1 at 22-23. In view

of CDC’s scientific and technical expertise, the Court does not

find the definition to be unreasonable.



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     However, despite the above, Defendants have not shown that the

risk of migrants spreading COVID-19 is “a real problem.” District

of Columbia v. U.S. Dep’t of Agric., 444 F. Supp. 3d 1, 27 (D.D.C.

2020) (citing Nat’l Fuel Gas Supply Corp. v. FERC, 468 F.3d 831,

841 (D.C. Cir. 2006)). “Professing that an agency action

ameliorates a real problem but then citing no evidence

demonstrating that there is in fact a problem is not reasoned

decisionmaking.” Id. (cleaned up); see Huisha-Huisha, 27 F.4th at

735 (“[W]e would be sensitive to declarations in the record by CDC

officials testifying to the efficacy of the § 265 Order. But there

are none.”). As Plaintiffs point out, record evidence indicates

that “during the first seven months of the Title 42 policy, CBP

encountered on average just one migrant per day who tested positive

for COVID-19.” Pls.’ Mot., ECF No. 144-1 at 22 (citing Sealed AR,

ECF No. 155-1 at 23). In addition, at the time of the August 2021

Order, the rate of daily COVID-19 cases in the United States was

almost double the incidence rate in Mexico and substantially higher

than the incidence rate in Canada. See 86 Fed. Reg. at 42831

(noting 137.9 daily cases per 100,000 people in the United States,

compared to 68.6 in Mexico and 8.0 in Canada). The lack of evidence

regarding the effectiveness of the Title 42 policy is especially

egregious in view of CDC’s previous conclusion that “the use of

quarantine and travel restrictions, in the absence of evidence of

their utility, is detrimental to efforts to combat the spread of

communicable disease,” Control of Communicable Diseases, 82 Fed.

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Reg. 6890, 6896; as well as record evidence discussing the

“recidivism” created by the Title 42 policy, which actually

increased the number of times migrants were encountered by CBP, see

AR, ECF No. 154 at 45 (commenter describing recidivism); AR, ECF

No. 155-1 at 4 (January/February 2021 statistics showing nearly 40%

of family units DHS encountered in January-February 15, 2021 were

migrants who had attempted to cross at least once before).

     Moreover, it is undisputed that the suspension of immigration

under Title 42 covered only approximately 0.1% of land border

travelers, see Pls.’ Mot., ECF No. 144-1 at 23. And though

Defendants claim that their focus was on the risk of spreading

COVID-19 in congregate settings, see Defs.’ Opp’n, ECF No. 147 at

39, millions of others were permitted to cross the border under

less restrictive measures, even if they traveled in congregate

setting such cars, buses, and trains, see Pls.’ Mot., ECF No. 144-1

at 23-24; see id. (“CBP’s own data shows that in July 2021 alone,

over 11 million people entered from Mexico by land, including over

8.4 million people in cars, buses, and trains.”).

     In view of the above, the Court concludes that the Title 42

policy is arbitrary and capricious.

        C. Remedies

     Having concluded that the Title 42 policy is arbitrary and

capricious, the question of remedy remains. For the reasons

below, the Court shall vacate the Title 42 policy and enjoin



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Defendants from applying the Title 42 policy with respect to

Plaintiff Class Members.

               1.      The Title 42 Policy Is Vacated

     Plaintiffs first request that the Court vacate the Title 42

policy. Pls.’ Reply, ECF No. 149-1 at 30. Defendants oppose the

request, contending that “[b]ecause any order granting partial

summary judgment would be interlocutory and ineffective until

final judgment except in limited circumstances, the Court should

not grant any relief premised on any such order but should defer

consideration of the issue of remedy until the Court has

adjudicated all of Plaintiffs’ claims.” Defs.’ Opp’n, ECF No.

160 at 2.

     “[U]nsupported agency action normally warrants vacatur.”

Advocates for Highway & Auto Safety v. Fed. Motor Carrier Safety

Admin., 429 F.3d 1136, 1151 (D.C. Cir. 2005). However, courts

have discretion to remand without vacatur if “there is at least

a serious possibility that the [agency] will be able to

substantiate its decision,” and if “vacating would be

disruptive.” Radio–TV News Directors Ass’n v. FCC, 184 F.3d 872,

888 (D.C. Cir. 1999) (alteration in original) (citation

omitted); see Allied–Signal, Inc. v. U.S. Nuclear Reg. Comm’n,

988 F.2d 146, 150-51 (D.C. Cir. 1993) (“The decision whether to

vacate depends on the seriousness of the order's deficiencies .

. . and the disruptive consequences of an interim change that

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may itself be changed.” (citation omitted)). “Alternatively, a

court may vacate the unlawful action but stay its order of

vacatur for a limited time to allow the agency to attempt to

cure the defects that the court has identified.” NAACP v. Trump,

298 F. Supp. 3d 209, 244 (D.D.C. 2018) (citing Friends of Earth,

Inc. v. EPA, 446 F.3d 140, 148 (D.C. Cir. 2006)).

     Here, because this action can be disposed of based on

Plaintiffs’ arbitrary and capricious claim, the Court finds that

vacatur is not premature at this stage. See, e.g., Child.’s

Hosp. Ass’n of Texas v. Azar, 300 F. Supp. 3d 190, 205 (D.D.C.

2018), rev’d and remanded on other grounds, 933 F.3d 764 (D.C.

Cir. 2019); see also Zhang v. USCIS, 344 F. Supp. 3d 32, 66 & n.10

(D.D.C. 2018). Moreover, the Allied-Signal factors do not compel a

different result. The CDC has already terminated the August 2021

Order based on “significantly improved public health conditions,”

and the Title 42 policy only remains in effect because another

federal court has preliminarily enjoined the termination order,

which Defendants are opposing before the Fifth Circuit. Defs’

Opp’n, ECF No. 147 at 9. Given the agency’s current position, it is

unlikely that the agency would seek to justify a renewal of the

policy on remand, and vacatur would not be disruptive given CDC’s

rescission of the policy. See id. at 15-16.

     Particularly in view of the harms Plaintiffs face if summarily

expelled to countries they may be persecuted or tortured, the Court


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therefore vacates the Title 42 policy. Cf. Nat. Res. Def. Council

v. EPA, 489 F.3d 1250, 1262–64 (D.C. Cir. 2007) (Randolph, J.,

concurring) (“A remand-only disposition is, in effect, an

indefinite stay of the effectiveness of the court’s decision and

agencies naturally treat it as such.”).

               2.      Plaintiffs Are Entitled to Injunctive Relief

     Plaintiffs also request that the Court permanently enjoin

Defendants and their agents from applying the Title 42 policy

with respect to Plaintiff Class Members. See Pls.’ Proposed

Order, ECF No. 144-2 at 1.

     A permanent injunction “is a drastic and extraordinary

remedy.” Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139, 165

(2010). It “should not be granted as a matter of course,” id.,

and “[s]uccess on an APA claim does not automatically entitle

the prevailing party to a permanent injunction,” In re Fed.

Bureau of Prisons’ Execution Protocol Cases, 908 F.3d 123, 128

(D.C. Cir. 2020). Rather, a permanent injunction “should issue

only if the traditional four-factor test is satisfied.”

Monsanto, 561 U.S. at 157. The four-factor test requires that a

plaintiff demonstrate that: (1) “it has suffered an irreparable

injury”; (2) “remedies available at law, such as monetary

damages, are inadequate to compensate for that injury”; (3)

“considering the balance of hardships between the plaintiff and

defendant, a remedy in equity is warranted”; and (4) “the public


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interest would not be disserved by a permanent injunction.” Id.

at 156-57 (quoting eBay Inc. v. MercExchange, LLC, 547 U.S. 388,

391 (2006)).

     Having found that Plaintiffs are entitled to summary

judgment on their APA claim, the Court first turns to whether

Plaintiffs have demonstrated irreparable injury.

     “[T]he basis for injunctive relief in the federal courts

has always been irreparable injury and the inadequacy of legal

remedies.” Weinberger v. Romero-Barcelo, 456 U.S. 305, 312

(1982); see also Chaplaincy of Full Gospel Churches v. England,

454 F.3d 290, 297 (D.C. Cir. 2006) (same). The movant must

demonstrate that it faces an injury that is “both certain and

great; it must be actual and not theoretical,” and of a nature

“of such imminence that there is a clear and present need for

equitable relief to prevent irreparable harm.” Wis. Gas Co. v.

FERC, 758 F.2d 669, 674 (D.C. Cir. 1985) (quotation marks and

emphasis omitted). This presents a “very high bar.” Beck v. Test

Masters Educ. Servs. Inc., 994 F. Supp. 2d 98, 101 (D.D.C. 2014)

(quoting Coal. for Common Sense In Gov’t Procurement v. United

States, 576 F. Supp. 2d 162, 168 (D.D.C. 2008)).

     Plaintiffs argue that they continue to face irreparable

harm because, despite the D.C. Circuit’s holding in this case

that Defendants may not expel Class Members to areas where they

would be persecuted or tortured, “[d]ocumented cases of

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kidnapping, rapes, and other violence against noncitizens

subject to Title 42 have also risen dramatically since last

year.” Pls.’ Mot., ECF No. 144-1 at 30. Defendants, in

opposition, contend that “the situation for class members has

improved since the D.C. Circuit first stayed this Court’s

preliminary injunction [in September 2021].” Defs.’ Opp’n, ECF

No. 147 at 45 (citing Huisha-Huisha II, 27 F.4th at 722).

     The Court is mindful that “[e]xpulsion is not categorically

irreparable harm.” Huisha-Huisha II, 27 F.4th at 734 (quoting

Nken, 556 U.S. at 435) (internal quotation marks omitted). Here,

however, Defendants do not argue that its guidance to field

officers following the D.C. Circuit’s opinion in this case has

prevented harms to Plaintiffs, only that it has “improved” the

situation. See Defs.’ Opp’n, ECF No. 147 at 45. And while the

Court does not doubt that USCIS screenings are a vital tool in

preventing the expulsion of individuals to countries in which

they could be persecuted, Defendants have not provided any

information regarding how many screening have occurred since the

D.C. Circuit issued its opinion in March 2022. See Pls.’ Reply,

ECF No. 149-1 at 31. Meanwhile, Plaintiffs have presented

evidence demonstrating that the rate of summary expulsions

pursuant to the Title 42 policy has nearly doubled since

September 2021. See Pls.’ Mot., ECF No. 144-1 at 30 (“At the

time of this Court’s original decision, approximately 14% of

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families encountered at the southwest border were being

summarily expelled pursuant to the Title 42 policy. . . . Now,

the rate of expulsions is nearly twice as high, reaching 27%.”);

see also Pls.’ Reply, ECF No. 149-1 at 31 (“[I]n the month of

July 2022 alone, 9,574 members of family units encountered at

the southern border were summarily expelled pursuant to the

Title 42 policy.”). And “[i]n Mexico alone, recorded incidents”

of “kidnapping, rapes, and other violence against noncitizens

subject to Title 42” have “spiked from 3,250 cases in June 2021

to over 10,318 in June 2022.” Pls.’ Mot., ECF No. 144-1 at 30

(citing Neusner Decl., ECF No. 118-4; Human Rights First, The

Nightmare Continues: Title 42 Court Order Prolongs Human Rights

Abuses, Extends Disorder at U.S. Borders, at 3-4 (June 2022)).

Accordingly, even if the Court accepts Defendants’ unsupported

statement that the “situation for class members has improved,”

the evidence demonstrates that Plaintiffs continue to face

irreparable harm that is beyond remediation. See Huisha-Huisha,

27 F.4th at 733 (“[T]he record is replete with stomach-churning

evidence of death, torture, and rape.”).

     The Court next addresses the balance of the equities and

public interest factors, which “merge when the Government is the

opposing party.” Nken, 556 U.S. at 434.

     Defendants argue that “the government and the public have

an interest in protecting the integrity of government’s valid

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orders.” Defs.’ Opp’n, ECF No. 147 at 45. However, as explained

above, this Court has determined that the Title 42 policy is

arbitrary and capricious, and “[t]here is generally no public

interest in the perpetuation of unlawful agency action.” League

of Women Voters of U.S. v. Newby, 838 F.3d 1, 12 (D.C. Cir.

2016); see also Ramirez v. ICE, 310 F. Supp. 3d 7, 33 (D.D.C.

2018) (“The public interest surely does not cut in favor of

permitting an agency to fail to comply with a statutory

mandate.”); R.I.L-R, 80 F. Supp. 3d at 191 (“The Government

‘cannot suffer harm from an injunction that merely ends an

unlawful practice or reads a statute as required to avoid

constitutional concerns.’”). Because “there is an overriding

public interest . . . in the general importance of an agency’s

faithful adherence to its statutory mandate,” Jacksonville Port

Auth. v. Adams, 556 F.2d 52, 59 (D.C. Cir. 1977); the Court

concludes that an injunction in this case would serve the public

interest, see A.B.-B. v. Morgan, No. 20-cv-846, 2020 WL 5107548,

at *9 (D.D.C. Aug. 31, 2020) (“[T]he Government and public can

have little interest in executing removal orders that are based

on statutory violations . . . .”).

     Moreover, Defendants do not contend that issuing a

permanent injunction would cause them harm or be inconsistent

with the public health. Indeed, “CDC recognizes that the current

public health conditions no longer require the continuation of

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the August 2021 order,” Defs.’ Opp’n, ECF No. 147 at 44; see

also Pls.’ Mot., ECF No. 144-1 at 30, in view of the “less

burdensome measures that are now available,” 87 Fed Reg. at

19944; id. at 19949–50. The parties also do not dispute that

Plaintiffs continue to face substantial harm if they are

returned to their home countries, notwithstanding the

availability of USCIS screenings. See, e.g., Human Rights First,

The Nightmare Continues: Title 42 Court Order Prolongs Human

Rights Abuses, Extends Disorder at U.S. Borders, at 3-4 (June

2022). As the Supreme Court has explained, the public has a

strong interest in “preventing aliens from being wrongfully

removed, particularly to countries where they are likely to face

substantial harm.” Nken, 556 U.S. at 436.

       Therefore, the balance of the equities also favors

Plaintiffs.

IV.    Conclusion

       For the reasons stated above, the Court hereby GRANTS

Plaintiffs’ Motion for Partial Summary Judgment, ECF No. 144.

The Court vacates and sets aside the Title 42 policy—consisting

of the regulation at 42 C.F.R. § 71.40 and all orders and

decision memos issued by the Centers for Disease Control and

Prevention or the U.S. Department of Health and Human Services

suspending the right to introduce certain persons into the

United States; and declares the Title 42 policy to be arbitrary

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and capricious in violation of the Administrative Procedure Act

and permanently enjoins Defendants and their agents from

applying the Title 42 policy with respect to Plaintiff Class

Members. An appropriate Order accompanies this Memorandum

Opinion.

     SO ORDERED.

Signed:    Emmet G. Sullivan
           United States District Judge
           November 15, 2022




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